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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY

MARK E. FELGER (MF9985)
JERROLD N. POSLUSNY (JP7140)
COZEN O’CONNOR
LibertyView, Suite 300
457 Haddonfield Road
Cherry Hill, NJ 08002
(856) 910-5000
Proposed Attorneys for the Debtors

In re:                                                 Case No. 08-

SHAPES/ARCH HOLDINGS L.L.C., et al.,                   Judge:

                Debtors.                               Chapter: 11


 INTERIM ORDER (I) AUTHORIZING DEBTORS (A) TO OBTAIN POST-PETITION
     FINANCING AND GRANT SECURITY INTERESTS AND SUPERPRIORITY
    ADMINISTRATIVE EXPENSE STATUS PURSUANT TO 11 U.S.C. §§ 105, 362,
364(c)(1), 364(c)(2), 364(c)(3), 364(d)(1) AND 364(e), AND (B) TO REFINANCE CERTAIN
 PRE-PETITION SECURED INDEBTEDNESS; (II) MODIFYING THE AUTOMATIC
 STAY PURSUANT TO 11 U.S.C. § 362; (III) GRANTING OTHER RELIEF; AND (IV)
  SCHEDULING A FINAL HEARING PURSUANT TO BANKRUPTCY RULE 4001(c)

         The relief set forth on the following pages numbered 2 through 38 is hereby ORDERED

AND GRANTED.
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        This matter is before this Court upon the motion (the “Motion”), dated March [___],

2008, of Shapes/Arch Holdings, L.L.C. (“Holdings”), Shapes L.L.C. (“Shapes”), Delair L.L.C.

(“Delair”), Accu-Weld L.L.C. (“Accu-Weld”) and Ultra L.L.C. (“Ultra” and, together with

Holdings, Shapes, Delair and Accu-Weld, collectively, the “Debtors” and each individually a

“Debtor”), each as a debtor and debtor-in-possession in the above-captioned Chapter 11 cases

(collectively, the “Cases”), pursuant to Sections 105, 362, 364(c)(1), 364(c)(2), 364(c)(3),

364(d)(1), and 364(e) of Title 11 of the United States Code, 11 U.S.C. §§ 101, et seq. (the

“Bankruptcy Code”) and Rules 2002, 4001(c) and 9014 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”), which Motion seeks, among other things:

                           (1)     authorization and approval for the Debtors to obtain post-petition

loans, advances and other financial accommodations (the “Post-Petition Financing”) on an

interim basis for a period through and including the date of the Final Hearing (as defined below)

under or in connection with (a) a debtor-in-possession term loan facility (the “Post-Petition

Term Loan Facility”) in an amount up to the aggregate principal amount of $25 million at any

time outstanding (the “Post-Petition Term Loans”) (the actual available principal amount at any

time being subject to those conditions set forth in the Post-Petition Term Loan Agreement (as

defined below)) from Arcus ASI Funding, LLC (“Arcus”), as agent (in such capacity, the “Term

Loan Agent”) for itself and a syndicate of financial institutions (together with Arcus, the “Term

Loan Lenders”) to be arranged by Arcus or affiliates thereof, and (b) a debtor-in-possession

revolving credit facility (the “Post-Petition Revolving Credit Facility” and, together with the

Post-Petition Term Loan Facility, the “Post-Petition Facilities”) in an amount up to the

aggregate principal amount of $60 million at any time outstanding (the “Post-Petition

Revolving Credit Loans” and, together with the Post-Petition Term Loans, the “Post-Petition

Loans”) (the actual available principal amount at any time being subject to those conditions set


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forth in the DIP Revolving Credit Agreement and the other Financing Agreements (in each case,

as defined in the Interim Revolving Credit Order) (collectively, the “Post-Petition Revolving

Credit Documents”) from The CIT Group/Business Credit, Inc. (“CIT”), as agent (in such

capacity, the “Revolving Credit Agent” and, together with the Term Loan Agent, the

“Agents”), for itself and lenders currently consisting of JPMorgan Chase Bank, N.A. and

Textron Financial Corporation (together with CIT, the “Revolving Credit Lenders” and,

together with the Term Loan Lenders, the “Lenders”);

                           (2)     authorization and approval for the Debtors to execute and enter

into the Post-Petition Financing Documents (as defined below) and to perform such other and

further acts as may be required in connection with the Post-Petition Financing Documents;

                           (3)     the grant to each Agent, for the benefit of itself and the Lenders for

which it acts as agent, of valid and perfected security interests and liens in and upon the

Collateral (as defined below) pursuant to Sections 364(c)(2), 364(c)(3) and 364(d)(1) of the

Bankruptcy Code in accordance with the terms hereof and the terms of the Interim Revolving

Credit Order (as defined below), with the priorities set forth herein and in the Interim Revolving

Credit Order (as defined below);

                           (4)     the grant to each Agent, for the benefit of itself and the Lenders for

which it acts as agent, of superpriority administrative claim status pursuant to Section 364(c)(1)

of the Bankruptcy Code in accordance with the terms hereof and the terms of the Interim

Revolving Credit Order;

                           (5)     modification of the automatic stay to the extent set forth herein and

in the Interim Revolving Credit Order;

                           (6)     pursuant to Bankruptcy Rule 4001(c), that an interim hearing (the

“Interim Hearing”) on the Motion be held before this Court to consider entry of:

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                              (a) this order (this “Interim Order”) (a) authorizing and granting

approval for the Debtors, on an interim basis, to forthwith execute the Post-Petition Term Loan

Documents (as defined below) and borrow from the Term Loan Lenders up to an aggregate

principal amount at any time outstanding not to exceed $25 million to be used (i) to refinance the

outstanding principal balance of the term loan under the Financing Agreement, dated as of

December 30, 2003 (as amended, supplemented, extended or otherwise modified from time to

time, the “Pre-Petition Loan Agreement”), by and among the Debtors (other than Holdings),

the Revolving Credit Agent and the Revolving Credit Lenders, (ii) to refinance the balance of the

PP&E Equity Collateral Borrowing Base Component under (and as defined in) the Pre-Petition

Loan Agreement, and (iii) for working capital and other general corporate purposes of the

Debtors (subject to any limitations of borrowings under the Post-Petition Term Loan

Documents), and (b) granting the other relief described herein; and

                              (b) an order (the “Interim Revolving Credit Order”) (a)

authorizing and granting approval for the Debtors, on an interim basis, to forthwith execute the

Post-Petition Revolving Credit Documents and borrow or obtain letters of credit from the

Revolving Credit Lenders under the Post-Petition Revolving Credit Documents up to an

aggregate principal or face amount at any time outstanding not to exceed $60 million to be used

(i) to refinance all amounts outstanding as of the Petition Date (as defined below) under the Pre-

Petition Loan Agreement, to the extent not refinanced with the proceeds of the Post-Petition

Term Loans as described above, and (ii) for working capital and other general corporate

purposes of the Debtors (subject to any limitations of borrowings and issuances of letters of

credit under the Post-Petition Revolving Credit Documents), including the deeming of all

outstanding letters of credit issued under the Pre-Petition Loan Agreement (as defined below) to



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constitute letters of credit issued under the Post-Petition Revolving Credit Agreement, and (b)

granting the other relief described in the Interim Revolving Credit Order; and

                           (7)     that this Court schedule a final hearing (the “Final Hearing”) to be

held not later than April [4], 2008 to consider entry of:

                                   (a)     a final order (the “Final Order”) (a) authorizing and

granting approval for the Post-Petition Term Loan Documents and the balance of the borrowings

under the Post-Petition Term Loan Documents on a final basis, as set forth in the Motion and the

Post-Petition Term Loan Documents, and (b) granting the other relief described in the Final

Order; and

                                   (b)    a final order (the “Final Revolving Credit Order”)

authorizing and approving (a) the Post-Petition Revolving Credit Documents and the balance of

the borrowings and letter of credit issuances under the Post-Petition Revolving Credit

Documents on a final basis, as set forth in the Motion and the Post-Petition Revolving Credit

Documents, and (b) granting the other relief described in the Final Revolving Credit Order.

        This Court having found that due and appropriate notice, under the circumstances, of the

Motion, the relief requested therein, and the Interim Hearing (the “Notice”) has been served by

the Debtors in accordance with Bankruptcy Rule 4001(c) on (i) the Agents and the Lenders, (ii)

the United States Trustee for the District of New Jersey (the “U.S. Trustee”), (iii) the holders of

the twenty (20) largest unsecured claims against the Debtors’ estates (the “20 Largest

Unsecured Creditors”), (iv) the taxing authorities to which the Debtors pay taxes, and (v)

certain other parties identified in the certificate of service filed with this Court (collectively, the

“Noticed Parties”).

        This Court having held the Interim Hearing on the Motion on March [___], 2008.



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        Upon the record made by the Debtors at the Interim Hearing, including the Motion, and

the filings and pleadings in the Cases, and good and sufficient cause appearing therefor;

        THIS COURT HEREBY MAKES THE FOLLOWING FINDINGS OF FACT AND

CONCLUSIONS OF LAW:

                 A.        Petition. On March [16], 2008 (the “Petition Date”), each Debtor filed a

        voluntary petition (the “Petition”) under Chapter 11 of the Bankruptcy Code. The

        Debtors continue to operate their businesses and manage their properties as debtors-in-

        possession pursuant to Sections 1107(a) and 1108 of the Bankruptcy Code.

                 B.        Jurisdiction and Venue. This Court has jurisdiction of this proceeding and

        the parties and property affected hereby pursuant to 28 U.S.C. §§ 157(b) and 1334. The

        Motion is a “core” proceeding as defined in 28 U.S.C. §§ 157(b)(2)(A), (D) and (M).

        Venue of the Cases and the Motion in this Court is proper pursuant to 28 U.S.C. §§ 1408

        and 1409.

                 C.        Notice. Notice of the Interim Hearing, the Motion and proposed entry of

        this Interim Order has been provided to the Noticed Parties. Under the circumstances,

        requisite notice of the Motion and the relief requested thereby and this Interim Order has

        been provided in accordance with Bankruptcy Rules 4001(c) and 9014, which notice is

        sufficient for all purposes under the Bankruptcy Code, including, without limitation,

        Sections 102(1) and 364 of the Bankruptcy Code, and no further notice of, or hearing on,

        the Motion or this Interim Order is necessary or required.

                 D.        Preliminary Findings Regarding the Post- Petition Financing.

                           (i)     Postpetition Financing.   The Debtors have requested from the

Term Loan Agent and the Term Loan Lenders, and the Term Loan Agent and the Term Loan

Lenders are willing to extend, the Post-Petition Term Loan Facility, as more particularly

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described, and on the terms and conditions set forth, in this Interim Order and the Post-Petition

Term Loan Documents.

                           (ii)      Need for Post-Petition Financing.   The Debtors do not have

sufficient available sources of working capital and liquidity to operate their businesses in the

ordinary course without the Post-Petition Financing, including the Post-Petition Term Loan

Facility. The Debtors’ ability to maintain business relationships with their vendors, suppliers

and customers, to pay their employees, to make capital expenditures and to otherwise fund their

operations is essential to the Debtors’ continued viability. The ability of the Debtors to obtain

sufficient working capital and liquidity through the proposed Post-Petition Financing on the

terms set forth in the Post-Petition Financing Documents, this Interim Order and the Interim

Revolving Credit Order is vital to the preservation and maintenance of the going concern value

of the Debtors and to a successful reorganization of the Debtors. Accordingly, the Debtors have

an immediate need to obtain the Post-Petition Financing, including the Post-Petition Term Loan

Facility, in order to, among other things, permit the orderly continuation of the operation of their

businesses, minimize the disruption of their business operations, manage and preserve the assets

of the Debtors’ bankruptcy estates (as defined under Section 541 of the Bankruptcy Code, the

“Estates”) in order to maximize the recovery to all stakeholders of the Estates.

                           (iii)     No Credit Available on More Favorable Terms. The Debtors are

unable to procure financing in the form of unsecured credit allowable under Section 503(b)(1) of

the Bankruptcy Code, as an administrative expense under Section 364(a) or (b) of the

Bankruptcy Code, or in exchange for the grant of an administrative expense priority pursuant to

Section 364(c)(1) of the Bankruptcy Code, without the grant of liens on all or substantially all of

the Debtors’ assets pursuant to Sections 364(c) and 364(d) of the Bankruptcy Code. The Debtors

have been unable to procure the necessary financing on terms more favorable than the financing

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offered by the Agents and the Lenders pursuant to the Post-Petition Financing Documents, this

Interim Order and the Interim Revolving Credit Order.

                           (iv)     Budget. The Debtors have prepared and delivered to the Term

Loan Agent and the Term Loan Lenders the Budget (as defined in the Post-Petition Term Loan

Agreement), a copy of which is annexed hereto as Exhibit 1. The Budget has been thoroughly

reviewed by the Debtors and their management and sets forth, among other things, the projected

cash receipts and disbursements for the periods covered thereby. The Debtors believe in good

faith that the Budget is achievable and will allow the Debtors to operate in Chapter 11 without

the accrual of unpaid administrative expenses during the term of the Budget. The Term Loan

Agent and the Term Loan Lenders are relying upon the Debtors’ compliance with the Budget in

determining to enter into the Post-Petition Term Loan Documents.

                           (v)      Business Judgment and Good Faith Pursuant to Section 364(e).

The terms of the Post-Petition Term Loan Documents and this Interim Order are fair, just,

reasonable and appropriate under the circumstances, reflect the Debtors’ exercise of their prudent

business judgment consistent with their fiduciary duties, and are supported by reasonably

equivalent value and fair consideration. The terms and conditions of the Post-Petition Term

Loan Documents and this Interim Order have been negotiated in good faith and at arms’ length

by and among the Debtors, on one hand, and the Term Loan Agent and the Term Loan Lenders,

on the other hand, with all parties being represented by counsel. Any credit extended under the

terms of this Interim Order shall be deemed to have been extended in “good faith” as that term is

used in Section 364(e) of the Bankruptcy Code and in express reliance upon the protections

afforded by Section 364(e) of the Bankruptcy Code in the event that this Interim Order or any

provision hereof is vacated, reversed or modified, on appeal or otherwise.



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                           (vi)      Good Cause. The relief requested in the Motion is necessary,

essential and appropriate, and is in the best interest of and will benefit the Debtors, their creditors

and their Estates, as its implementation will, among other things, provide the Debtors with the

necessary liquidity to (a) minimize disruption to the Debtors’ businesses and on-going

operations, (b) preserve and maximize the value of the Debtors’ Estates for the benefit of all of

the Debtors’ creditors, and (c) avoid immediate and irreparable harm to the Debtors, their

stakeholders, their businesses, their employees, and their assets.

                           (vii)     Immediate Entry. Sufficient cause exists for immediate entry of

this Interim Order pursuant to Bankruptcy Rule 4001(c)(2). No party appearing in the Cases has

filed or made an objection to the relief sought in the Motion or the entry of this Interim Order, or

any objections that were made (to the extent such objections have not been withdrawn) are

hereby overruled.

                 Based upon the foregoing, and after due consideration and good cause appearing

therefor;

                 IT IS HEREBY ORDERED, ADJUDGED AND DECREED, that:

Section 1.       Authorization and Conditions to Financing.

                 1.1       Motion Granted. The Motion is granted in accordance with Bankruptcy

Rule 4001(c)(2) to the extent provided in this Interim Order and the Interim Revolving Credit

Order. This Interim Order shall immediately become effective upon its entry.

                 1.2       Authorization to Borrow and Use of Loan Proceeds. The Debtors are

hereby authorized and empowered to immediately borrow and obtain loans and to incur

indebtedness and obligations (including, without limitation, the “Obligations” under (and as

defined in) the Post-Petition Term Loan Agreement) owing to the Term Loan Agent and the

Term Loan Lenders (collectively, the “Post-Petition Term Loan Obligations”), on a joint and

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several basis, on the terms and subject to the conditions set forth in the Post-Petition Term Loan

Documents and this Interim Order, during the period commencing on the date of this Interim

Order through and including the date of the Final Hearing as set forth in Section 7 of this Interim

Order (the “Interim Financing Period”), in such amounts as may be made available to the

Debtors by the Term Loan Agent and the Term Loan Lenders in accordance with all of the terms

and conditions set forth in the Post-Petition Term Loan Documents. Subject to the terms and

conditions contained in the Post-Petition Term Loan Documents and this Interim Order, the

Debtors shall use the proceeds of the loans and any other financial accommodations provided to

the Debtors (a) to refinance the outstanding principal balance of the term loan under the Pre-

Petition Loan Agreement, (b) to refinance the balance of the PP&E Equity Collateral Borrowing

Base Component under (and as defined in) the Pre-Petition Loan Agreement, and (c) for working

capital and other general corporate purposes of the Debtors (subject to any limitations of

borrowings under the Post-Petition Term Loan Documents), including the repayment of amounts

outstanding under the Post-Petition Revolving Credit Agreement and including the payment of

interest, fees and expenses under the Post-Petition Financing Documents, in each case, in

accordance with the terms and conditions of the Post-Petition Term Loan Documents, the

Intercreditor Agreement and this Interim Order.1 The Post-Petition Term Loan Obligations and

the Revolving Credit Obligations (as defined in the Interim Revolving Credit Order) are

sometimes collectively referred to herein as the “Obligations”.

                  1.3      Financing Agreements.



1
  Notwithstanding any approval by the Term Loan Agent and the Term Loan Lenders of the Budget (or, in their sole
discretion, any amended Budget(s)), the Term Loan Agent and the Term Loan Lenders will not, and shall not be
required to, provide any loans or other financial accommodations pursuant to the Budget or to fund any specific
expenses or disbursements set forth in the Budget, but shall only provide loans and other financial accommodations
pursuant to the terms and conditions set forth in the Post-Petition Term Loan Documents and this Interim Order.
The inclusion of this provision in this Interim Order is not intended to affect any applicable rights of the Revolving
Credit Agent under the Intercreditor Agreement (as defined below).
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                           1.3.1   Authorization. The Debtors are hereby authorized and directed to

enter into, execute, deliver, perform, and comply with all of the terms, conditions and covenants

of the Debtor-in-Possession Term Loan Financing Agreement (as amended, supplemented,

extended or otherwise modified from time to time, the “Post-Petition Term Loan Agreement”),

in substantially the form annexed hereto as Exhibit 2, and all other agreements, documents and

instruments executed or delivered with, to, or in favor of the Term Loan Agent and the Term

Loan Lenders from time to time, including, without limitation, all security agreements, notes,

guarantees, mortgages, Uniform Commercial Code financing statements and all other related

agreements, documents and instruments executed and/or delivered in connection therewith or

related thereto (all of the foregoing, together with the Post-Petition Term Loan Agreement, as

amended, supplemented, extended or otherwise modified from time to time, collectively, the

“Post-Petition Term Loan Documents” and, together with the Post-Petition Revolving Credit

Documents, collectively, the “Post-Petition Financing Documents”), each of which shall

constitute valid, binding, enforceable and non-avoidable obligation of the Debtors and their

Estates in accordance with its terms for all purposes during the Cases, any subsequently

converted case of any Debtor under Chapter 7 of the Bankruptcy Code or after the dismissal or

reorganization of any Case. The Debtors are authorized and directed to perform all acts, and

execute and comply with the terms of all additional agreements, instruments and documents, as

the Term Loan Agent may reasonably require from time to time as evidence of and for the

protection of the Post-Petition Term Loan Obligations and the Collateral or which may be

otherwise deemed necessary by the Term Loan Agent to effectuate the terms and conditions of

this Interim Order and the Post-Petition Term Loan Documents.

                           1.3.2   Approval. The Post-Petition Term Loan Documents and each term

set forth therein are approved, and the terms of the Post-Petition Term Loan Agreement are

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incorporated into this Interim Order by this reference as if more fully set forth herein. All of the

terms, conditions and covenants set forth in the Post-Petition Term Loan Documents shall be

sufficient and conclusive evidence of the financing arrangements by and among the Debtors, the

Term Loan Agent and the Term Loan Lenders, and of each Debtor’s assumption and adoption of

all of the terms, conditions, and covenants of the Post-Petition Term Loan Documents for all

purposes, including, without limitation, to the extent applicable, the payment of all Post-Petition

Term Loan Obligations, including, without limitation, all principal, interest, fees (including,

without limitation, the arrangement fee, the agent/facility fees, the collateral monitoring and

servicing fees and the termination fee set forth in Section 9 of the Post-Petition Term Loan

Agreement), indemnities, costs and expenses, including, without limitation, all of the Term Loan

Agent’s and the Term Loan Lenders’ attorneys’ and other professionals’ fees and expenses, in

each case, in accordance with and as more fully set forth in the Post-Petition Term Loan

Documents. Without limiting the generality of the foregoing, the Debtors are authorized and

directed, without further order of this Court, to pay or reimburse the Term Loan Agent and the

Term Loan Lenders, in accordance with and as more fully set forth in the Post-Petition Term

Loan Documents, for all present and future costs and expenses paid or incurred by the Term

Loan Agent and the Term Loan Lenders in connection with the Post-Petition Financing, all of

which shall be and are included as part of the principal amount of the applicable Post-Petition

Term Loan Obligations and secured by the Collateral.

                           1.3.3   Amendment. Subject to the terms and conditions of the Post-

Petition Term Loan Documents and the Intercreditor Agreement (as defined below), the Debtors

and the Term Loan Agent and the Term Loan Lenders may amend, modify, supplement or waive

any provision of the such Post-Petition Term Loan Documents (an “Amendment”) without

further approval or order of this Court; provided that (a) any such Amendment must be in writing

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and served upon (i) the Revolving Loan Agent, (ii) the U.S. Trustee and (iii) counsel to the

official committee of unsecured creditors appointed in the Cases under Section 1102 of the

Bankruptcy Code (the “Creditors’ Committee”), or in the event no Creditors’ Committee is

appointed at the time of such Amendment, the 20 Largest Unsecured Creditors; and (b) any such

Amendment that operates to increase the interest rate (other than as currently provided in the

Post-Petition Term Loan Agreement), increase the aggregate loan commitment amounts

available under the Post-Petition Term Loan Agreement, shorten the scheduled maturity date

under the Post-Petition Term Loan Agreement, add specific new events of default or enlarge the

nature and extent of default remedies available to the Term Loan Agent and the Term Loan

Lenders following an event of default must be filed with this Court and served upon the parties

described in the preceding clause (a), and such parties shall have 5 days to object to such

Amendment (and if no such party objects to such Amendment within such time frame, it shall

immediately become effective).

Section 2.       Collateral and Superpriority Administrative Claim Status.

                 2.1       Collateral.

                           2.1.1   Lien Grant.

                                   a.     For purposes hereof, (i) the “Revolver Senior Collateral”

        and the “Term Senior Collateral” shall have the meanings set forth set forth on Exhibit

        3 annexed hereto, and (ii) “Collateral” shall mean, collectively, the Revolver Senior

        Collateral and the Term Senior Collateral.

                                   b.     To secure the prompt payment and performance of any and

        all Post-Petition Term Loan Obligations of whatever kind, nature or description, absolute

        or contingent, now existing or hereafter arising, the Term Loan Agent, for the benefit of

        itself and the Term Loan Lenders, shall have and is hereby granted, effective as of the

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        Petition Date, (i) valid and perfected first priority security interests and liens in and upon

        all of the Term Senior Collateral, superior to all other presently existing and future liens,

        security interests, claims or interests in property that any creditor of any Debtor’s Estate

        may have in and upon any such Collateral pursuant to Sections 364(c)(2), 364(c)(3) and

        364(d)(1) of the Bankruptcy Code, but subject in the case of priority only to the

        applicable Permitted Liens and Claims (as defined below), as and to the extent expressly

        provided in Section 2.1.2 below, and (ii) valid and perfected second priority security

        interests and liens in and upon all of the Revolver Senior Collateral, superior to all other

        presently existing and future liens, security interests, claims or interests in property that

        any creditor of any Debtor’s Estate may have in and upon any such Collateral pursuant to

        Sections 364(c)(2), 364(c)(3) and 364(d)(1) of the Bankruptcy Code, but subject in the

        case of priority only to (y) the first priority security interests and liens in and upon the

        Revolver Senior Collateral in favor of the Revolving Credit Agent, for the benefit of

        itself and the Revolving Credit Lenders, granted pursuant to the Interim Revolving Credit

        Order (or any subsequently entered Final Revolving Credit Order) as security for the

        Revolving Credit Obligations (the “Revolving Credit Facility Liens”), and (z) the other

        applicable Permitted Liens and Claims (as defined below), as and to the extent expressly

        provided in Section 2.1.2 below.

                                c.     Upon entry of the Final Order, the Term Senior Collateral

        (and therefore the assets subject to the first priority security interests and liens of the

        Term Loan Agent, for the benefit of itself and the Term Loan Lenders) shall include any

        and all avoidance actions under Chapter 5 or Section 724(a) of the Bankruptcy Code and

        the proceeds thereof.



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                           2.1.2   Lien Priority. The post-petition liens and security interests of the

Term Loan Agent, for the benefit of itself and the Term Loan Lenders, granted under the Post-

Petition Term Loan Documents and this Interim Order in the Collateral shall be and shall

continue to be first and senior in priority to all other interests and liens of every kind, nature and

description, whether created consensually, by an order of this Court or otherwise, including,

without limitation, liens or interests granted in favor of third parties in conjunction with Section

363, 364 or any other Section of the Bankruptcy Code or other applicable law; provided,

however, that the liens on and security interests in the Collateral of the Term Loan Agent, for the

benefit of itself and the Term Loan Lenders, shall be subject in the case of priority only to (a) the

Permitted Encumbrances (as defined in the Post-Petition Term Loan Agreement), including in

the case of the Revolver Senior Collateral only, the Revolving Credit Facility Liens, and (b) the

Carve Out Expenses (as defined below) solely to the extent provided for in Sections 2.3, 2.4 and

2.5 of this Interim Order (the items described in foregoing clauses (a) and (b) are sometimes

collectively referred to in this Interim Order as the “Permitted Liens and Claims”). Without

limiting the generality of the foregoing, the post-petition liens and security interests of the Term

Loan Agent, for the benefit of itself and the Term Loan Lenders, granted under the Post-Petition

Term Loan Documents and this Interim Order in the Collateral shall not be subject or

subordinate to any lien or security interest that is avoided and preserved for the benefit of the

Debtors and their Estates pursuant to Section 551 of the Bankruptcy Code.

                           2.1.3   Post-Petition Lien Perfection.     This Interim Order shall be

sufficient and conclusive evidence of the priority, perfection and validity of the post-petition

liens and security interests granted herein, effective as of the Petition Date, without any further

act and without regard to any other federal, state or local requirements or law requiring notice,

filing, registration, recording or possession of the Collateral, or other act to validate or perfect

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such security interest or lien, including without limitation, control agreements with any financial

institution(s) holding any deposit account of any Debtor (a “Perfection Act”). Notwithstanding

the foregoing, if the Term Loan Agent shall, in its sole discretion, elect for any reason to file,

record or otherwise effectuate any Perfection Act, the Term Loan Agent is authorized to perform

such act, and the Debtors are authorized and directed to perform such act to the extent necessary

or required by the Term Loan Agent, which act or acts shall be deemed to have been

accomplished as of the date and time of entry of this Interim Order notwithstanding the date and

time actually accomplished, and in such event, the subject filing or recording office is authorized

to accept, file or record any document in regard to such act in accordance with applicable law.

The Term Loan Agent may choose to file, record or present a certified copy of this Interim Order

in the same manner as a Perfection Act, which shall be tantamount to a Perfection Act, and, in

such event, the subject filing or recording office is authorized to accept, file or record such

certified copy of this Interim Order in accordance with applicable law. Should the Term Loan

Agent so choose and attempt to file, record or perform a Perfection Act, no defect or failure in

connection with such attempt shall in any way limit, waive or alter the validity, enforceability,

attachment, or perfection of the post-petition liens and security interests granted herein by virtue

of the entry of this Interim Order.

                           2.1.4   Nullifying   Restrictions   to     Post-Petition      Financing.

Notwithstanding anything to the contrary contained in any agreement, contract, lease, document,

note or instrument to which any Debtor is or becomes a party or under which any Debtor is or

becomes obligated, any provision that restricts, limits or impairs in any way any Debtor from

granting the Term Loan Agent, for the benefit of itself and the Term Loan Lenders, security

interests in or liens upon any of the Debtors’ assets or properties (including, among other things,

any anti-lien granting or anti-assignment clauses in any leases or other contractual arrangements

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to which any Debtor is a party), or otherwise entering into and complying with all of the terms,

conditions and provisions hereof or the Post-Petition Term Loan Documents (all such provisions

being collectively referred to as the “Restrictive Clauses”) shall not (i) be effective and/or

enforceable against any such Debtors, the Term Loan Agent or the Term Loan Lenders, or (ii)

adversely affect the validity, priority or enforceability of the liens, security interests, claims,

rights, priorities and/or protections granted to the Term Loan Agent, for the benefit of itself and

the Term Loan Lenders, pursuant to this Interim Order, the Post-Petition Term Loan Documents

or otherwise, to the maximum extent permitted under the Bankruptcy Code and other applicable

law. Such Restrictive Clauses shall not, to the maximum extent permitted under the Bankruptcy

Code and applicable law, render any contract or lease unable to be assumed and/or assigned by

any Debtor (or by the Term Loan Agent, for the benefit of itself and the Term Loan Lenders,

pursuant to the provisions contained in this Interim Order), or in any way impair or limit the

ability or right of any Debtor (or by the Term Loan Agent, for the benefit of itself and the Term

Loan Lenders, on behalf of any Debtor, pursuant to the provisions contained in this Interim

Order) to assume and/or assign any contract or lease under Sections 365 or 1123 of the

Bankruptcy Code.

                           2.1.5   After-Acquired Property.   Pursuant to Section 552(a) of the

Bankruptcy Code, no property acquired by the Debtors after the Petition Date is or will be

subject to any security interest or lien of any person or entity resulting from any security

agreement entered into by the Debtors prior to the Petition Date, except (a) to the extent that such

property constitutes proceeds of property of the Debtors that is subject to a valid, enforceable,

perfected, and unavoidable security interest or lien as of the Petition Date which is not subject to

subordination under Section 510(c) of the Bankruptcy Code or other provisions or principles of

applicable law, or (b) as set forth in the Interim Revolving Credit Order.

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                           2.1.6   Insurance Policies. Upon entry of this Interim Order, the Term

Loan Agent, for the benefit of itself and the Term Loan Lenders, shall be, and shall be deemed to

be, without any further action or notice, named as an additional insured and loss payee on each

insurance policy maintained by the Debtors which in any way relates to the Collateral. The

Debtors are authorized and directed to take any action necessary to have the Term Loan Agent

added as an additional insured and loss payee on each insurance policy.

                 2.2       Superpriority Administrative Expense. To secure the prompt payment and

performance of any and all Post-Petition Term Loan Obligations of whatever kind, nature or

description, absolute or contingent, now existing or hereafter arising, the Term Loan Agent, for

the benefit of itself and the Term Loan Lenders, is granted an allowed superpriority

administrative claim pursuant to Section 364(c)(1) of the Bankruptcy Code, having priority in

right of payment over any and all other obligations, liabilities and indebtedness of the Debtors,

whether now in existence or hereafter incurred by the Debtors, and over any and all

administrative expenses or priority claims of the kind specified in, or ordered pursuant to, inter

alia, Sections 105, 326, 328, 330, 331, 503(b), 506(c), 507(a), 507(b), 364(c)(1), 546(c), 726,

1113 or 1114 of the Bankruptcy Code (the “Superpriority Claim”), whether or not such

administrative expenses or priority claims may become secured by a judgment lien or other non-

consensual lien, levy or attachment, which Superpriority Claim shall be payable from and have

recourse to all pre and post-petition property of the Debtors and all proceeds thereof; provided

that, the Superpriority Claim shall be subject only to the Carve Out Expenses to the extent

expressly set forth in this Interim Order. The Superpriority Claim of the Term Loan Agent, for

the benefit of itself and the Term Loan Lenders, shall be pari passu with the superpriority claim

(as described in Section 18 of the Interim Revolving Credit Order) of the Revolving Credit

Agent, for the benefit of itself and the Revolving Credit Lenders, granted pursuant to the Interim

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Revolving Credit Order (both such Superpriority Claims, collectively, the “Superpriority

Claims”).

                 2.3       Carve Out Expenses.

                           2.3.1   Carve Out Expenses. The liens, claims and security interests in the

Collateral in favor of the Agents and the Lenders and the Superpriority Claims, shall be subject

only to the right of payment of the following expenses (the “Carve Out Expenses”):

                                   a.     statutory fees payable to the U.S. Trustee pursuant to 28

        U.S.C. §§ 1930(a)(6);

                                   b.     fees payable to the Clerk of this Court; and

                                   c.     subject to the terms and conditions of this Interim Order,

        the unpaid and outstanding reasonable fees and expenses actually incurred on or after the

        Petition Date, and approved by a final order of this Court pursuant to Sections 326, 328,

        330, or 331 of the Bankruptcy Code (collectively, the “Allowed Professional Fees”), by

        attorneys, accountants and other professionals retained by the Debtors and the Creditors’

        Committee under Section 327 or 1103(a) of the Bankruptcy Code (collectively, the

        “Professionals”), in a cumulative, aggregate sum not to exceed: (i) $1,125,000, inclusive

        of all retainers, for Professionals retained by the Debtors (the “Debtors’ Professional

        Fee Carve Out”), and (ii) $250,000 for Professionals retained by the Creditors'

        Committee (the “Committee’s Professional Fee Carve Out” and, together with the

        Debtors’ Professional Fee Carve Out, collectively, the “Professional Fee Carve Out”).

                 Effective upon the earlier of (a) the entry of a Final Order approving the Motion

or (b) the entry of an order extending the Interim Financing Period beyond April [4], 2008

(which entry, without the prior written consent of the Term Loan Agent, shall constitute an Event

of Default) (such effectiveness to be retroactive to the date of entry of this Interim Order), in

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exchange for the Professional Fee Carve-Out, all parties entitled to be paid therefrom shall not be

entitled, directly or indirectly, to charge the Collateral whether by operation of Sections 105,

506(c) or 552(b) of the Bankruptcy Code or otherwise.

                           2.3.2   Excluded Professional Fees.   Notwithstanding anything to the

contrary in this Interim Order, neither the Carve Out Expenses nor the proceeds of any loans or

Collateral shall be used to pay any Allowed Professional Fees or any other fees or expenses

incurred by any Professional in connection with any of the following: (a) an assertion or joinder

in any claim, counter-claim, action, proceeding, application, motion, objection, defense or other

contested matter seeking any order, judgment, determination or similar relief: (i) challenging the

legality, validity, priority, perfection, or enforceability of the Obligations or the Agents’ and the

Lenders’ liens on and security interests in the Collateral, (ii) invalidating, setting aside, avoiding

or subordinating, in whole or in part, the Obligations or the Agents’ and the Lenders’ liens on

and security interests in the Collateral, or (iii) preventing, hindering or delaying the Agents’ or

the Lenders’ assertion or enforcement of any lien, claim, right or security interest or realization

upon any Collateral in accordance with the terms and conditions of this Interim Order or the

Interim Revolving Credit Order, (b) a request to use the Cash Collateral (as such term is defined

in Section 363 of the Bankruptcy Code), (c) a request for authorization to obtain debtor-in-

possession financing or other financial accommodations pursuant to Section 364(c) or (d) of the

Bankruptcy Code, other than the Post-Petition Financing, (d) the commencement or prosecution

of any action or proceeding of any claims, causes of action or defenses against either Agent, any

Lender or any of their respective officers, directors, employees, agents, attorneys, affiliates,

successors or assigns, including, without limitation, any attempt to recover or avoid any claim or

interest from such Agent or any Lender under Chapter 5 of the Bankruptcy Code, or (e) any act

which has or could have the effect of materially and adversely modifying or compromising the

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rights and remedies of either Agent or any Lender, or which is contrary, in a manner that is

material and adverse to either Agent or any Lender, to any term or condition set forth in or

acknowledged by the Post-Petition Financing Documents, this Interim Order or the Interim

Revolving Credit Order and which results in the occurrence of an Event of Default; provided,

however, that an amount not to exceed $25,000 in the aggregate of the Post-Petition Facilities

may be used to pay the Allowed Professional Fees of the Creditors’ Committee to investigate

claims against and objections with respect to the Pre-Petition Debt (as defined in the Interim

Revolving Credit Order) and pre-petition liens and security interests of the Revolving Credit

Agent and the Revolving Credit Lenders (including, without limitation, issues regarding validity,

perfection, priority, or enforceability of the secured claims of the Revolving Credit Agent and the

Revolving Lenders), including formal discovery proceedings in connection therewith. Any such

amount once paid shall reduce the Committee’s Professional Fee Carve Out on a dollar-for-

dollar basis.

                 2.4       Carve Out Reserve. At the Term Loan Agent’s sole discretion, the Term

Loan Agent may at any time establish (and adjust) a reserve against the amount of loans or other

credit accommodations that would otherwise be made available to the Debtors pursuant to the

Post-Petition Term Loan Agreement in respect of the Professional Fee Carve Out and the other

Carve Out Expenses. Without duplication, in its sole discretion, the Term Loan Agent may elect

from time to time to fund, from the proceeds of loans under the Post-Petition Term Loan

Agreement, a cash reserve in respect of the Professional Fee Carve Out and the other Carve Out

Expenses (and, upon any such election, the Debtors shall be deemed to have made one or more

loan requests from time to time in the amount necessary to fund such cash reserve).

                 2.5       Payment of Carve Out Expenses.



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                           2.5.1   The Debtors shall be permitted to pay to the Professionals

compensation and reimbursement of expenses that accrued prior to the occurrence of an Event of

Default and in the ordinary course of the Debtors’ business, and that are otherwise allowed and

payable under Section 328, 330 and 331 of the Bankruptcy Code and any interim procedures

order, as the same may be due and payable, but subject in any event to the times and amounts

specified therefor in the Budget, and the amounts so paid shall permanently reduce the Debtors’

Professional Fee Carve Out or the Committee’s Professional Fee Carve Out, as applicable, on a

dollar-for-dollar basis. Any Professional of the Debtors holding a retainer shall not be required

to apply any portion of such retainer to its unpaid compensation and expenses prior to seeking

any payment of Allowed Professional Fees in accordance with the first sentence of this Section

2.5.1, but shall be required to apply the full amount of such retainer prior to seeking payment in

excess of such retainer from the Debtors’ Professional Fee Carve-Out. The application of any

retainer to Allowed Professional Fees shall permanently reduce the Debtors’ Professional Fee

Carve Out on a dollar-for-dollar basis.

                           2.5.2   Any payment or reimbursement made either directly by either

Agent or any Lender at any time, or directly or indirectly by or on behalf of the Debtors

(including the application of any retainers), in respect of any Allowed Professional Fees shall, in

either case, permanently reduce the Debtors’ Professional Fee Carve Out or the Committee’s

Professional Fee Carve Out, as applicable, on a dollar-for-dollar basis.

                           2.5.3   To the extent that the Term Loan Agent and the Term Loan

Lenders elect to directly fund or otherwise pay the Professional Fee Carve Out or the other Carve

Out Expenses, such amounts shall be added to and made a part of the Post-Petition Term Loan

Obligations, secured by the Collateral, and entitle the Term Loan Agent and the Term Loan

Lenders to all of the rights, claims, liens, priorities and protections under this Interim Order, the

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Post-Petition Term Loan Documents, the Bankruptcy Code or applicable law. Payment of any

Carve Out Expenses, whether by or on behalf of the Term Loan Agent or any Term Loan

Lender, shall not and shall not be deemed to reduce the Post-Petition Term Loan Obligations,

and shall not and shall not be deemed to subordinate any of the Term Loan Agent’s and the Term

Loan Lenders’ liens and security interests in the Collateral or their Superpriority Claim to any

pre- or post-petition lien, interest or claim in favor of any other party. The Term Loan Agent and

the Term Loan Lenders shall not, under any circumstance, be responsible for the direct payment

or reimbursement of any fees or disbursements of any Professionals incurred in connection with

the Cases or under any chapter of the Bankruptcy Code (other than to turnover proceeds of the

Collateral or the Superpriority Claim actually received by the Term Loan Agent or any Term

Loan Lender following an Event of Default), and nothing in Section 2.3, 2.4, 2.5 or 2.6 of this

Interim Order shall be construed to obligate the Term Loan Agent or any Term Loan Lenders in

any way, to pay compensation to or to reimburse expenses of any Professional (other than as set

forth in the preceding parenthetical), or to ensure that the Debtors have sufficient funds to pay

such compensation or reimbursement.

                           2.5.4               For avoidance of doubt, it is understood that the

Professional Fee Carve Out referred to in this Interim Order is the only “professional fee carve

out” available in the Cases, i.e., no “professional fee carve out” is or will be available under the

Interim Revolving Credit Order (or any subsequently entered Final Revolving Credit Order) and

the Revolving Credit Facility Liens in the Revolver Senior Collateral is not and will not be

subject to any “professional fee carve out”.

Section 3.       Default; Rights and Remedies; Relief from Stay.

                 3.1       Events of Default. The occurrence of any of the following events shall

constitute an “Event of Default” under this Interim Order:

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                                 a.     Any Debtor’s failure to perform, in any respect, any of the

        terms, conditions or covenants or their obligations under this Interim Order; or

                                 b.     Any “Event of Default” under (and as defined in) the

        Interim Revolving Credit Order; or

                                 c.     Any “Event of Default” under (and as defined in) any of

        the Post-Petition Term Loan Documents.

                 3.2       Rights and Remedies Upon Event of Default. Upon the occurrence of and

during the continuance of an Event of Default, (i) the Debtors shall be bound by all restrictions,

prohibitions and other terms as provided in this Interim Order and the Post-Petition Term Loan

Documents, and (ii) the Term Loan Agent shall be entitled to take any act or exercise any right

or remedy as provided in this Interim Order and the Post-Petition Term Loan Documents,

including, without limitation, (v) declaring all Post-Petition Term Loan Obligations immediately

due and payable, (w) accelerating the Post-Petition Term Loan Obligations, (x) ceasing to extend

loans or other financial accommodations to or on behalf of the Debtors, (y) subject to Section 3.4

below, setting off any Post-Petition Term Loan Obligations under the Post-Petition Term Loan

Documents with Collateral or proceeds in the Term Loan Agent’s or any Term Loan Lender’s

possession, and (z) subject to Section 3.4 below, enforcing any and all rights with respect to the

Collateral. Upon the occurrence and during the continuance of an Event of Default and the

exercise by the Term Loan Agent of its rights and remedies under the Post-Petition Term Loan

Documents, the Debtors shall assist the Term Loan Agent in effecting any sale or other

disposition of the Collateral required by the Term Loan Agent, including any sale of Collateral

pursuant to Section 363 of the Bankruptcy Code or assumption and assignment of Collateral

consisting of contracts and leases pursuant to Section 365 of the Bankruptcy Code, in each case,

upon such terms that are designed to maximize the proceeds obtainable from such sale or other

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disposition and otherwise acceptable to the Term Loan Agent. The Term Loan Agent and the

Term Loan Lenders shall have no obligation to lend or advance any additional funds to or on

behalf of the Debtors, or provide any other financial accommodations to the Debtors,

immediately upon or after the occurrence of an Event of Default or upon the occurrence of any

act, event, or condition that, with the giving of notice or the passage of time, or both, would

constitute an Event of Default.

                 3.3       Expiration of Commitment. Upon the expiration of the Debtors’ authority

to borrow and obtain other financial accommodations from the Term Loan Agent and the Term

Loan Lenders pursuant to the terms of this Interim Order and the Post-Petition Term Loan

Documents (except if such authority shall be extended with the prior written consent of the Term

Loan Agent, which consent shall not be implied or construed from any action, inaction or

acquiescence by the Term Loan Agent or any Term Loan Lender), unless an Event of Default set

forth in Section 3.1 above occurs sooner and the automatic stay has been lifted or modified

pursuant to Section 3.4 of this Interim Order, all of the Post-Petition Term Loan Obligations

shall immediately become due and payable and the Term Loan Agent and the Term Loan

Lenders shall be automatically and completely relieved from the effect of any stay under Section

362 of the Bankruptcy Code, any other restriction on the enforcement of their liens upon and

security interests in the Collateral or any other rights granted to the Term Loan Agent and the

Term Loan Lenders pursuant to the terms and conditions of the Post-Petition Term Loan

Documents or this Interim Order, and the Term Loan Agent, acting on behalf of itself and the

Term Loan Lenders, shall be and is hereby authorized, in its sole discretion, to take any and all

actions and remedies provided to it in this Interim Order, the Post-Petition Term Loan

Documents or applicable law which the Term Loan Agent may deem appropriate and to proceed

against and realize upon the Collateral or any other property of the Debtors’ Estates.

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                 3.4       Relief from Automatic Stay. The automatic stay provisions of Section 362

of the Bankruptcy Code and any other restriction imposed by an order of this Court or applicable

law are hereby modified and vacated without further notice, application or order of this Court to

the extent necessary to permit the Term Loan Agent and the Term Loan Lenders to perform any

act authorized or permitted under or by virtue of this Interim Order or the Post-Petition Term

Loan Documents, including, without limitation, (a) to implement the Post-Petition Financing

arrangements authorized by this Interim Order and pursuant to the terms of the Post-Petition

Term Loan Documents, (b) to take any act to create, validate, evidence, attach or perfect any

lien, security interest, right or claim in the Collateral, and (c) to assess, charge, collect, advance,

deduct and receive payments with respect to the Post-Petition Term Loan Obligations under the

Post-Petition Term Loan Documents, including, without limitation, all interests, fees, costs and

expenses under such Post-Petition Term Loan Documents, and apply such payments to such

Post-Petition Term Loan Obligations pursuant to the Post-Petition Term Loan Documents and

this Interim Order.        In addition and without limiting the foregoing, without further notice,

application or order of this Court, upon the occurrence and during the continuance of an Event of

Default, and after providing 3 business days’ prior written notice thereof (the “Enforcement

Notice”) to counsel for the Debtors, counsel for the Revolving Credit Agent, counsel for the

Creditors’ Committee (if one is appointed), and the U.S. Trustee, the Term Loan Agent, acting

on behalf of itself and the Term Loan Lenders, shall be entitled to take any action and exercise

all rights and remedies provided to it by this Interim Order, the Post-Petition Term Loan

Documents or applicable law as the Term Loan Agent may deem appropriate in its sole

discretion to, among other things, proceed against and realize upon the Collateral or any other

assets or properties of the Debtors’ Estates upon which the Term Loan Agent, for the benefit of

itself and the Term Loan Lenders, has been or may hereafter be granted liens or security interests

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to obtain the full and indefeasible payment of all Post-Petition Term Loan Obligations under the

Post-Petition Term Loan Documents.

Section 4.       Representations; Covenants; and Waivers.

                 4.1       Objections to Pre-Petition Obligations. Section 6 of the Interim Revolving

Credit Order is incorporated into this Interim Order as if more fully set forth in this Interim

Order. Section 6 of the Interim Revolving Credit Order shall not be modified without the prior

written consent of the Term Loan Agent (and no such consent shall be implied from any other

action, inaction or acquiescence by the Term Loan Agent or any Term Loan Lender).

                 4.2       Debtors’ Waivers. At all times during the Cases, and whether or not an

Event of Default has occurred, unless otherwise consented to by the Term Loan Agent in writing

in advance (and no such consent shall be implied from any other action, inaction or acquiescence

by the Term Loan Agent or any Term Loan Lender), the Debtors irrevocably waive (a) any right

to seek any modifications or extensions of this Interim Order; and (b) any right that they may

have to seek authority (i) to use Cash Collateral of the Term Loan Agent and the Term Loan

Lenders under Section 363 of the Bankruptcy Code; (ii) to obtain post-petition loans or other

financial accommodations pursuant to Section 364(c) or (d) of the Bankruptcy Code, other than

the Post-Petition Financing; (iii) to challenge the use of proceeds or the application of any

payments authorized by this Interim Order and the Interim Revolving Credit Order; (iv) to

propose or support a plan of reorganization that does not provide for the indefeasible payment in

full and satisfaction of all Post-Petition Term Loan Obligations on the effective date of such

plan; or (v) to seek relief under the Bankruptcy Code, including without limitation, under Section

105 of the Bankruptcy Code, to the extent any such relief would in any way restrict or impair the

rights and remedies of the Term Loan Agent and the Term Loan Lenders as provided in this



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Interim Order or the Post-Petition Term Loan Documents or the Term Loan Agent’s and the

Term Loan Lenders’ exercise of such rights or remedies.

                 4.3       Section 506(c) Claims. Effective upon the earlier of (a) the entry of a

Final Order approving the Motion or (b) the entry of an order extending the Interim Financing

Period beyond April [4], 2008 (which entry, without the prior written consent of the Term Loan

Agent, shall constitute an Event of Default) (such effectiveness to be retroactive to the date of

entry of this Interim Order), no costs or expenses of administration which have or may be

incurred in any Case or in any subsequently converted case under Chapter 7 of the Bankruptcy

Code at any time shall be charged or asserted against the Term Loan Agent or any Term Loan

Lender, their respective claims or the Collateral pursuant to Section 506(c) of the Bankruptcy

Code without the prior written consent of the Term Loan Agent (and no such consent shall be

implied from any other action, inaction or acquiescence by the Term Loan Agent or any Term

Loan Lender).

                 4.4       Collateral Rights. Until all of the Post-Petition Term Loan Obligations

shall have been indefeasibly paid and satisfied in full:

                           4.4.1   subject to the Intercreditor Agreement, no other party shall

foreclose or otherwise seek to enforce any junior lien or claim in any Collateral;

                           4.4.2   in the event that any party who holds a lien or security interest in

any of the Collateral that is junior and/or subordinate to the liens and claims of the Term Loan

Agent, for the benefit of itself and the Term Loan Lenders, in such Collateral receives or is paid

proceeds of the Collateral prior to the indefeasible payment and satisfaction in full of all Post-

Petition Term Loan Obligations, such junior or subordinate lienholder shall be deemed to have

received, and shall hold, such Collateral proceeds in trust for the Term Loan Agent, for the

benefit of itself and the Term Loan Lenders, and, subject to the Intercreditor Agreement, shall

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immediately turnover to the Term Loan Agent such proceeds for application to the Petition Term

Loan Obligations in accordance with the Post-Petition Term Loan Documents; and

                           4.4.3   upon and after the occurrence of an Event of Default, and subject

to the Term Loan Agent obtaining relief from the automatic stay as provided for herein, in

connection with a liquidation of any of the Collateral, the Term Loan Agent (or any of its

employees, agents, consultants, contractors or other professionals) shall have the right, at the sole

cost and expense of the Debtors, to: (i) enter upon, occupy and use any real or personal property,

fixtures, equipment, leasehold interests or warehouse arrangements owned or leased by the

Debtors and (ii) use any and all trademarks, tradenames, copyrights, licenses, patents or any

other similar assets of the Debtors, which are owned by or subject to a lien of any third party and

which are used by the Debtors in their businesses. The Term Loan Agent and the Term Loan

Lenders will be responsible for the payment of any applicable fees, rentals, royalties or other

amounts due such lessor, licensor or owner of such property (other than the Debtors) for the

period of time that the Term Loan Agent actually uses the equipment or the intellectual property

(but in no event for any accrued and unpaid fees, rentals or other amounts due for any period

prior to the date that the Term Loan Agent actually occupies or uses such assets or properties).

                 4.5       Release. Upon the entry of this Interim Order, in consideration of and as a

condition to the Term Loan Agent and the Term Loan Lenders making post- petition loans and

providing other financial accommodations to the Debtors pursuant to the provisions of the Post-

Petition Term Loan Documents and this Interim Order, each Debtor, on behalf of itself and its

successors and assigns (collectively, the “Releasors”), shall, forever release, discharge and

acquit the Term Loan Agent, each Term Loan Lender and their respective affiliates, officers,

directors, agents and attorneys (collectively, the “Releasees”) of and from any and all claims,

demands, liabilities, responsibilities, disputes, remedies, causes of action and obligations, of

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every kind, nature and description, that Releasors had, have or hereafter can or may have against

Releasees as of the date hereof, in respect of events occurring on or prior to the date hereof,

whether arising from or in connection with or related to the Post-Petition Financing or any

related or unrelated transaction. In addition, upon the payment in full of all Post-Petition Term

Loan Obligations owed to the Term Loan Agent and the Term Loan Lenders by the Debtors and

termination of the rights and obligations arising under the Post-Petition Term Loan Documents

and either a Final Order or extended Interim Order, as the case may be (which payment and

termination shall be on terms and conditions acceptable to the Term Loan Agent), the Releasees

shall be released from any and all claims, demands, liabilities, responsibilities, disputes,

remedies, causes of action and obligations, of every kind, nature and description, whether arising

from or in connection with or related to the transactions contemplated by this Interim Order and

the Post-Petition Term Loan Documents or any related or unrelated transaction, including

without limitation any obligation to pay or otherwise fund the Carve Out Expenses, on terms and

conditions acceptable to the Term Loan Agent.

Section 5.       Other Rights and Obligations.

                 5.1       No Modification or Stay of this Interim Order. Notwithstanding (i) any

stay, modification, amendment, supplement, vacating, revocation or reversal of this Interim

Order, the Post-Petition Term Loan Documents or any term hereunder or thereunder, (ii) the

failure to obtain a Final Order pursuant to Bankruptcy Rule 400l(c)(2), or (iii) the dismissal or

conversion of one or more of the Cases (each, a “Subject Event”), (x) the acts taken by the Term

Loan Agent and the Term Loan Lenders in accordance with this Interim Order, and (y) the Post-

Petition Term Loan Obligations incurred or arising prior to the Term Loan Agent’s actual receipt

of written notice from the Debtors expressly describing the occurrence of such Subject Event

shall, in each instance, be governed in all respects by the original provisions of this Interim

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Order, and the acts taken by the Term Loan Agent and the Term Loan Lenders in accordance

with this Interim Order, and the liens and security interests granted to the Term Loan Agent and

the Term Loan Lenders in the Collateral, and all other rights, remedies, privileges, and benefits

in favor of the Term Loan Agent and the Term Loan Lenders pursuant to this Interim Order and

the Post-Petition Term Loan Documents shall remain valid and in full force and effect pursuant

to Section 364(e) of the Bankruptcy Code.           For purposes of this Interim Order, the term

“appeal”, as used in Section 364(e) of the Bankruptcy Code, shall be construed to mean any

proceeding for reconsideration, amending, rehearing, or re-evaluating this Interim Order by this

Court or any other tribunal.

                 5.2       Non-Dischargeability. The Post-Petition Term Loan Obligations shall not

be discharged by the entry of an order confirming a plan of reorganization in the Cases pursuant

to Section 1141(d)(4) of the Bankruptcy Code or otherwise, unless and until all Post-Petition

Term Loan Obligations are indefeasibly paid in full in accordance with the terms and conditions

of the Post-Petition Term Loan Documents prior to or concurrently with the entry of such order.

                 5.3       Power to Waive Rights; Duties to Third Parties. The Term Loan Agent

and the Term Loan Lenders shall have the right to waive any of the terms, rights and remedies

provided or acknowledged in this Interim Order in respect of the Term Loan Agent and the Term

Loan Lenders (the “Lender Rights”), and shall have no obligation or duty to any other party

with respect to the exercise or enforcement, or failure to exercise or enforce, any Lender

Right(s). Any waiver by the Term Loan Agent or the Term Loan Lenders of any Lender Rights

shall not be or constitute a continuing waiver. Any delay in or failure to exercise or enforce any

Lender Right shall neither constitute a waiver of such Lender Right, subject the Term Loan

Agent or the Term Loan Lenders to any liability to any other party, nor cause or enable any other



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party to rely upon or in any way seek to assert as a defense to any obligation owed by the

Debtors to the Term Loan Agent or the Term Loan Lenders.

                 5.4       Disposition of Collateral     The Debtors shall not sell, transfer, lease,

encumber or otherwise dispose of any portion of the Collateral without the prior written consent

of the Term Loan Agent (and no such consent shall be implied, from any other action, inaction or

acquiescence by the Term Loan Agent or any Term Loan Lender), except for sales of the

Debtors’ Inventory in the ordinary course of their business.

                 5.5       Reservation of Rights.      The terms, conditions and provisions of this

Interim Order are in addition to and without prejudice to the rights of the Term Loan Agent and

the Term Loan Lenders to pursue any and all rights and remedies under the Bankruptcy Code,

the Post-Petition Term Loan Documents or any other applicable agreement or law, including,

without limitation, rights to seek adequate protection and/or additional or different adequate

protection, to seek relief from the automatic stay, to seek an injunction, to oppose any request for

use of cash collateral or granting of any interest in the Collateral or priority in favor of any other

party, to object to any sale of assets, and to object to applications for allowance and/or payment

of compensation of Professionals or other parties seeking compensation or reimbursement from

the Estate. Without limiting the generality of the foregoing, entry of this Interim Order is

without prejudice to any rights that the Term Loan Agent and the Term Loan Lenders have or

may acquire against any third party.

                 5.6       Binding Effect.

                           5.6.1   The provisions of this Interim Order and the Post-Petition Term

Loan Documents, the Post-Petition Term Loan Obligations, the Superpriority Claim and any and

all rights, remedies, privileges and benefits in favor of the Term Loan Agent and the Term Loan

Lender provided or acknowledged in this Interim Order, and any actions taken pursuant thereto,

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shall be effective immediately upon entry of this Interim Order pursuant to Bankruptcy Rules

6004(h) and 7062, shall continue in full force and effect, shall survive entry of any other order

(including without limitation any order which may be entered confirming any plan of

reorganization, converting one or more of the Cases to any other chapter under the Bankruptcy

Code, or dismissing one or more of the Cases), and shall continue in this or any superseding case

under the Bankruptcy Code (and all priorities in payment, liens and security interests in favor of

the Term Loan Agent and the Term Loan Lenders shall maintain their priority as provided by

this Interim Order until all Post-Petition Term Loan Obligations are indefeasibly paid and

satisfied in full).

                           5.6.2   Any order dismissing one or more of the Cases under Section 1112

or otherwise shall be deemed to provide (in accordance with Sections 105 and 349 of the

Bankruptcy Code) that (a) the Superpriority Claim and the Term Loan Agent’s and the Term

Loan Lenders’ liens on and security interests in the Collateral shall continue in full force and

effect notwithstanding such dismissal until the Post-Petition Term Loan Obligations are

indefeasibly paid and satisfied in full, and (b) this Court shall retain jurisdiction, notwithstanding

such dismissal, for the purposes of enforcing the Superpriority Claim and such liens and security

interests in the Collateral.

                           5.6.3   In the event this Court modifies any of the provisions of this

Interim Order or the Post-Petition Term Loan Documents following a Final Hearing, (a) such

modifications shall not affect the rights or priorities of the Term Loan Agent and the Term Loan

Lenders pursuant to this Interim Order with respect to the Collateral or any portion of the Post-

Petition Term Loan Obligations which arises or is incurred or is advanced prior to such

modifications, and (b) this Interim Order shall remain in full force and effect except as

specifically amended or modified at such Final Hearing.

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                           5.6.4   This Interim Order shall be binding upon the Debtors, all parties in

interest in the Cases and their respective successors and assigns, including any trustee or other

fiduciary appointed in the Cases or any subsequently converted bankruptcy case(s) of any

Debtor. This Interim Order shall also inure to the benefit of the Term Loan Agent, the Term

Loan Lenders, the Debtors and their respective successors and assigns. For avoidance of doubt,

the Term Loan Agent and the Term Loan Lenders shall have no obligation to extend any

financing to any Chapter 7 trustee or similar responsible person appointed for the Debtors’

Estates.

                           5.6.5   Other than the Carve Out Expenses to the extent expressly set forth

in this Interim Order and the pari passu superpriority claim of the Revolving Credit Agent, no

claim having a priority superior or pari passu with those granted by this Interim Order to the

Term Loan Agent and the Term Loan Lenders shall be granted or permitted by any order of the

Court heretofore or hereafter entered in any Case, while any portion of the Post-Petition Term

Loan Obligations (or any refinancing thereof) or the commitment thereunder remains

outstanding without the prior written consent of the Term Loan Agent (and no such consent shall

be implied, from any other action, inaction or acquiescence by the Term Loan Agent or any

Term Loan Lender).

                 5.7       Marshalling. In no event shall the Term Loan Agent or any Term Loan

Lender be subject to the equitable doctrine of “marshalling” or any similar doctrine with respect

to the Collateral.

                 5.8       Term; Termination. Notwithstanding any provision of this Interim Order

to the contrary, the term of the financing arrangements among the Debtors, the Term Loan Agent

and the Term Loan Lenders authorized by this Interim Order may be terminated pursuant to the

terms of the Post-Petition Term Loan Documents.

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                 5.9       Limited Effect. Unless the Interim Order specifically provides otherwise,

in the event of a conflict between the terms and provisions of any of the Post-Petition Term Loan

Documents and this Interim Order, the terms and provisions of this Interim Order shall govern

and control, interpreted as most consistent with the terms and provisions of the Post-Petition

Term Loan Documents.

                 5.10      Objections Overruled. All objections to the entry of this Interim Order

are, to the extent not withdrawn, hereby overruled.

                 5.11      Restrictions on Use of Cash Collateral, Additional Financing. All post-

petition loans and other financial accommodations under the Post-Petition Term Loan

Documents are made in reliance on this Interim Order and in the event that any order is entered

at any time in any Case or in any subsequently converted case under Chapter 7 of the Bankruptcy

Code (other than the Final Order) which (a) authorizes the use of Cash Collateral of the Debtors

or the sale, lease, or other disposition of any Collateral, except as expressly permitted under the

Post-Petition Term Loan Documents, or (b) authorizes, under Section 364 of the Bankruptcy

Code the obtaining of credit or the incurring of indebtedness (other than the Post-Petition

Financing) secured by a lien or security interest in the Collateral which is equal or senior to the

Term Loan Agent’s liens and security interests in the Collateral, or which is entitled to priority

administrative claim status which is equal or superior to the Superpriority Claim; then, in each

instance described in clauses (a) and (b) above, such other order shall require that all Post-

Petition Term Loan Obligations first shall be indefeasibly paid in full in immediately available

funds, unless the Term Loan Agent shall first have given its prior written consent thereto (no

such consent being implied from any other action, inaction or acquiescence by the Term Loan

Agent or any Term Loan Lender). The liens and security interests granted to or for the benefit of

the Term Loan Agent, for the benefit of itself and the Term Loan Lenders, hereunder and the

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rights of the Term Loan Agent and the Term Loan Lenders pursuant to this Interim Order and the

Post-Petition Term Loan Documents with respect to the Post-Petition Term Loan Obligations

and the Collateral are cumulative and shall not be altered, modified, extended, impaired, or

affected by any plan of reorganization of the Debtors, unless the Term Loan Agent shall first

have given its prior written consent thereto (no such consent being implied from any other

action, inaction or acquiescence by the Term Loan Agent or any Term Loan Lender), and shall

continue after confirmation and effectiveness of any such plan.

                 5.12      Limitation of Liability. Nothing in this Interim Order or the Post-Petition

Term Loan Documents shall in any way be construed or interpreted to impose, or allow the

imposition upon the Term Loan Agent or any Term Loan Lender of, any liability for any claims

arising from the pre-petition or post-petition activities by the Debtors in the operation of their

businesses or in connection with their restructuring efforts.

Section 6.       Good Faith.

        The terms of the financing arrangements among the Debtors, the Term Loan Agent and

the Term Loan Lenders have been negotiated in good faith and at arms’ length among the

Debtors, the Term Loan Agent and the Term Loan Lenders and any loans or other financial

accommodations which are made or caused to be made to the Debtors by the Term Loan Agent

and the Term Loan Lenders pursuant to the Post-Petition Term Loan Documents are deemed to

have been made and provided in good faith, as the term “good faith” is used in Section 364(e) of

the Bankruptcy Code, and shall be entitled to the full protection of Section 364(e) of the

Bankruptcy Code in the event that this Interim Order or the Post-Petition Term Loan Documents

or any provisions are hereafter modified, vacated, amended, or stayed by subsequent order of this

Court or any other court without the prior written consent of the Term Loan Agent (and no such



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consent shall be implied, from any other action, inaction or acquiescence by the Term Loan

Agent or any Term Loan Lender).

Section 7.       Final Hearing and Response Dates.

        The Final Hearing on the Motion pursuant to Bankruptcy Rule 4001(c)(2) is scheduled

for _______________, 2008 at ______ before this Court. The Debtors shall promptly mail

copies of this Interim Order to (a) the Noticed Parties, (b) all landlords and warehousemen of the

Debtors, (c) all parties who have filed UCC-1 financing statements against the Debtors, or who,

to the Debtors’ knowledge, have asserted any liens on any of the Debtors’ assets, (d) to any other

party that has filed a request for notices with this court and (e) to counsel for the Creditors’

Committee (if one is appointed). Any party in interest objecting to the relief sought at the Final

Hearing shall serve and file written objections, which objections shall be served upon (i) counsel

for the Debtors, Cozen O’Connor LLP, LibertyView, Suite 300, 457 Haddonfield Road, Cherry

Hill, New Jersey 08002, Attn: Mark E. Felger, Esq.; (ii) counsel for the Revolving Credit Agent,

Stradley Ronon Stevens & Young, LLP, 2600 One Commerce Square, Philadelphia,

Pennsylvania 19103, Attn: Paul A. Patterson, Esq.; (iii) counsel for the Term Loan Agent, Blank

Rome LLP, One Logan Square, 130 N. 18th Street, Philadelphia, Pennsylvania 19103-6998; Attn:

Joel C. Shapiro, Esq.; (iv) counsel for the Creditors’ Committee (if one is appointed); and (v) the

U.S. Trustee; and shall be filed with the Clerk of the United States Bankruptcy Court for the

District of New Jersey, in each case, to allow actual receipt of the foregoing no later than

_____________________, prevailing Eastern time.

Section 8.       Intercreditor Agreement.

        Notwithstanding anything to the contrary contained in this Interim Order, the rights and

obligations of the Agents and Lenders to one another, and with respect to the Collateral, are

subject to the terms of the Intercreditor Agreement, dated on or about the date hereof (as

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amended, supplemented, extended or otherwise modified from time to time, the “Intercreditor

Agreement”) among the Agents and the Lenders. With respect to such rights and obligations,

and with respect to the Collateral, in the event of a conflict between the terms and provisions of

the Intercreditor Agreement and this Interim Order, the terms and provisions of the Intercreditor

Agreement shall govern and control. Pursuant to the Intercreditor Agreement, each of the

Revolving Credit Agent, for itself and the Revolving Credit Lenders, and the Term Loan Agent,

for itself and the Term Loan Lenders, has consented to the liens on its security interest in the

Collateral of the other Agent, for the benefit of itself and the Lenders for which it acts as agent,

and the priority of such liens and security interests, all as more fully defined, described and set

forth in the Intercreditor Agreement.




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                                                                [EXECUTION VERSION]




          DEBTOR-IN-POSSESSION TERM LOAN FINANCING AGREEMENT




                                     ARCUS ASI FUNDING, LLC
                               (as Lead Arranger, Agent and a Lender),


                               the lenders party hereto from time to time
                                             (as Lenders),


                                                  and


                                    Shapes/Arch Holdings L.L.C.,
                                           Shapes L.L.C.,
                                            Delair L.L.C.,
                                            Ultra L.L.C.
                                                 and
                                          Accu-Weld L.L.C.
                            (the Companies which are borrowers hereunder)




                                       Dated: March ___, 2008




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EXHIBIT

Exhibit A – Form of Term Loan Promissory Note
Exhibit B – Form of Budget
SCHEDULES
Schedule 1R – Real Estate
Schedule 2.1 – Collateral Information
Schedule 7.1 – Senior Claims
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       ARCUS ASI FUNDING, LLC, a Delaware limited liability company (hereinafter
“Arcus”), with offices located at 2929 Arch Street, Philadelphia, PA 19104, and Arcus in its
capacity as agent (the “Agent”), for itself and any other party which now or hereafter becomes a
lender hereunder pursuant to Section 14 hereof (individually a “Lender” and collectively the
“Lenders”) is pleased to confirm the terms and conditions under which Lenders shall make a
Term Loan Facility and other financial accommodations available to Shapes/Arch Holdings
L.L.C., a New Jersey limited liability company, as debtor and debtor-in-possession
(“Shapes/Arch”), with a principal place of business at 9000 River Road, Delair, New Jersey
08110, Shapes L.L.C., a New Jersey limited liability company, as debtor and debtor-in-
possession (“Shapes”), with a principal place of business located at 9000 River Road, Delair,
New Jersey 08110, Delair L.L.C., a New Jersey limited liability company, as debtor and debtor-
in-possession (“Delair”), with a principal place of business at 8600 River Road, Delair, New
Jersey 08110, Ultra L.L.C., a New Jersey limited liability company, as debtor and debtor-in-
possession (“Ultra”), with a principal place of business at 1777 Hylton Road, Pennsauken, New
Jersey 08110, and Accu-Weld L.L.C., a Pennsylvania limited liability company, as debtor and
debtor-in-possession (“Accu-Weld”), with a principal place of business at 1211 Ford Road,
Bensalem, Pennsylvania 19020 (in this Agreement, Shapes/Arch, Shapes, Delair, Ultra and
Accu-Weld are referred to collectively, jointly and severally as the “Companies” and
individually, each as a “Company” and sometimes referred to as “Borrowers” and individually,
each as a “Borrower”).

SECTION 1. Definitions

       363 Sale shall mean the sale of all or substantially all of Borrowers’ assets or business
pursuant to Section 363 of the Bankruptcy Code.

        Accounts shall mean all of each of the Companies’ now existing and future: (a) accounts
(as defined in the UCC), and any and all other receivables (whether or not specifically listed on
schedules furnished to the Agent), including, without limitation, all accounts created by, or
arising from, all of the Companies’ sales, leases, rentals of goods or renditions of services to
their customers, including but not limited to, those accounts arising under any of the Companies’
trade names or styles, or through any of the Companies’ divisions; (b) any and all instruments,
documents, chattel paper (including electronic chattel paper) (all as defined in the UCC); (c)
unpaid seller’s or lessor’s rights (including rescission, replevin, reclamation, repossession and
stoppage in transit) relating to the foregoing or arising therefrom; (d) rights to any goods
represented by any of the foregoing, including rights to returned, reclaimed or repossessed
goods; (e) reserves and credit balances arising in connection with or pursuant hereto; (f)
guarantees, supporting obligations, payment intangibles and letter of credit rights (all as defined
in the UCC); (g) insurance policies or rights relating to any of the foregoing; (h) general
intangibles pertaining to any and all of the foregoing (including all rights to payment, including
any and all Intercompany Debt and other liabilities and those arising in connection with bank and
non-bank credit cards), and including books and records and any electronic media and software
thereto; (i) notes, deposits or property of account debtors securing the obligations of any such
account debtors to the Companies; and (j) cash and non-cash proceeds (as defined in the UCC) of
any and all of the foregoing.

        Applicable Margin shall mean six percent (6%).

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        Agreement shall mean this Debtor-In-Possession Term Loan Financing Agreement.

      Assignment and Transfer Agreement shall mean an Assignment and Transfer
Agreement in form and substance satisfactory to Agent.

        Availability shall have the meaning specified thereunder in the Revolver Agreement in
effect as of the date hereof.

       Avoidance Actions shall mean any and all actions of a Company or its estate under
Chapter 5 or Section 724(a) of the Bankruptcy Code and proceeds thereof.

        Bankruptcy Code shall mean Title 11 of the United States Code entitled “Bankruptcy,”
as the same may be amended, modified or supplemented from time to time and any successor
statute thereto.

      Bankruptcy Court shall mean the United States Bankruptcy Court for the District of
New Jersey, or such other court having jurisdiction over the Case.

       Base Rate shall mean the rate of interest per annum announced by JPMorgan Chase
Bank from time to time as its prime rate in effect at its principal office in New York City;
provided, however, that the “Base Rate,” for the purposes hereof, shall in no event be deemed to
be lower than 6%. (The prime rate is not intended to be the lowest rate of interest charged by
JPMorgan Chase Bank to its borrowers).

       Books and Records shall mean books, records, ledger cards, disks and related data
processing software at any time evidencing or containing information relating to any of the
Collateral or otherwise necessary or helpful in the collection thereof or realization thereon.

        Borrowing Base shall have the meaning specified thereunder in the Revolver Agreement
in effect as of the date hereof.

         Borrowing Base Assets shall mean (a) all of the (i) Accounts (as defined in the
Intercreditor Agreement) and (ii) Borrowers’ present and hereafter acquired inventory (as
defined in the UCC), (b) all of the Borrowers’ now owned and hereafter acquired lockbox,
Blocked Account or any other deposit accounts maintained with any bank of financial
institutions into which the proceeds of Borrowing Base Assets are or may be deposited, but only
to the extent of such proceeds, (c) the Books and Records or general intangibles (as defined in
the UCC) at any time evidencing or containing information relating to any of the Borrowing
Base Assets described herein or otherwise necessary or helpful in the collection thereof or
realization thereon, and (d) all proceeds (including, without limitation, insurance proceeds) and
products of any and all of the foregoing (whether or not in the possession, custody or control of
the Revolver Agent and/or any Revolver Lender), and all accessions thereto, substitutions for or
replacements of and rents and profits from any and all of the foregoing.

       Budget shall mean a budget prepared in good faith based upon assumptions which the
Companies believe to be reasonable setting forth, inter alia, a thirteen (13) week cash flow
forecast in reasonable detail satisfactory to Agent including receipts, disbursements and such line
item detail as satisfactory to Agent, as well as projected borrowings and availability under the

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Revolver Agreement and the Term Loan Facility for the thirteen weeks ended June 15, 2008, in
the form attached hereto as Exhibit B, as updated weekly with Agent’s consent.

       Business Day shall mean any day on which the Agent, JPMorgan Chase Bank, N.A., and,
in the case of settlements among the Lenders or the making of advances by the Lenders, the
Lenders are open for business.

        Capital Expenditures shall mean, for any period, the aggregate expenditures of the
Companies during such period on account of property, plant, Equipment or similar fixed assets
that, in conformity with GAAP, are required to be reflected in the balance sheet of the
Companies.

       Capital Improvements shall mean operating Equipment and facilities (other than land)
acquired or installed for use in the Companies’ business operations.

       Capital Lease shall mean any lease of property (whether real, personal or mixed) which,
in conformity with GAAP, is accounted for as a capital lease or a Capital Expenditure in the
balance sheet of the Companies.

        Cargo Insurance shall mean a policy or policies of insurance which (i) provide
warehouse-to-warehouse coverage for all of the Companies’ in-transit Inventory; (ii) insuring
against loss and casualty, as a result of any and all perils (including perils on the sea and of the
sea) and misfortunes; (iii) include a marine extension clause; (iv) are for the full insured value of
such Inventory (that is invoice cost, guaranteed freight, other costs, and insurance premiums,
plus ten percent (10%)); (v) are issued by one or more insurance carriers which are acceptable to
the Agent in its discretion, and (vi) name the Agent, for the benefit of the Lenders as a loss
payee.

        Carve-Out shall have the meaning given to the term “Carve-Out Expenses” in the Final
Order, or, prior to the entry of the Final Order, the Interim Financing Order; provided, however,
that in no case shall the Carve-Out include any Ineligible Professional Expenses.

       Case shall mean collectively, the Companies’ reorganization cases under Chapter 11 of
the Bankruptcy Code pending in the Bankruptcy Court.

        CIT shall mean The CIT Group/Business Credit, Inc.

        Closing Date shall mean the date that this Agreement has been duly executed by the
parties hereto and delivered to the Agent and the initial Term Loan Advance under the Term
Loan Facility has been funded.

        Collateral shall mean all present and future real and personal property of the Companies,
including, without limitation, Accounts, Equipment, Inventory, Documents of Title, General
Intangibles, Real Estate, pledged stock or membership interests of the Companies’ subsidiaries
and Other Collateral and the proceeds and products thereof, including but not limited to the
Companies’ cash, deposit accounts (whether or not comprised solely of proceeds), certificates of
deposit, insurance proceeds (including, without limitation, hazard, flood, environmental and
credit insurance and cargo insurance), negotiable instruments and other instruments for the

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payment of money (including without limitation all instruments evidencing Intercompany Debt),
chattel paper, security agreements, documents, eminent domain proceeds, condemnation
proceeds, Avoidance Actions and commercial tort claims.

        Commitment shall mean each Lender’s Term Loan Commitment, in the amount of its
respective pro rata share set forth in schedules prepared by the Agent or the Assignment and
Transfer Agreement executed by each such Lender.

       Commitment Fee shall mean the fee due to Agent at the end of each month for the Term
Loan Facility determined by multiplying the difference between (i) the Term Loan Facility
Amount, and (ii) the sum, for said month, of the average daily balance of Term Loan Advances
outstanding by two percent (2%) per annum for the number of days in said month.

       Consolidated Balance Sheet shall mean a consolidated or combined, as applicable,
balance sheet for Shapes/Arch and the Companies, eliminating all inter-company transactions
and prepared in accordance with GAAP.

       Consolidating Balance Sheet shall mean a Consolidated Balance Sheet plus individual
balance sheets for Shapes/Arch and each of the Companies, showing all eliminations of inter-
company transactions, all prepared in accordance with GAAP.

        Controlled Group shall mean all members of a controlled group of corporations and all
trades or businesses (whether or not incorporated) under common control which, together with
any Company, are treated as a single employer under Section 414 of the Internal Revenue Code.

        Copyrights shall mean all of each of the Companies’ present and hereafter acquired
copyrights, copyright registrations, recordings, applications, designs, styles, licenses, marks,
prints and labels bearing any of the foregoing, goodwill, any and all general intangibles,
intellectual property and rights pertaining thereto, and all cash and non-cash proceeds thereof.

        Creditors’ Committee shall mean the official unsecured creditors’ committee appointed
in the Case.

       Cumulative Period shall mean the period from the Filing Date through the Friday of the
most recent four-week period then ended or if a four-week period has not then elapsed from the
Filing Date, such shorter period since the Filing Date through the Friday of the most recent week
then ended.

        Default shall mean any event specified in Section 11 hereof, whether or not any
requirement for the giving of notice, the lapse of time, or both, or any other condition, event or
act, has been satisfied.

       Default Rate of Interest shall mean a rate of interest per annum on any Obligations
hereunder, equal to the sum of: (a) three percent (3%), plus (b) the Applicable Margin, plus (c)
the Base Rate, which the Agent shall be entitled to charge the Companies on all Obligations due
the Agent on behalf of the Lenders, as further set forth in Paragraph 11.2 of Section 11 of this
Agreement.


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       Depository Accounts shall mean the collection accounts, which are subject to the
Agent’s instructions, as specified in Paragraph 6.14 of Section 6 of this Agreement.

        Documentation Fee shall mean (a) all fees and expenses incurred in connection with or
by the Agent’s external legal counsel in negotiating, documenting, preparing for and attending a
closing with respect to this Agreement (and all related agreements and transactions giving rise to
the necessity for the Term Loan Facility), the Collateral, and/or the Obligations (all exclusive of
Out-of-Pocket Expenses), plus (b) subsequent to the Closing Date, the fees of the Agent’s legal
counsel, whether or not in-house legal counsel, relating to any and all modifications, waivers,
releases, amendments or additional collateral with respect to this Agreement, the Collateral
and/or the Obligations (all exclusive of Out-of-Pocket Expenses).

        Documents of Title shall mean all of each of the Companies’ present and future
documents (as defined in the UCC), and any and all warehouse receipts, bills of lading, shipping
documents, chattel paper, instruments and similar documents, all whether negotiable or not and
all goods and Inventory relating thereto and all cash and non-cash proceeds of the foregoing.

        EBITDA shall mean, as of the date of determination, (a) consolidated net income of the
Companies and their subsidiaries, if any, plus (b) to the extent included in the determination of
net income, (i) the provision (less the benefit) for income Taxes, if any, plus (ii) interest expense
(less interest income), if any, plus (iii) depreciation and amortization, if any, plus (iv) all
provisions and expenses related to the Case related to professionals, advisors or other costs
incurred in connection with the preparation, negotiation and closing of the financing transactions
under this Agreement, the Revolver Agreement and any transactions related hereto or thereto,
plus (v) all extraordinary losses (and minus any extraordinary gains) or unusual or non-recurring
charges, if any, all prepared in accordance with GAAP consistently applied.

        Equipment shall mean all of each of the Companies’ present and hereafter acquired
equipment (as defined in the UCC) including, without limitation, all machinery, equipment,
furnishings and fixtures, and all additions, substitutions and replacements thereof, wherever
located, together with all attachments, components, parts, equipment and accessories installed
thereon or affixed thereto and all proceeds thereof of whatever sort.

       ERISA shall mean the Employee Retirement Income Security Act or 1974, as amended
from time to time and the rules and regulations promulgated thereunder from time to time.

        Event(s) of Default shall have the meaning provided for in Section 11 of this Agreement.

        Filing Date shall mean March 16, 2008.

       Final Order shall mean a final order of the Bankruptcy Court in the Case authorizing
and approving this Agreement and the other Loan Documents under Sections 364(c) and (d) of
the Bankruptcy Code and entered at or after a final hearing, in form and substance satisfactory to
Agent and Lenders. The Final Order shall, among other things, have:

        (a)     authorized the transactions contemplated by this Agreement and the extensions of
credit under this Agreement in an amount not less than the Term Loan Facility Amount provided
for herein;

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       (b)    granted the claim and lien status and liens described in Sections 6 and 7, and
prohibited the granting of additional liens on the assets of Companies, other than Permitted
Encumbrances;

        (c)    provided that such liens are automatically perfected by the entry of the Final
Order and also granted to the Agent for the benefit of the Agent and the Lenders relief from the
automatic stay of Section 362(a) of the Bankruptcy Code to enable the Agent, if the Agent elects
to do so in its discretion, to make all filings and recordings and to take all other actions
considered necessary or advisable by the Agent to perfect, protect and ensure the priority of its
liens upon the Collateral as a matter of non-bankruptcy law;

        (d)    provided that no Person will be permitted to surcharge the Collateral under
Section 506(c) of the Bankruptcy Code, nor shall any costs or expenses whatsoever be imposed
against the Collateral, except for the Carve-Out;

        (e)    provided Agent with relief from the automatic stay in a manner consistent with
the terms of Section 11.2;

       (f)     provided that the Case may not be dismissed unless the Obligations have been
indefeasibly paid in full in cash and this Agreement has been terminated; and

       (g)     declared that the credit extended hereunder and the negotiation of this Agreement
and the other Loan Documents have been made and done in good faith and therefore the
Obligations incurred and the granting, perfection and priority of the liens hereunder and
thereunder are entitled to the protections in Section 364(e) of the Bankruptcy Code.

       Fiscal Year shall mean each twelve (12) month period commencing on January 1 of each
year and ending on the following December 31.

       GAAP shall mean generally accepted accounting principles in the United States of
America as in effect from time to time and for the period as to which such accounting principles
are to apply, provided that in the event Shapes/Arch or any other Company modify their
accounting principles and procedures as applied as of the Closing Date, the Companies shall
provide to the Agent and the Lenders such statements of reconciliation as shall be in form and
substance acceptable to the Agent.

        General Intangibles shall mean all of each of the Companies’ present and hereafter
acquired general intangibles (as defined in the UCC), and shall include, without limitation, all
present and future right, title and interest in and to: (a) all Trademarks, corporate names, business
names, and any other designs or sources of business identities, (b) Patents, utility models,
industrial models, and designs, (c) Copyrights, (d) trade secrets, (e) licenses, permits and
franchises, (f) inventions, (g) all applications with respect to the foregoing, (h) all right, title and
interest in and to any and all extensions and renewals, (i) all goodwill with respect to any of the
foregoing, (j) any other forms of similar intellectual property, (k) all customer lists, distribution
agreements, supply agreements, blueprints, indemnification rights and tax refunds, together with
all monies and claims for monies now or hereafter due and payable in connection with any of the
foregoing or otherwise, (l) all choses in action, causes of action, corporate and business records,
and (m) all cash and non-cash proceeds thereof including, without limitation, the proceeds or

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royalties of any licensing agreements between the Companies and any licensee of any of the
Companies’ General Intangibles.

        Indebtedness shall mean, without duplication, all liabilities, contingent or otherwise,
which are any of the following: (a) obligations in respect of borrowed money or for the deferred
purchase price of property, services or assets, other than Inventory, or (b) Capital Lease
obligations.

        Ineligible Professional Expenses shall mean fees or expenses incurred by Person,
including the Creditors’ Committee, in (a) preventing, hindering or delaying Agent’s or Lenders’
or Revolver Agent’s or Revolver Lenders’ enforcement or realization upon any of the Collateral
once the Termination Date has occurred, (b) applying for or consummating use of cash collateral
or sell any Collateral without Agent’s prior written consent (except to the extent permitted by
this Agreement), (c) incurring Indebtedness without Agent’s prior written consent (except to the
extent permitted by this Agreement), (d) any action which contravenes a right or protection of
Agent and Lenders under the Loan Documents or of Revolver Agent and Revolver Lenders
under the “Loan Documents” (as defined in the Revolver Agreement), (e) objecting to or
consenting in any manner, or in raising any defenses to, the validity, extent, perfection, priority
or enforceability of the Obligations or any liens or claims with respect thereto, or any other rights
or interests of Agent and Lenders or Revolver Agent and Revolver Lenders, or in asserting any
claims, causes of action or equitable subordination claims against Agent or Lenders or Revolver
Agent and Revolver Lenders, and (f) any other fees or expenses excluded by virtue of the
operation of Section 2.3.2 of the Orders.

        Insurance Proceeds shall mean proceeds or payments from an insurance carrier with
respect to any loss, casualty or damage to Collateral.

     Intercompany Debt shall mean all Indebtedness outstanding from any one of the
Companies to any other of the Companies.

      Intercreditor Agreement shall mean an intercreditor agreement executed and delivered
by Revolver Agent and Agent, in form and substance satisfactory to Agent, in its sole discretion.

       Interim Financing Order means an order of the Bankruptcy Court in the Case
authorizing and approving this Agreement and the other Loan Documents on an interim basis
under Sections 364(c) and (d) of the Bankruptcy Code and entered at or after a preliminary
hearing under Rule 4001 of the Bankruptcy Code, in form and substance satisfactory to Agent.
The Interim Financing Order shall, among other things, have:

        (a)     authorized the transactions contemplated by this Agreement and the extensions of
credit under this Agreement in an amount not less than the Term Loan Facility Amount provided
for herein;

       (b)     granted the claim and lien status and liens described in Sections 6 and 7, and
prohibited the granting of additional liens on the assets of the Companies other than Permitted
Encumbrances;



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        (c)    provided that such liens are automatically perfected by the entry of the Interim
Financing Order and also granted to the Agent for the benefit of the Lenders relief from the
automatic stay of Section 362(a) of the Bankruptcy Code to enable the Agent, if the Agent elects
to do so in its discretion, to make all filings and recordings and to take all other actions
considered necessary or advisable by the Agent to perfect, protect and insure the priority of its
liens upon the Collateral as a matter of non-bankruptcy law;

       (d)      provided that no Person, effective as of entry of the Final Order or any extension
of the Interim Financing Order, will be permitted to surcharge the Collateral under Section
506(c) of the Bankruptcy Code, nor shall any costs or expenses whatsoever be imposed against
the Collateral, except for the Carve-Out;

        (e)    provided Agent with relief from the automatic stay in a manner consistent with
the terms of Section 11.2;

       (f)     provided that the Case may not be dismissed unless the Obligations have been
indefeasibly paid in full in cash and this Agreement has been terminated; and

       (g)     declared that the credit extended hereunder and the negotiation of this Agreement
and the other Loan Documents have been made and done in good faith and therefore the
Obligations incurred and the granting, perfection and priority of the liens hereunder and
thereunder are entitled to the protections in Section 364(e) of the Bankruptcy Code.

        Inventory shall mean all of each of the Companies’ present and hereafter acquired
inventory (as defined in the UCC) and including, without limitation, all merchandise, inventory
and goods, and all additions, substitutions and replacements thereof, wherever located, together
with all goods and materials used or usable in manufacturing, processing, packaging or shipping
same in all stages of production from raw materials through work-in-process to finished goods
and all proceeds thereof of whatever sort.

       Investment Property shall mean all now owned and hereafter acquired investment
property (as defined in the UCC) and all proceeds thereof.

       Lead Arranger shall mean Arcus in its capacity as lead arranger of the Term Loan
Credit Facility and the credit facility established pursuant to the Revolver Agreement.

      Loan Accounts shall mean the accounts on the Agent’s books, in names of each of the
Companies, in which each Company will be charged with all applicable Obligations under this
Agreement.

       Loan Documents shall mean this Agreement, the Orders, the Term Loan Promissory
Notes, the Mortgages, the other closing documents and any other ancillary loan and security
agreements executed from time to time in connection with this Agreement, all as may be
renewed, amended, extended, increased, restated or supplemented from time to time.

        Mandatory Prepayment shall mean a Proceeds-Based Prepayment.



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        Maturity Date shall mean September 16, 2008 as may be extended by Agent, in its sole
discretion, for additional periods in one or more weekly or monthly increments; provided,
however, that the Maturity Date shall in no event be extended beyond September 16, 2009.

        Non-Borrowing Base Assets shall mean the existing and future assets of the Companies
and the proceeds thereof other than the Borrowing Base Assets (whether or not in the possession,
custody or control of the Agent and/or any Lender), and all accessions thereto, substitutions for
or replacements of and rents and profits from any and all of the foregoing. To the extent that
Avoidance Actions and/or the proceeds thereof constitute part of the Collateral, the Non-
Borrowing Base Assets shall also include such Avoidance Actions. In addition, the Non-
Borrowing Base Assets shall include all title insurance policies of Revolver Agent with respect
to the Real Estate.

        Non-Borrowing Base Asset Proceeds shall mean the collections, payments and
proceeds (including without limitation insurance proceeds covering Non-Borrowing Base Assets
and any condemnation awards and payments in lieu thereof) received by any Company from, or
corresponding to, the Non-Borrowing Base Assets, which shall include, without limitation, all
amounts corresponding to claims under any and all title insurance policies relating to the Real
Estate and Avoidance Actions recoverable in conjunction with the Case.

         Obligations shall mean all loans, advances and extensions of credit made or to be made
by the Agent and/or the Lenders to the Companies or any one of them or to others for the
account of any Company (including, without limitation, the Term Loans) under or pursuant to
this Agreement, the Orders, or any other Loan Document, which may at any time be owing by
the Companies or any one of them to the Agent and/or the Lenders howsoever arising, whether
now in existence or incurred by the Companies or any one of them from time to time hereafter
under or pursuant to the Loan Documents, whether principal, interest, fees, costs, expenses or
otherwise (including reasonable attorneys’ fees); whether secured by pledge, lien upon or
security interest in any of the Companies’ Collateral, assets or property or the assets or property
of any other Person; whether such indebtedness is absolute or contingent, joint or several,
matured or unmatured, direct or indirect and whether the Companies or any one of them are
liable to the Agent and/or the Lenders for such indebtedness as principal, surety, endorser,
guarantor or otherwise. Obligations shall also include indebtedness owing to the Agent and/or
the Lenders by the Companies or any one of them under any Loan Document, indebtedness or
obligations incurred by, or imposed on, the Agent and/or the Lenders as a result of
environmental claims arising out of any of the Companies’ operations, premises or waste
disposal practices or sites in accordance with paragraph 8.7 hereof; the Companies’ liability to
the Agent and/or the Lenders as maker or endorser of any promissory note or other instrument
for the payment of money; the Companies’ liability for Out-of-Pocket Expenses; the Companies’
liability to the Agent and/or the Lenders under any instrument of guaranty or indemnity, or
arising under any guaranty, endorsement or undertaking which the Agent and/or the Lenders may
make or issue to others for the Companies’ account as contemplated by the Loan Documents,
including the Agent’s and/or Lenders’ acceptance of drafts or the Agent’s and/or Lenders’
endorsement of notes or other instruments for the Companies’ account and benefit.

        Operating Leases shall mean all leases of property (whether real, personal or mixed)
other than Capital Leases.

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       Order shall mean, whichever is then applicable and as the context may require, either the
Final Order or the Interim Financing Order.

        Other Collateral shall mean all of each of the Companies’ now owned and hereafter
acquired lockbox, blocked account and any other deposit accounts maintained with any bank or
financial institutions into which the proceeds of Collateral are or may be deposited; all other
deposit accounts and all Investment Property; all cash and other monies and property in the
possession or control of the Agent and/or any of the Lenders; all books, records, ledger cards,
disks and related data processing software at any time evidencing or containing information
relating to any of the Collateral described herein or otherwise necessary or helpful in the
collection thereof or realization thereon; and all cash and non-cash proceeds of the foregoing.

         Out-of-Pocket Expenses shall mean all of the Agent’s and Lenders’ and their respective
affiliates’ present and future costs and expenses incurred in connection with the transactions
contemplated by this Agreement and the other Loan Documents or the Case, or any other
transaction among Agent, any Lender or any of their respective affiliates, on one hand, and any
Borrower or any of its affiliates, on the other hand, whether related or unrelated to the
transactions contemplated by this Agreement and the other Loan Documents or the Case,
whether or not any such transaction was or hereafter is consummated, in each case, whether such
costs and expenses were heretofore or are hereafter incurred, which costs and expenses shall
include, without being limited to: all costs and expenses incurred in connection with due
diligence; all costs of record searches, all costs and expenses incurred in preparing for the Case;
all costs and expenses incurred in the monitoring of and participation in the Case; all costs and
expenses incurred by the Agent in opening bank accounts, depositing checks, receiving and
transferring funds, and wire transfer charges; all charges imposed on the Agent due to returned
items and “insufficient funds” of deposited checks and the Agent’s standard fees relating thereto;
all travel, lodging, appraisal, consulting, accounting and auditing fees and any other expenses of
the Agent’s and Lenders’ personnel, agents or representatives in connection with inspecting and
monitoring the Collateral from time to time hereunder; all legal, accounting, consultant and other
professional fees and costs; all fees and taxes relative to the filing of financing statements and
other lien perfection documents; all expenses, costs and fees set forth in Paragraphs 11.2 and
11.3 of Section 11 of this Agreement; and all title insurance premiums, real estate survey costs,
and costs of preparing and recording mortgages/deeds of trust against the Real Estate (including
taxes).

        Parent shall mean Ben LLC, a New Jersey limited liability company.

        Patents shall mean all of each of the Companies’ present and hereafter acquired patents,
patent applications, registrations, any reissues or renewals thereof licenses, any inventions and
improvements claimed thereunder, and all general intangible, intellectual property and patent
rights with respect thereto of the Companies or any one of them, and all income, royalties, cash
and non-cash proceeds thereof.

       Permitted Encumbrances shall mean: (a) liens existing on the date hereof on specific
items of Equipment, liens arising after the date hereof on the same specific items of Equipment
for the refinance of purchase-money Indebtedness, and other liens expressly permitted, or
consented to in writing by the Agent and/or the Required Lenders; (b) Purchase Money Liens;

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(c) deposits made (and the liens thereon) in the ordinary course of business of the Companies
(including, without limitation, security deposits for leases, indemnity bonds, surety bonds and
appeal bonds) in connection with workers’ compensation, unemployment insurance and other
types of social security benefits or to secure the performance of tenders, bids, contracts (other
than for the repayment or guarantee of borrowed money or purchase money obligations),
statutory obligations arising under applicable non-bankruptcy law, and other similar obligations
arising as a result of progress payments under government contracts; (d) easements (including,
without limitation, reciprocal easement agreements and utility agreements), encroachments,
minor defects or irregularities in title, variation and other restrictions, charges or encumbrances
(whether or not recorded) affecting the Real Estate, if applicable, and which in the aggregate (A)
do not materially interfere with the occupation, use or enjoyment by any of the Companies of
their business or the property so encumbered and (B) in the reasonable business judgment of the
Agent do not materially and adversely affect the value of such Real Estate; (e) liens granted to
the Agent by the Companies or any one of them; (f) consignment purchases not to exceed, in the
aggregate, the sum of Three Million Dollars ($3,000,000.00) outstanding at any time, (g) subject
to the Intercreditor Agreement, liens granted to Revolver Agent by the Company or to any one of
them, under the Revolver Agreement and the “Loan Documents” (as defined therein), and (h) tax
liens which are not yet due and payable or which are being diligently contested in good faith by
the Companies by appropriate proceedings, and which liens are not (1) filed on any public
records, or (2) senior to the liens of the Agent.

        Permitted Indebtedness shall mean: (a) current Indebtedness maturing in less than one
year and incurred in the ordinary course of business for raw materials, supplies, equipment,
services, Taxes or labor; (b) Indebtedness secured by Purchase Money Liens; (c) Indebtedness
arising under this Agreement and the other Loan Documents; (d) deferred Taxes and other
expenses incurred in the ordinary course of business; (e) Capital Lease Obligations having
aggregate annual payments up to but not exceeding Four Hundred Thousand Dollars
($400,000.00); (f) insurance premiums financed by the insurance carrier; (g) Intercompany Debt;
(h) unsecured Indebtedness incurred prior to the Filing Date and listed on Companies’ schedule
filed with the Bankruptcy Court in connection with the case (but only if such Indebtedness is
subordinate to the Superpriority Claim status of the Obligations as confirmed in an order of the
Bankruptcy Court in form and substance acceptable to Agent); (i) administrative priority
unsecured Indebtedness approved by the Bankruptcy Court in the Case (but only if such
Indebtedness is subordinate to the Superpriority Claim status of the Obligations as confirmed in
an order of the Bankruptcy Court in form and substance acceptable to Agent); (j) Indebtedness
evidenced by the Revolver Agreement and the other “Loan Documents” (as defined therein); and
(k) the Swap Termination Balance (as defined in the Revolver Agreement).

         Person shall mean any individual, partnership, business entity, corporation, limited
liability company, limited partnership, limited liability partnership, or other entity, including
without limitation any governmental entity or the department thereof.

       Plan shall mean any employee benefit plan within the meaning of Section 3(3) of
ERISA, maintained for employees of the Companies or any member of the Controlled Group or
any such Plan to which any Company or any member of the Controlled Group is required to
contribute on behalf of any of its employees.


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       Pre-Petition Financing Agreement shall mean that certain Financing Agreement dated
as of December 30, 2003 among CIT as agent, the lenders party thereto and Shapes, Ultra, Delair
and Accu-Weld as borrowers, as amended through the Filing Date.

        Pre-Petition Payments shall mean a payment (by way of adequate protection or
otherwise) of principal or interest or otherwise on account of any pre-petition Indebtedness or
trade payables or other pre-petition claims against a Company.

       Proceeds-Based Prepayment shall have the meaning provided for in Paragraph 4.6 of
this Agreement.

        Purchase Money Liens shall mean liens on any item of Equipment acquired after the
date of this Agreement provided that (a) each such lien shall attach only to the Equipment to be
acquired, (b) a description of the Equipment so acquired is furnished to the Agent, and (c)
Indebtedness incurred in connection with such acquisitions shall not exceed, in the aggregate,
Three Hundred Fifty Thousand Dollars ($350,000) in any Fiscal Year.

        Real Estate shall mean all of each Company’s leasehold or fee interests in real property,
including any such real property which has been, or will be, encumbered, mortgaged or pledged
or assigned to the Agent or its designee as set forth on Schedule 1R.

        Reorganization Plan shall mean a plan or plans of reorganization in the Case.

        Required Lenders shall mean the Lenders holding greater than fifty percent (50%) of
the outstanding Term Loans.

        Revolver Agent shall mean CIT or any successor agent under the Revolver Agreement.

      Revolver Agreement shall mean the Debtor-In-Possession Revolving Credit Financing
Agreement dated March ___, 2008, by and among Revolver Agent, Revolver Lenders and
Companies.

      Revolver Commitment shall have the meaning given to the term “Commitment” in the
Revolver Agreement.

        Revolver Lenders shall mean the lenders under the Revolver Agreement.

        Revolving Loans shall have the meaning specified thereto in the Revolver Agreement.

        Senior Claims shall have the meaning provided for in Paragraph 7.1 of this Agreement.

        Settlement Date shall mean the date, weekly, and more frequently, at the discretion of
the Agent, upon the occurrence of an Event of Default that the Agent and the Lenders shall settle
amongst themselves so that (a) the Agent shall not have, as the Agent, any money at risk and (b)
on such Settlement Date the Lenders shall have a pro rata amount of all outstanding Term Loans,
provided that each Settlement Date for a Lender shall be a Business Day on which such Lender
and its bank are open for business.



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     Shapes/Arch shall mean Shapes/Arch Holdings L.L.C., a New Jersey Limited Liability
Company.

       Superpriority Claim shall mean an allowed claim against a Company or its estate in the
Case, which is an administrative expense claim having priority over (a) any and all allowed
administrative expenses, and (b) unsecured claims now existing or hereafter arising, including
any administrative expenses of the kind specified in the Bankruptcy Code, including Sections
105(a), 326, 328, 330, 331, 503(a), 503(b), 506(c), 507, 546(c), 546(d), 726, 1113 and 1114 of
the Bankruptcy Code.

        Taxes shall mean all federal, state, municipal and other governmental taxes, levies,
charges, claims and assessments which are or may be due from the Companies with respect to
their business, operations, Collateral or otherwise.

      Term Loan Advance(s) shall mean any monies advanced to or for the benefit of
Borrowers, or any of them, by Lenders, under the Term Loan Facility.

       Term Loan Facility shall mean the Superpriority Senior Secured Debtor-In-Possession
term loan facility as more fully discussed in Section 4 below.

       Term Loan Facility Amount shall mean the aggregate amount permitted to be
outstanding at any time under the Term Loan Facility, which amount shall initially be
$25,000,000.

       Term Loan Promissory Notes shall mean the promissory notes in the form of Exhibit A
hereto executed by the Companies to evidence the Term Loans made by the Lenders under
Section 4 hereof.

       Term Loan(s) shall mean each Term Loan Advance made by the Lenders pursuant to
and repayable in accordance with the provisions of Section 4 of this Agreement which shall be
advanced to the Companies.

       Term Loan Commitment shall mean each Lender’s commitment in accordance with
this Agreement to make the Term Loans.

        Termination Date shall mean the earliest to occur of (a) the Maturity Date, (b) (i) the
date of entry of a confirmation order confirming a Reorganization Plan other than a
Reorganization Plan proposed, funded and/or sponsored by Arcus or (ii) to the effective date of a
Reorganization Plan proposed, funded and/or sponsored by Arcus that has been confirmed by an
order of the Bankruptcy Court, (c) (i) an order is entered by the Bankruptcy Court authorizing a
363 Sale other than to Versa, or (ii) the date of a 363 Sale to Versa, (d) the date of the conversion
of the Case to a case under Chapter 7 of the Bankruptcy Code, (e) the date of the dismissal of the
Case, (f) the date of the cessation of material business operations of the Companies, (g) the last
termination date set forth in the Order, or (h) such earlier date on which the Term Loans shall
become due and payable, in whole, in accordance with the terms of this Agreement.

      Termination Event shall mean the date (a) on which the Companies terminate this
Agreement and the Term Loans are intentionally prepaid in full following notice of termination

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as set forth herein, which date is prior to the Maturity Date; or (b) the date of (i) confirmation of
a Reorganization Plan or plan of liquidation other than such plan proposed, funded and/or
sponsored by Versa, (ii) entry of an order authorizing a 363 Sale to a purchaser other than Versa.
Notice of termination as aforesaid in clause (a) above, by an manager or officer of Shapes/Arch
on behalf of the Companies, shall be deemed to be notice by all of the Companies for the
purposes hereof.

       Termination Fee shall: (a) mean the fee the Agent, on behalf of the Lenders, is entitled
to charge the Companies upon the occurrence of a Termination Event; and (b) be determined by
multiplying the Term Loan Facility Amount by two percent (2%).

        Trade Accounts Receivable shall mean that portion of the Companies’ Accounts which
arises from the sale of Inventory or the rendition of services in the ordinary course of the
Companies’ businesses.

        Trademarks shall mean all of each of the Companies’ present and hereafter acquired
trademarks, trademark registrations, recordings, applications, tradenames, trade styles, service
marks, logos, prints and labels (on which any of the foregoing may appear), licenses, reissues,
renewals, and any other intellectual property and trademark rights pertaining to any of the
foregoing, together with the goodwill associated therewith, and all cash and non-cash proceeds
thereof.

        UCC shall mean the Uniform Commercial Code as the same may be amended and in
effect from time to time in the State of New York.

         Versa shall mean, collectively, Versa Capital Management, Inc. and its subsidiaries and
affiliates.

        Waived In Writing By Agent shall mean the written waiver of an Event of Default by
the Agent either acting in its discretion or acting at the direction of the Required Lenders, in the
case of the waiver of Events of Default which require such consent.

SECTION 2. Conditions Precedent

        2.1    The obligation of the Agent and the Lenders to make the initial loans hereunder is
subject to the satisfaction of, or extension or waiver of in writing, on or prior to, the Closing
Date, the following conditions precedent:

        (a)     Lien Searches. The Agent shall have received tax, judgment and UCC searches
satisfactory to the Agent for all locations presently occupied or used by each of the Companies
and for each jurisdiction wherein a Company is located as defined in the UCC. Agent
acknowledges such condition has been satisfied.

        (b)    Casualty Insurance. Each of the Companies shall have delivered to the Agent
evidence satisfactory to the Agent that casualty insurance policies listing the Agent as additional
insured, lender loss payee or mortgagee, as the case may be, are in full force and effect, all as set
forth in Paragraph 8.5 of Section 8 of this Agreement.


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        (c)     UCC Filings. Any financing statements required to be filed in order to create, in
favor of the Agent, on behalf of the Lenders, subject to the Intercreditor Agreement, a first
perfected security interest in the Collateral, subject only to the Permitted Encumbrances, shall
have been properly filed in each office in each jurisdiction required in order to create in favor of
the Agent for the benefit of the Lenders a perfected lien on the Collateral. The Agent shall have
received acknowledgment copies of all such filings (or, in lieu thereof the Agent shall have
received other evidence satisfactory to the Agent that all such filings have been made) and the
Agent shall have received evidence that all necessary filing fees and all taxes or other expenses
related to such filings have been paid in full.

        (d)    Member Consents/Board Resolution. The Agent shall have received a copy of
the consents or resolutions as applicable of the Members, Managers or Board of Directors of
each of the Companies (as the case may be) authorizing the execution, delivery and performance
of this Agreement and any related agreements, in each case certified by the Member, Manager or
the Secretary or Assistant Secretary of the Companies (as the case may be) as of the date hereof
together with a certificate of the Member, Manager or the Secretary or Assistant Secretary of the
Companies (as the case may be) to the incumbency and signature of the officers, Member or
Managers of the Companies executing such Loan Documents and any certificate or other
documents to be delivered by them pursuant hereto, together with evidence of the incumbency of
such Member, Manager or Secretary or Assistant Secretary.

        (e)     Company/Corporate Organization. The Agent shall have received (i) a copy of
the Amended and Restated Certificate of Formation or Certificate of Incorporation, as applicable,
of the Companies which are not individual Persons certified by the Secretaries of State of the
state of their formation or incorporation, and (ii) a copy of the Operating Agreement, Limited
Liability Company Agreement, or By-Laws, as applicable, of the Companies certified by the
Manager or Secretary or Assistant Secretary thereof all as amended through the date hereof.

        (f)    Member’s/Manager’s/Officer’s Certificate. The Agent shall have received an
executed Member’s, Manager’s or Officer’s Certificate of the Companies, satisfactory in form
and substance to the Agent, certifying on behalf of the Companies that: (i) the representations
and warranties contained herein and in the other Loan Documents are true and correct in all
material respects on and as of the Closing Date; (ii) the Companies are in compliance with all of
the terms and provisions set forth herein and in the other Loan Documents; and (iii) no Default
or Event of Default has occurred.

        (g)    Absence of Default. No Default or Event of Default shall have occurred and no
material adverse change shall have occurred in the financial condition, business, prospects,
profits, operations or assets of the Companies or any of their subsidiaries (other than the
commencement of the Case and the consequences that would normally result therefrom).

       (h)     Legal Restraints/Litigation. Except for the pendency of the Case, as of the
Closing Date, there shall be no: (x) litigation, investigation or proceeding (judicial or
administrative) pending or threatened against the Companies or any of their assets, by any
agency, division or department of any county, city, state or federal government arising out of this
Agreement; (y) injunction, writ or restraining order restraining or prohibiting the consummation
of the financing arrangements contemplated under this Agreement; or (z) suit, action,

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investigation or proceeding (judicial or administrative) pending against any of the Companies or
their assets, which, in the opinion of the Agent, if adversely determined, could reasonably be
expected to have a material adverse effect on the business, operation, assets, financial condition
or Collateral of the Companies or any one of them.

        (i)    Pledge Agreement. Companies, as the case may be, shall have executed and
delivered to the Agent, on behalf of the Lenders, a pledge and security agreement pledging to the
Agent, on behalf of the Lenders, as additional collateral for the Obligations of the Companies not
less than 100% of the issued and outstanding membership interests of the Companies (other than
Shapes/Arch) and not less than 100% of the stock or membership interests of all subsidiaries of
the Companies.

        (j)    Intercreditor Agreement. Revolver Agent, the Companies and Agent shall have
entered into the Intercreditor Agreement which Intercreditor Agreement shall be in full force and
effect.

        (k)    Additional Documents. Each of the Companies shall have executed and
delivered to the Agent all Loan Documents necessary to consummate the lending arrangement
contemplated between the Companies, the Agent and the Lenders.

        (l)    Disbursement Authorization. The Companies shall have delivered to the Agent
all information necessary for the Agent and the Lenders to issue wire transfer instructions on
behalf of the Companies for the initial and subsequent loans and/or advances to be made under
this Agreement including, but not limited to, disbursement authorizations in form acceptable to
the Agent.

        (m)     Examination and Verification. The Agent and each of the Lenders shall have
completed, to, their respective satisfaction, an examination and verification of the financial
statements, books and records of each of the Companies which examination shall indicate that no
material adverse change (as determined by the Agent in its discretion) has occurred in the
business, prospects, profitability, assets or operations of any of the Companies and Agent shall
be satisfied there shall have been other no event, development or circumstance that has had or
could reasonably be expected to have a material adverse effect on the business, assets, liabilities
(actual or contingent) or prospects of any of the Companies, other than the commencement of the
Case and the consequences that would normally result therefrom, in each case, since February
29, 2008.

       (n)      Depository Accounts. Each of the Companies shall have established a system of
lockbox and bank accounts with respect to the collection of Accounts and the deposit of proceeds
of Collateral as shall be acceptable to the Agent in all respects.

       (o)    Fees, Costs and Expenses. Agent shall have received all fees, costs and
expenses due and payable on or prior to the Closing Date.

       (p)    Mortgages/Deeds of Trust. The Companies shall have executed and delivered to
the Agent, an agent of the Agent or to a title insurance company acceptable to the Agent, such
mortgages and/or deeds of trust as the Agent on behalf of the Lenders may reasonably require to


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obtain first liens on the Real Estate, together with assignments of the leases and rents for each
parcel of Real Estate.

        (q)     Title Report. The Agent shall have received, in respect of each mortgage or deed
of trust, a title report in form and substance satisfactory to the Agent to confirm that the
mortgage or deed of trust is, after giving effect to the Intercreditor Agreement, a valid first lien
on the property covered by such mortgage or deed of trust, free and clear of all defects and
encumbrances except those acceptable to the Agent.

        (r)    Schedules. The Companies shall provide the Agent with schedules of (a) any of
the Companies’ and their subsidiaries’ (i) Trademarks, (ii) Patents, and (iii) Copyrights, as
applicable and all in such detail as to provide appropriate recording information with respect
thereto, (b) any tradenames, (c) Collateral locations, and (d) Permitted Encumbrances, all of the
foregoing in form and substance satisfactory to the Agent as listed on Schedule 2.1.

     (s)     Labor Relations.        Agent’s satisfactory review of the current status of the
Companies’ labor negotiations.

        (t)     Interim Financing Order. Entry by the Bankruptcy Court of the Interim
Financing Order, by no later than three (3) days after the Filing Date in form and substance
satisfactory to Agent and Lenders, which Interim Financing Order shall (i) have been entered
upon application or motion of Companies reasonably satisfactory in form and substance to Agent
and upon prior notice to such parties required to receive such notice and such other parties as
may be reasonably requested by Agent; (ii) be in full force and effect and shall not have been
amended, modified or stayed without the written consent of Agent or reversed; and (iii) not be
the subject of a pending objection, appeal or motion for reconsideration in any respect.
Companies, Agent and Lenders shall be entitled to rely in good faith upon the Interim Financing
Order notwithstanding any such objection, appeal or motion for reconsideration. Agent and
Lenders shall be permitted and Companies shall be required to perform their respective
obligations in compliance with this Agreement, notwithstanding any such objection, appeal or
motion for reconsideration unless the Interim Financing Order has been stayed by a court of
competent jurisdiction.

       (u)     Revolver Agreement Interim Order. Entry by the Bankruptcy Court of an
interim financing order approving the transactions contemplated by the Revolver Agreement in
form and substance satisfactory to Agent and substantially similar to the Interim Financing
Order.

       (v)     Budget. The Agent and each Lender shall have received the Budget in form and
substance satisfactory to Agent.

       (w)     First Day Orders. The Agent shall have received drafts of the “first day”
pleadings in form and substance satisfactory to the Agent on or before March 13, 2008.

        (x)     Revolver Agreement. The Agent shall have received executed copies of the
Revolver Agreement and the “Loan Documents” (as defined therein) in form and substance
satisfactory to Agent.


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       (y)      Funding of Revolving Loans. The initial Revolving Loans shall have been
funded.

        (z)    Exit Financing Commitment. The Agent shall have received, in form and
substance satisfactory to Agent, a commitment letter executed and delivered by Revolver Agent
and the Lenders under the Revolver Agreement to the Companies and Versa to provide financing
to the Companies or Versa, as applicable, upon the exit of the Companies from bankruptcy or in
conjunction with a 363 Sale.

        (aa) Reorganization Plan. The Agent shall have received a draft of a Reorganization
Plan and disclosure statement of the Borrowers, the terms and conditions of which are acceptable
to Agent and Lenders and their respective counsel. Agent acknowledges such condition has been
satisfied.

        2.2     Conditions to Each Extension of Credit

       Subject to the terms of this Agreement, including, without limitation, the Agent’s rights
pursuant to Paragraph 11.2 of Section 11 hereof, the agreement of the Agent on behalf of the
Lenders to make any Term Loan Advance requested to be made by it to any of the Companies on
any date (including without limitation, the initial extension of credit and any subsequent Term
Loan Advance) is subject to the satisfaction of the following conditions precedent:
         (a)     Representations and Warranties. Each of the representations and warranties
made by each of the Companies in or pursuant to this Agreement or any other Loan Document
shall be true and correct in all material respects (except that such materiality qualifier shall not be
applicable to any representations and warranties that already are qualified by materiality or the
like in the text thereof) on and as of such date as if made on and as of such date except if limited
to an earlier date.

       (b)    No Default. No Default or Event of Default shall have occurred and be
continuing on such date or after giving effect to the extension of credit requested to be made on
such date.

      (c)     Budget Variance. The actual amount of cash funds and receipts received by
Companies and cash disbursements made and expenses incurred by Companies during the prior
week or Cumulative Period (and on a pro forma basis after giving effect to such Term Loan
Advance) do not vary from the Budget approved by Agent and Lenders for such period by an
amount greater than five percent (5%).

       (d)    Compliance with Orders. The extension of credit requested shall not cause the
aggregate outstanding amount of the Term Loan Facility to exceed the amount then authorized
by the applicable Order, as the case may be, or any order modifying, reversing, staying or
vacating such order shall have been entered or any appeal of such order shall have been timely
filed.

       (e)     Final Order. For each extension of credit on or after April 4, 2008, Agent shall
have received satisfactory evidence of the entry of the Final Order.


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         (f)     Order. The Final Order, or, prior to the entry of the Final Order, the Interim
Financing Order, shall (i) have been entered upon application or motion of Companies
reasonably satisfactory in form and substance to Agent and upon prior notice to such parties
required to receive such notice and such other parties as may be reasonably requested by Agent;
(ii) be in full force and effect and shall not have been amended, modified or stayed without the
written consent of Agent or reversed; and (iii) not be the subject of a pending objection, appeal
or motion for reconsideration in any respect. Companies, Agent and Lenders shall be entitled to
rely in good faith upon the applicable Order notwithstanding any such objection, appeal or
motion for reconsideration. Agent and Lenders shall be permitted and Companies shall be
required to perform their respective obligations in compliance with this Agreement,
notwithstanding any such objection, appeal or motion for reconsideration unless the applicable
Order has been stayed by a court of competent jurisdiction.

        (g)     Revolver Agreement Order. Entry by the Bankruptcy Court of an order
approving the transactions contemplated by the Revolver Agreement in form and substance
satisfactory to Agent and substantially similar to the Final Order.

        (h)     Revolver Funding. Revolver Agent and Revolver Lenders shall have funded, to
the extent of any Availability, any and all Revolving Loans requested by Borrowers.

        Each request for a Term Loan Advance hereunder shall constitute a representation and
warranty by all of the Companies as of the date of such request that each of the representations,
warranties and covenants contained in this Agreement have been satisfied and are true and
correct, except as the Companies and the Agent and/or the Required Lenders shall otherwise
agree herein or in a separate writing.

SECTION 3. RESERVED

SECTION 4. Term Loans

      4.1     The Companies hereby agree to execute and deliver to the Agent, on behalf of the
Lenders, the Term Loan Promissory Notes, to evidence the Term Loan to be extended under the
Term Loan Facility and this Agreement.

        4.2     Upon receipt of such Term Loan Promissory Notes, the Lenders each hereby
agree severally and not jointly to extend the initial Term Loan Advance to the Companies, pro
rata according to the Commitment of each Lender. The Term Loan Facility may be funded in
multiple Term Loan Advances, but no Term Loan Advances under the Term Loans shall be
made within one (1) Business Day of the Maturity Date. Borrowers shall deliver to Agent no
later than 3:00 PM (Eastern Time) one (1) Business Day prior to such proposed Term Loan
Advance, a written request to make a Term Loan Advance along with an updated Budget
satisfactory to Agent and calculation of the remaining availability under the Term Loan Facility
and the Availability under the Revolver Agreement. Borrower shall have the right to reborrow
any portion of the Term Loan which is repaid or prepaid (including, without limitation, pursuant
to a Mandatory Prepayment) from time to time prior to the Termination Date, provided however
that no Term Loan Advances under the Term Loans shall be made within one (1) Business Day
of the Maturity Date.


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       4.3     The principal amount of the Term Loans shall be due and payable and shall be
repaid by the Companies to the Agent on behalf of Lenders in full on the Termination Date
together with all accrued and unpaid interest and all other Obligations.

       4.4      In the event this Agreement is terminated by either the Agent in accordance with
this Agreement or the Companies for any reason whatsoever, the Term Loans shall become due
and payable, in full, on the effective date of such termination notwithstanding any provision to
the contrary in the Term Loan Promissory Notes or this Agreement.

       4.5     The Companies may prepay at any time, at their option, in whole or in part, the
Term Loans, provided that on each such prepayment, the Companies shall pay accrued interest
on the principal so prepaid to the date of such prepayment. Any such prepayment shall be
applied to the Term Loan, as determined by Agent in its sole discretion, in the inverse order of
maturity.

        4.6     Immediately upon the receipt by any of the Companies of (i) any Non-Borrowing
Base Asset Proceeds, Companies shall pre-pay the outstanding principal amount of the
Obligations in an amount equal to 100% of such Non-Borrowing Base Asset Proceeds; provided
that, so long as (a) no Default or Event of Default shall have occurred, (b) Borrowers shall have
given Agent prior written notice of such Borrower’s intention to apply such monies to the cost of
replacement of the properties or assets that are the subject of such sale or disposition, (c) Agent
has given prior written consent and (d) Companies complete such replacement purchase or
construction within 30 days after the initial receipt of such monies, Companies shall have the
option to apply such monies to the cost of replacement of the Non-Borrowing Base Asset that is
the source of such Non-Borrowing Base Asset Proceeds unless and to the extent that such
applicable period shall have expired without such replacement, purchase or construction being
made or completed, in which case, the amount of such Non-Borrowing Base Asset Proceeds
shall be paid to Agent; and (ii) the proceeds of the issuance or incurrence of any Indebtedness
(other than Permitted Indebtedness), Companies shall prepay the outstanding principal amount of
the Obligations in an amount equal to 100% of the net cash proceeds received by such Person in
connection with such issuance or incurrence (each Mandatory Prepayment set forth in clauses (i)
and (ii) above, a “Proceeds-Based Prepayment”). Such Mandatory Prepayment shall be applied
to the outstanding balance of the Term Loans or any of them, as the Agent shall elect, however,
the Term Loan Facility Amount shall not be reduced by the amount of such Mandatory
Prepayment and shall remain available for borrowing as set forth in Paragraph 4.2 above.

        4.7     Intentionally Omitted.

        4.8     Upon the maturity (whether by acceleration or otherwise) of any of the
Obligations under this agreement or any of the other Loan Documents, Lenders shall be entitled
to immediate indefeasible payment in full in cash of such Obligations without further application
to or order of the Bankruptcy Court.

       4.9   (a) The Agent shall maintain a Loan Account on its books in which each of the
Companies will be charged with all loans and advances made by the Agent and the Lenders to
such Company or for its account, and with any other Obligations, including any and all costs,
expenses and reasonable attorney’s fees which the Agent may incur in connection with the

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exercise by or for the Agent of any of the rights or powers herein conferred upon the Agent, or in
the prosecution or defense of any action or proceeding to enforce or protect any rights of the
Agent in connection with this Agreement, the other Loan Documents or the Collateral assigned
hereunder, or any Obligations owing by such Company. The Companies will be credited with all
amounts received by the Agent and/or the Lenders from the Companies or from others for the
Companies’ account, and such amounts will be applied to payment of the Obligations as set forth
herein.

        (b)     Each of the Companies acknowledges and agrees that: (i) the Agent shall have no
responsibility to inquire into the correctness of the apportionment, allocation, or disposition of
(x) any loans and advances made to any of the Companies or (y) any of the Agent’s expenses and
charges relating thereto; (ii) each of the Companies jointly and severally unconditionally
guarantee to the Agent and Lenders the prompt payment in full of all loans and advances made
and to be made by the Agent and Lenders to any of them under this Agreement, as well as all
other Obligations of the Companies to Agent and Lenders; (iii) all Accounts assigned to the
Agent by any of the Companies and all other Collateral and any other collateral security now or
hereafter given to the Agent by any of the Companies (be it Accounts or otherwise), shall secure
all loans and advances made by the Agent and Lenders to any of the Companies, and shall be
deemed to be pledged to the Agent as security for any and all other Obligations of the
Companies as set forth under this Agreement or any other agreements between the Agent and
any of the Companies; and (iv) to induce the Agent and Lenders to extend financial
accommodations hereunder, and in consideration thereof, each of the Companies hereby agrees
to indemnify the Agent and the Lenders and hold the Agent and the Lenders harmless against
any and all liability, expense, loss or claim of damage or injury, made against the Agent or the
Lenders by any of the Companies or by any third party whosoever, arising from or incurred
solely by reason of (A) the method of handling the accounts of the Companies as herein
provided, (B) Agent’s relying on any instructions of any of the Companies, or (C) any other
action taken by the Agent in accordance with this subparagraph (b) of this Paragraph 4.9, except
to the extent arising from the gross negligence or willful misconduct of the Agent and/or
Lenders.

         4.10 The initial Term Loan Advance, subject to approval under the terms of an Order,
shall be used to (i) refinance and fully pay, satisfy and discharge the balance of portion of the
loans outstanding under and advanced pursuant to the PP&E Equity Collateral Borrowing Base
Component (as defined in the Pre-Petition Financing Agreement) of the Borrowing Base (as
defined in the Pre-Petition Financing Agreement) in an amount not to exceed $4,400,000 (which
includes amounts advanced in connection with the Reserved Termination Amount (as defined in
the Revolver Agreement)), (ii) refinance and fully pay, satisfy and discharge the term loan
balance in an amount not to exceed $8,500,000 under the Pre-Petition Financing Agreement and
(iii) to pay for the Documentation Fee, the Out-of-Pocket Expenses and all other fees and
expenses associated with or otherwise due under the Term Loan Facility, the Revolver
Agreement, and all transactions related hereto and thereto. Subsequent Term Loan Advances
may be used to fund general corporate purposes and ongoing working capital needs of Borrowers
as set forth in the Budget to the extent such general corporate purposes and working capital
needs exceed Availability under the Borrowing Base provided for in the Revolver Agreement.

SECTION 5. RESERVED

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SECTION 6. Collateral

        6.1    As security for the prompt payment in full of all Obligations, each of the
Companies hereby pledges and grants to the Agent, on behalf of the Lenders, a first priority
continuing general lien upon, and security interest in, all of their now owned and hereafter
acquired real and personal property (subject to the Intercreditor Agreement), including, without
limitation:

        (a)     Accounts;

        (b)     Inventory;

        (c)     General Intangibles;

        (d)     Documents of Title;

        (e)     Other Collateral;

        (f)     Equipment;

        (g)     Avoidance Actions;

        (h)     Real Estate; and

        (i)     Intercompany Debt; together with

       (j)     all proceeds and products thereof, including but not limited to the Companies’
cash, deposit accounts (whether or not comprised solely of proceeds), certificates of deposit,
insurance proceeds (including hazard, flood and credit insurance), negotiable instruments and
other instruments for the payment of money, chattel paper, security agreements, documents,
eminent domain proceeds, condemnation proceeds and tort claim proceeds.

        6.2     The security interests granted hereunder shall extend and attach to:

       (a)     All Collateral which is owned by any of the Companies or in which the
Companies have any interest, whether held by the Companies or others for their account, and, if
any Collateral is Equipment, whether the Companies’ interest in such Equipment is as owner,
finance lessee or conditional vendee;

       (b)     All Equipment, whether the same constitutes personal property or fixtures,
including, but without limiting the generality of the foregoing, all dies, jigs, tools, benches,
molds, tables, accretions, component parts thereof and additions thereto, as well as all
accessories, motors, engines and auxiliary parts used in connection with, or attached to, the
Equipment; and

       (c)     All Inventory and any portion thereof which may be returned, rejected, reclaimed
or repossessed by either the Agent or the Companies from the Companies’ customers, as well as
to all supplies, goods, incidentals, packaging materials, labels and any other items which


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contribute to the finished goods or products manufactured or processed by the Companies, or to
the sale, promotion or shipment thereof.

        6.3     The Companies agree to safeguard, protect and hold all Inventory for the Agent’s
account and make no disposition thereof except in the ordinary course of the business of the
Companies, as herein provided. Upon the sale, exchange, or other disposition of Inventory, as
herein provided, the security interest in the Inventory provided for herein shall, without break in
continuity and without further formality or act, continue in, and attach to, all proceeds, including
any instruments for the payment of money, Trade Accounts Receivable, documents of title,
shipping documents, chattel paper and all other cash and non-cash proceeds of such sale,
exchange or disposition. As to any such sale, exchange or other disposition, the Agent shall have
all of the rights of an unpaid seller, including stoppage in transit, replevin, rescission and
reclamation. The Companies hereby agree to immediately forward any and all proceeds of
Collateral to the Depository Account, and to hold any such proceeds (including any notes and
instruments), in trust for the Agent, on behalf of the Lenders, pending delivery to the Agent.
Irrespective of the Agent’s perfection status in any and all of the General Intangibles, including,
without limitations, any Patents, Trademarks, Copyrights or licenses with respect thereto, the
Companies hereby irrevocably grant the Agent a royalty free license to sell, or otherwise dispose
or transfer, in accordance with Paragraph 11.3 of Section 11 of this Agreement, and the
applicable terms hereof of any of the Inventory upon the occurrence of an Event of Default
which has not been Waived In Writing By Agent. Notwithstanding anything to the contrary,
each of the provisions of this Paragraph 6.3 shall be subject to the Intercreditor Agreement.

        6.4     The Companies agree at their own cost and expense to keep the Equipment in as
good and substantial repair and condition as the same is now or at the time the lien and security
interest granted herein shall attach thereto, reasonable wear and tear and casualty excepted,
making any and all repairs and replacements when and where necessary. The Companies also
agree to safeguard, protect and hold all Equipment in accordance with the terms hereof and
subject to the Agent’s security interest. Absent the Agent’s prior written consent, any sale,
exchange or other disposition of any Equipment shall be made by the Companies in the ordinary
course of business and as set forth herein. The Companies may not, without prior written
consent of Agent, such consent not to be unreasonably withheld, in the ordinary course of their
business, sell, exchange or otherwise dispose of obsolete or surplus Equipment; provided, that,
subject to Paragraph 4.6 above, the proceeds of any such sales or dispositions consented to by
Agent shall be held in trust by the Companies for the Agent and shall be immediately delivered
to the Agent, except that, subject to the prior written consent of Agent, the Companies may retain
and use such proceeds to purchase forthwith replacement Equipment which the Companies
determine in their reasonable judgment to have a collateral value at least equal to the Equipment
so disposed of or sold; provided, however, that the aforesaid right shall automatically cease upon
the occurrence of an Event of Default which is not Waived In Writing By Agent. Upon the sale,
exchange, or other disposition of the Equipment, as herein provided, the security interest
provided for herein shall, without break in continuity and without further formality or act,
continue in, and attach to, all proceeds, including any instruments for the payment of money,
Accounts, documents of title, shipping documents, chattel paper and all other cash and non-cash
proceeds of such sales, exchange or disposition. As to any such sale, exchange or other
disposition, the Agent and the Lenders shall have all of the rights of an unpaid seller, including
stoppage in transit, replevin, rescission and reclamation.

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        6.5     The rights and security interests granted to the Agent and the Lenders hereunder
are to continue in full force and effect, notwithstanding the termination of this Agreement, until
the final indefeasible payment in full in cash to the Agent of all Obligations and the termination
of this Agreement. Any delay, or omission by the Agent to exercise any right hereunder shall not
be deemed a waiver thereof, or be deemed a waiver of any other right, unless such waiver shall
be in writing and signed by the Agent. A waiver on any one occasion shall not be construed as a
bar to, or waiver of any right or remedy on any future occasion.

        6.6    Notwithstanding the Agent’s security interest in the Collateral and to the extent
that the Obligations are now or hereafter secured by any assets or property other than the
Collateral or by the guarantee, endorsement, assets or property of any other person, the Agent
shall have the right in its sole discretion to determine which rights, liens, security interests or
remedies the Agent shall at any time pursue, foreclose upon, relinquish, subordinate, modify or
take any other action with respect to, without in any way modifying or affecting any of them, or
any of the Agent’s and/or the Lenders’ rights hereunder.

        6.7     Any balances to the credit of the Companies and any other property or assets of
the Companies in the possession or control of the Agent and/or the Lenders may be held by the
Agent as security for any Obligations and applied in whole or partial satisfaction of such
Obligations when due. The liens and security interests granted herein, and any other lien or
security interest the Agent and/or the Lenders may have in any other assets of the Companies,
shall secure payment and performance of all now existing and future Obligations. The Agent
may, in its discretion, charge any or all of the Obligations to the Loan Account when due.

        6.8     Each of the Companies possesses all General Intangibles and rights thereto
necessary to conduct their business as conducted as of the Closing Date and the Companies shall
maintain their rights in, and the value of, the foregoing in the ordinary course of their business,
including, without limitation, by making timely payment with respect to any applicable licensed
rights. The Companies shall deliver to the Agent, and/or shall cause the appropriate party to
deliver to the Agent, from time to time such pledge or security agreements with respect to
General Intangibles (now or hereafter acquired) of the Companies and their subsidiaries as the
Agent shall require to obtain valid first liens thereon. In furtherance of the foregoing, the
Companies shall provide timely notice to the Agent of any additional Patents, Trademarks,
Copyrights, brand names, and other trade designations acquired or applied for subsequent to the
Closing Date and the Companies shall execute such documentation as the Agent may reasonably
require to obtain and perfect its lien thereon. The Companies hereby confirm that they shall
deliver to the Agent each note or other instrument evidencing indebtedness owed to them
including without limitation all intercompany indebtedness among the Companies, whether such
note or other instrument now exists or arises or is issued at any time hereafter, in each case
endorsed to the Agent pursuant to an endorsement in form and substance acceptable to the
Agent. The Companies hereby confirm that they shall deliver, or cause to be delivered, any
pledged stock or membership interests (if certificated) issued subsequent to the Closing Date to
the Agent in accordance with the applicable terms of the Pledge Agreement and prior to such
delivery, shall hold any such stock or membership interests (if certificated) in trust for the Agent.
The Companies hereby irrevocably grant to the Agent a royalty-free, non-exclusive license in the
General Intangibles, including Trademarks, Copyrights, Patents, licenses, and any other
proprietary and intellectual property rights and any and all right, title and interest in any of the

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foregoing, for the sole purpose, upon the occurrence of an Event of Default which is not Waived
In Writing By Agent, of the right to: (i) advertise for sale and sell or transfer any Inventory
bearing any of the General Intangibles, and (ii) make, assemble, prepare for sale or complete, or
cause others to do so, any applicable raw materials or Inventory bearing any of the General
Intangibles, including use of the Equipment and Real Estate for the purpose of completing the
manufacture of unfinished goods, raw materials or work-in-process comprising Inventory, and
apply the proceeds thereof to the Obligations hereunder, all as further set forth in this Agreement
and irrespective of the Agent’s lien and perfection in any General Intangibles. Notwithstanding
anything to the contrary, each of the provisions of this Paragraph 6.8 shall be subject to the
Intercreditor Agreement.

        6.9     The Companies confirm to the Agent that any and all Taxes or fees relating to
their business, their sales, the Accounts or Inventory relating thereto, are their sole responsibility
and that same will be paid by the Companies when due, subject to Paragraph 8.6 of Section 8 of
this Agreement, and that none of said Taxes or fees represent a lien (other than Permitted
Encumbrances) on or claim against the Accounts. The Companies hereby further represent and
warrant that they shall not acquire any Inventory on a consignment basis (except Inventory not
exceeding Three Million Dollars ($3,000,000) in aggregate value which is not commingled with
other Inventory and which is specifically identified on each Inventory report as ineligible
Inventory consigned to such Company), nor co-mingle their Inventory with any of their
customers or any other person, including pursuant to any bill and hold sale or otherwise, and that
their Inventory is marketable to their customers in the ordinary course of business of the
Companies, except as a Company may otherwise report in writing to the Agent from time to
time. Each of the Companies also warrants and represents it is a duly and validly existing
limited liability company and qualified in all states where the failure to so qualify would have a
material adverse effect on either the business of the Companies or the ability of the Companies to
enforce collection of Accounts due from customers residing in that state. The Companies agree
to maintain such books and records regarding Accounts and Inventory as the Agent may
reasonably require and agree that the books and records of the Companies will reflect the
Agent’s interest in the Accounts and Inventory. All of the books and records of each of the
Companies will be available to the Agent during normal business hours, including any records
handled or maintained for the Companies by any other company or entity.

       6.10 In furtherance of the continuing assignment and security interest in each of the
Companies’ Accounts and Inventory, each of the Companies will, upon the creation of Accounts
and purchase or acquisition of Inventory, execute and deliver to the Agent in such form and
manner as the Agent may reasonably require, solely for the Agent’s convenience in maintaining
records of Collateral, such confirmatory schedules of Accounts and Inventory as the Agent may
reasonably request, including, without limitation, weekly schedules of Accounts and monthly
schedules of Inventory, all in form and substance satisfactory to the Agent, and such other
appropriate reports designating, identifying and describing the Accounts and Inventory as the
Agent may reasonably request, and provided further that the Agent may request any such
information more frequently, from time to time, upon its reasonable prior request. In addition,
upon the Agent’s request, each of the Companies shall provide the Agent with copies of
agreements with, or purchase orders from, such Company’s customers, and copies of invoices to
customers, proof of shipment or delivery, access to its computers, electronic media and software
programs associated therewith (including any electronic records, contracts and signatures) and

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such other documentation and information relating to said Accounts and other Collateral as the
Agent may reasonably require. Failure to provide the Agent with any of the foregoing shall in no
way affect, diminish, modify or otherwise limit the security interests granted herein. Each of the
Companies hereby authorizes the Agent to regard such Company’s printed name or rubber stamp
signature on assignment schedules or invoices as the equivalent of a manual signature by one of
such Company’s authorized officers or agents.

       6.11 This Agreement and the obligation of the Companies to perform all of their
covenants and obligations hereunder are further secured by mortgages and assignments of leases
and rents on the Real Estate.

        6.12 The Companies shall give to the Agent from time to time such mortgage(s),
deed(s) of trust or assignment(s) on the Real Estate or real estate acquired after the date hereof as
the Agent shall require to obtain a valid first lien thereon subject only to those exceptions of title
as set forth in future title insurance policies that are satisfactory to the Agent.

         6.13 In the event the Companies form a subsidiary, or acquire a subsidiary, the
Companies shall cause and direct such subsidiary to: (a) join as a Borrower hereunder and
become liable for, jointly and severally with the Companies, all Obligations, and (b) deliver to
the Agent for the benefit of the Agent and the Lenders, a security interest or mortgage on or in all
assets, including real estate, of such subsidiary.

        6.14 (a) Until the Agent has advised the Companies to the contrary after the occurrence
of an Event of Default which has not been Waived In Writing By Agent, the Companies, at their
expense, will enforce, collect and receive all amounts owing on their respective Accounts in the
ordinary course of their business and any proceeds they so receive shall be subject to the terms
hereof and held on behalf of and in trust for the Agent, on behalf of the Lenders. Such privilege
shall terminate at the election of the Agent, upon the occurrence of an Event of Default, until
such Event of Default is Waived In Writing By Agent. Any checks, cash, credit card sales and
receipts, notes or other instruments or property received by a Company with respect to any
Collateral, including Accounts, shall be held by such Company in trust for the Agent on behalf of
the Lenders, separate from such Company’s own property and funds, and promptly turned over
to the Agent with proper assignments or endorsements by deposit to the Depository Accounts.
Each of the Companies shall: (i) irrevocably authorize and direct any banks which maintain the
Companies’ initial receipt of cash, checks and other items to promptly wire transfer all available
funds to a Depository Account; and (ii) advise all such banks of the Agent’s security interest in
such funds. The Companies shall provide the Agent with prior written notice of any and all
deposit accounts opened or to be opened subsequent to the Closing Date. No checks, drafts or
other instrument received by the Agent shall constitute final payment to the Agent and/or the
Lenders unless and until such instruments have actually been collected. Notwithstanding
anything to the contrary, each of the provisions of this Paragraph 6.14(a) shall be subject to the
Intercreditor Agreement.

       (b)     Subject to the Intercreditor Agreement, the Companies shall establish and
maintain, in their name and at their expense, deposit accounts with such banks as are acceptable
to the Agent (the “Blocked Accounts”) into which the Companies shall promptly cause to be
deposited: (i) all proceeds of Collateral received by the Companies, including all amounts

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payable to the Companies from credit card issuers and credit card processors, and (ii) all amounts
on deposit in deposit accounts used by the Companies at each of their locations, all as further
provided in Paragraph 6.14(a) above. At such time as the Agent and Lenders are entitled to a
first lien on the Blocked Accounts, in accordance with the Intercreditor Agreement, the banks at
which the Blocked Accounts are established shall enter into an agreement, in form and substance
satisfactory to the Agent (the “Blocked Account Agreements”), providing that all cash, checks
and items received or deposited in the Blocked Accounts are the property of the Agent, that the
depository bank has no lien upon, or right of set off against, the Blocked Accounts and any cash,
checks, items, wires or other funds from time to time on deposit therein, except as otherwise
provided in the Blocked Account Agreements, and that, subject to the Intercreditor Agreement,
automatically, on a daily basis the depository bank will wire, or otherwise transfer, in
immediately available funds, all funds received or deposited into the Blocked Accounts to such
bank account as the Agent may from time to time designate for such purpose. The Companies
hereby confirm and agree that all amounts deposited in such Blocked Accounts and any other
funds received and collected by the Agent, whether as proceeds of Inventory or other Collateral
or otherwise, shall be, subject to the Intercreditor Agreement, the property of the Agent.

SECTION 7. Superpriority Claims, Collateral Security, Etc.

       7.1    Superpriority Claims and Collateral Security. Companies hereby represent,
warrant and covenant that, upon the entry by the Bankruptcy Court of the Final Order, all of the
Obligations:

       (a)    shall at all times constitute a Superpriority Claim having priority, pursuant to
Section 364(c)(1) of the Bankruptcy Code, over any claims of any Person (other than Revolver
Agent, which claims shall be pari passu), whether now existing or hereafter arising, including
any claims under Sections 105(a), 326, 330, 328, 331, 503(a), 503(b), 506(c), 507, 546(c),
546(d), 726, 1113 and 1114 of the Bankruptcy Code, subject, as to priority, only to the Carve-
Out; and

        (b)    pursuant to Section 364(c) and Section 364(d) of the Bankruptcy Code shall at all
times be secured by a first priority perfected lien in all of the assets (including, without
limitation, any Avoidance Actions), subject to the Intercreditor Agreement, whether now owned
or hereafter acquired, of each Company and its estate, subject, as to priority, only to the Carve-
Out and Permitted Encumbrances securing those valid, perfected, non-avoidable secured claims
existing on the Filing Date and listed on Schedule 7.1 (collectively, “Senior Claims”). The liens
securing the Obligations shall not be subject to Section 551 of the Bankruptcy Code.

        The agreement of Agent and Lenders to provide post-petition financing to Borrowers will
not prohibit Agent or Lenders from moving in the Bankruptcy Court for any other and further
relief which Agent or Lenders believes in good faith to be reasonably and immediately necessary
to protect their rights with respect to the Collateral (including a request for Company to abandon
any part of the Collateral) or otherwise.

       7.2    No Filings Required. Notwithstanding Section 6, the liens securing the
Obligations shall be deemed valid and perfected and duly recorded by entry of the Interim
Financing Order or Final Order, whichever occurs first. Agent shall not be required to file any

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financing statements, mortgages, notices of lien or similar instruments in any jurisdiction or
filing office or to take any other action in order to validate or perfect the lien granted by or
pursuant to each Order or this Agreement or any other Loan Document.

       7.3      Grants, Rights and Remedies. The lien and administrative priority granted by
or pursuant to the Orders or this Agreement or any other Loan Document are independently
granted. The Orders and this Agreement and the other Loan Documents supplement each other,
and the grants, priorities, rights and remedies of Agent and Lenders hereunder and thereunder are
cumulative.

        7.4     No Discharge; Survival of Claims. Companies agree that (a) the Obligations
shall not be discharged by the entry of an order confirming a Reorganization Plan (and
Companies, pursuant to Section 1141(d)(4) of the Bankruptcy Code, hereby waive any such
discharge), (b) the Superpriority Claim granted to Agent and Lenders pursuant to the Orders, and
the liens granted to Agent, for the benefit of Agent and the Lenders pursuant to the Orders and
the other Loan Documents, shall not be affected in any manner by the entry of an order
confirming a Reorganization Plan, (c) Companies shall not propose or support any
Reorganization Plan that is not conditioned upon termination of this Agreement and indefeasible
payment in full in cash of all Obligations and the release of Agent and Lenders in full from all
claims of Companies and their estate, in each case, on or before the effective date of such
Reorganization Plan, and (d) no Reorganization Plan shall be confirmed if it does not satisfy the
foregoing requirements.

        7.5    Survival. The liens, lien priority, administrative priorities and other rights and
remedies granted to Agent and Lenders pursuant to the Orders, this Agreement and the other
Loan Documents (specifically including, without limitation, the existence, perfection and priority
of the liens provided herein and therein, and the administrative priority provided herein and
therein) shall not be modified, altered or impaired in any manner by any other financing or
extension of credit or incurrence of Indebtedness by any Company (pursuant to Section 364 of
the Bankruptcy Code or otherwise), or by any dismissal or conversion of the Case, or by any
other act or omission whatsoever. Without limitation, notwithstanding any such order, financing,
extension, incurrence, dismissal, conversion, act or omission:

        (a)   except for the Carve-Out, no costs or expenses of administration which have been
or may be incurred in the Case or any conversion of the same or in any other proceedings related
thereto, and no priority claims, including claims and charges under Section 506(c) of the
Bankruptcy Code, are or will be prior to or on a parity with any claim of Agent or any Lender
against the Companies in respect of any Obligation;

        (b)     the liens securing the Obligations shall constitute valid and perfected liens and,
subject only to the Carve-Out and Permitted Encumbrances securing Senior Claims, shall be
prior to all other liens, now existing or hereafter arising, in favor of any other creditor or any
other Person whatsoever; and

       (c)     the liens securing the Obligations shall continue to be valid and perfected without
the necessity that Agent file financing statements, mortgages or otherwise perfect its lien under
applicable non-bankruptcy law.

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        7.6     Disavowal and Waiver of Any Subsequent Relief Based on Changed
Circumstances. Companies, Agent and Lenders know and understand that there are rights and
remedies provided under the Bankruptcy Code, the Federal Rules of Civil Procedure, and the
Bankruptcy Rules, pursuant to which parties otherwise bound by a previously entered order can
attempt to obtain relief from such an order by alleging circumstances that may warrant a change
or modification in the order, or circumstances such as fraud, mistake, inadvertence, excusable
neglect, newly discovered evidence, or similar matters that may justify vacating the order
entirely, or otherwise changing or modifying it (collectively, “Changed Circumstances”). Rights
and remedies based on Changed Circumstances include, but are not limited to, modification of a
plan of reorganization after confirmation of the plan and before its substantial consummation,
pursuant to Section 1127(b) of the Bankruptcy Code, relief from a final order or judgment
pursuant to Rule 60(b) of the Federal Rules of Civil Procedure and Bankruptcy Rule 9024, and
the commencement and prosecution of a serial Chapter 11 case by a debtor which is in default of
obligations under a stipulation or plan of reorganization confirmed in an earlier case. With full
knowledge and understanding of what are, or may be, its present or future rights and remedies
based on allegations of Changed Circumstances, each Company: (i) expressly disavows that
there are any matters which constitute any kind of Changed Circumstances as of the date of entry
of each Order and (ii) expressly disavows that it is aware of any matters whatsoever that it is
assuming, contemplating, or expecting in proceeding with each Order and the transactions
contemplated by this Agreement and having either Order entered that would serve as a basis to
allege such Changed Circumstances. Each Company understands and agrees that Agent and
Lenders are not willing to bear any of the risks involved in Company’s business enterprises and
Agent and Lenders are not willing to modify any of the rights if such risks cause actual or
alleged Changed Circumstances; and each Company expressly assumes all risks of any and all
such matters, and the consequences that Agent and Lenders will enforce their legal, equitable,
and contractual rights if Agent and Lenders are not paid and dealt with strictly in accordance
with the terms and conditions of the Order and the other Loan Documents. Without limiting the
foregoing in any way, Company’s use of any cash collateral that is included in the Collateral will
be governed exclusively by the terms and conditions of this Agreement and the Order, and, until
all Obligations are indefeasibly paid and satisfied in full either before or after a termination of
this Agreement, Companies will not seek authority from the Bankruptcy Court to otherwise use
any cash collateral that is included in the Collateral for any purpose whatsoever.

        7.7      Exclusive Remedy For Any Alleged Post-Petition Claim. If any Company
asserts that it has any adverse claims against Agent or Lenders, with respect to this Agreement
and the transactions contemplated hereby, each Company agrees that its sole and exclusive
remedy for any and all such adverse claims will be an action for monetary damages (the
“Damage Lawsuit”). Any such Damage Lawsuit, regardless of the procedural form in which it is
alleged (e.g., by complaint, counterclaim, cross-claim, third-party claim, or otherwise) will be
severed from any enforcement by Agent and Lenders of their legal, equitable, and contractual
rights (including collection of the Obligations and foreclosure or other enforcement against the
Collateral) pursuant to the Loan Documents, and the Damage Lawsuit (including any and all
adverse claims alleged against Agent or Lenders) cannot be asserted by any Company as a
defense, setoff, recoupment, or grounds for delay, stay, or injunction against any enforcement by
Agent or Lenders of their legal, equitable, and contractual rights under the Order, the other Loan
Documents, and otherwise.


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        7.8     Prohibition on Surcharge; Etc. No Person will be permitted to surcharge the
Collateral under Section 506(c) of the Bankruptcy Code, nor shall any costs or expenses
whatsoever be imposed against the Collateral, except for the Carve-Out. The prohibition on
surcharging or priming of the liens of Agent on the Collateral will survive the termination of this
Agreement and the dismissal of the Case, such that no Person will be permitted to obtain a lien
or rights (through any means, at law or in equity) which in any case is equal or senior to the liens
of Agent on the Collateral. Upon the termination of this Agreement and the dismissal of the
Case, the Bankruptcy Court will retain jurisdiction over the Collateral for the limited purpose of
enforcing this Paragraph 7.8.

        7.9      Marshalling Obligations. The right of Agent to seek the equitable remedy of
marshalling is expressly preserved, and Companies will cooperate fully with any effort by Agent
to exercise its equitable remedy of marshalling.

SECTION 8. Representations, Warranties and Covenants

        8.1     Each of the Companies hereby warrants, represents and covenants that:
(i) Schedule 8.1 hereto correctly and completely sets forth the Companies’ (A) chief executive
office, (B) Collateral locations and (C) tradenames; (ii) except for the Permitted Encumbrances,
upon entry of the Interim Financing Order (or, when applicable, the Final Order), this Agreement
creates a valid, perfected and first priority security interest in and to the Collateral and the
security interests granted herein constitute and shall at all times constitute the first and only liens
on the Collateral; (iii) except for the Permitted Encumbrances, the Companies are, or will be, at
the time additional Collateral is acquired by them, the absolute owners of the Collateral with full
right to pledge, sell, consign, transfer and create a security interest therein, free and clear of any
and all claims or liens in favor of others; (iv) the Companies will, at their expense, at all times
warrant and, at the Agent’s request, defend the same from any and all claims and demands of any
other Person other than a holder of a Permitted Encumbrance; (v) the Companies will not grant,
create or permit to exist, any lien upon, or security interest in, the Collateral, or any proceeds
thereof in favor of any other person other than the holders of the Permitted Encumbrances; (vi)
the Equipment does not comprise a part of the Inventory of any of the Companies; and (vii) the
Equipment is and will only be used by the Companies in their business and will not be held for
sale or lease, or removed from their premises, or otherwise disposed of by the Companies except
as otherwise permitted in this Agreement.

        8.2     Each of the Companies agrees to maintain books and records pertaining to the
Collateral in accordance with GAAP and in such additional detail, form and scope as the Agent
shall reasonably require. The Companies agree that the Agent or its agents at the Companies’
cost and expense, and any of the Lenders who may wish to accompany the Agent at their own
cost and expense, may enter upon the Companies’ premises at any time during normal business
hours, and from time to time in its reasonable business judgment, for the purpose of inspecting
the Collateral and any and all records pertaining thereto. The Companies agree to afford the
Agent thirty (30) days prior written notice of any change in the location of any Collateral. The
Companies are also to advise the Agent promptly, in sufficient detail, of any material adverse
change relating to the type, quantity or quality of the Collateral or on the security interests
granted to the Agent therein.


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        8.3     Each of the Companies agrees to: (a) execute and deliver to the Agent, from time
to time, solely for the Agent’s convenience in maintaining a record of the Collateral, such written
statements and schedules as the Agent may reasonably require, designating, identifying or
describing the Collateral; and (b) provide the Agent, on request, with an appraisal of the
Equipment, Inventory, and/or Real Estate. During (i) each calendar year, the Companies shall
pay for not more than one (1) appraisal for Inventory and (ii) each calendar year, the Companies
shall pay for not more than one (1) appraisal for each of Equipment and Real Estate, all
conducted at a time when no Event of Default exists. The Companies shall pay for each appraisal
performed when any Event of Default has occurred which has not been Waived In Writing By
Agent. All appraisers and appraisals shall be acceptable to Agent in all respects. The Companies’
failure, however, to promptly give the Agent such statements or schedules shall not affect,
diminish, modify or otherwise limit the Agent’s and/or the Lenders’ security interests in the
Collateral.

        8.4     Each of the Companies agrees to comply with the requirements of the Bankruptcy
Code and all state and federal laws in order to grant to the Agent valid and perfected first
security interests in the Collateral, subject only to the Permitted Encumbrances. The Agent is
hereby authorized by the Companies to file (including pursuant to the applicable terms of the
UCC) from time to time any financing statements, continuations or amendments covering the
Collateral. Such financing statements may indicate that the Collateral consists of “all assets”
and/or “all personal property” of Companies (or any collateral description of lesser scope and/or
more specificity). The Companies hereby consent to and ratify any and all execution and/or
filing of financing statements on or prior to the Closing Date by the Agent. The Companies agree
to do whatever the Agent may reasonably request, from time to time, by way of (a) filing notices
of liens, financing statements, amendments, renewals and continuations thereof (b) cooperating
with the Agent’s agents and employees; (c) keeping Collateral records; (d) subject to the
Intercreditor Agreement, transferring proceeds of Collateral to the Agent’s possession; and
(e) performing such further acts as the Agent and/or the Lenders may reasonably require in order
to effect the purposes of this Agreement including but not limited to obtaining control
agreements with respect to deposit accounts and/or Investment Property.

        8.5     (a) Each of the Companies agrees to maintain insurance on their Real Estate,
Equipment and Inventory under such policies of insurance, with such insurance companies, in
such reasonable amounts and covering such insurable risks as are at all times reasonably
satisfactory to the Agent. All policies covering the Real Estate, Equipment and Inventory are,
subject to the rights of any holders of Permitted Encumbrances holding claims senior to the
Agent, to be made payable to the Agent, on behalf of the Lenders, in case of loss, under a
standard non-contributory “mortgagee”, “lender” or “secured party” clause and are to contain
such other provisions as the Agent may require to fully protect the Agent’s interest in the Real
Estate, Inventory and Equipment and to any payments to be made under such policies. All
original policies or true copies thereof are to be delivered to the Agent, premium paid to date as
billed, with the loss payable endorsement in the Agent’s favor, and shall provide for not less than
thirty (30) days prior written notice to the Agent of the exercise of any right of cancellation. At
the Companies’ request, or if the Companies fail to maintain such insurance, the Agent may
arrange for such insurance, but at the Companies’ expense and without any responsibility on the
Agent’s part for: (i) obtaining the insurance; (ii) the solvency of the insurance companies; (iii)
the adequacy of the coverage; or (iv) the collection of claims. Upon the occurrence of an Event

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of Default which is not Waived In Writing By Agent, the Agent shall, subject to the rights of any
holders of Permitted Encumbrances holding claims senior to the Agent, have the sole right and at
its option, in the name of the Agent or the Companies, to file claims under any insurance
policies, to receive, receipt and give acquittance for any payments that may be payable
thereunder, and to execute any and all endorsements, receipts, releases, assignments,
reassignments or other documents that may be necessary to effect the collection, compromise or
settlement of any claims under any such insurance policies.

       (b)     Subject to Paragraph 4.6, in the event any part of any of the Non-Borrowing Base
Assets is damaged by fire or other casualty, the Agent shall promptly apply such Insurance
Proceeds to the Obligations in such order as Agent may elect in its sole discretion.

        (c)    In the event the Companies or any one of them fail to provide the Agent with
timely evidence, acceptable to the Agent, of their maintenance of insurance coverage required
pursuant to Paragraph 8.5(a) above, the Agent may purchase, at the Companies’ expense,
insurance to protect the Agent’s interests in the Collateral. The insurance acquired by the Agent
may, but need not, protect the Companies’ interest in the Collateral, and therefore such insurance
may not pay claims which the Companies may have with respect to the Collateral or pay any
claim which may be made against the Companies in connection with the Collateral. In the event
the Agent purchases, obtains or acquires insurance covering all or any portion of the Collateral,
the Companies shall be responsible for all of the applicable costs of such insurance, including
premiums, interest (at the applicable Base Rate set forth in paragraph 9.1 of Section 9 hereof),
fees and any other charges with respect thereto, until the effective date of the cancellation or the
expiration of such insurance. The Agent may charge all of such premiums, fees, costs, interest
and other charges to the Companies’ Loan Accounts. The Companies hereby acknowledge that
the costs of the premiums of any insurance acquired by the Agent may exceed the costs of
insurance which the Companies may be able to purchase on their own. In the event that the
Agent purchases such insurance, the Agent will notify the Companies of said purchase within
thirty (30) days of the date of such purchase. If within thirty (30) days after the date of such
notice, the Companies provide the Agent with proof that the Companies had the insurance
coverage required pursuant to 8.5(a) above (in form and substance satisfactory to the Agent) as
of the date on which the Agent purchased insurance and the Companies continued at all times to
have such insurance, then the Agent agrees to cancel the insurance purchased by the Agent and
credit the Companies’ Loan Account with the amount of all costs, interest and other charges
associated with any insurance purchased by the Agent, including with any amounts previously
charged to the Loan Account.

        8.6     Each of the Companies agrees to pay, when due, all Taxes, including sales taxes,
assessments, claims and other charges lawfully levied or assessed upon the Companies or the
Collateral unless such Taxes are being diligently contested in good faith by the Companies by
appropriate proceedings and adequate reserves are established in accordance with GAAP.
Notwithstanding the foregoing, if any lien shall be filed or claimed thereunder (a) for Taxes due
to the United States of America, or (b) which in the Agent’s opinion might create a valid
obligation having priority over the rights granted to the Agent herein (exclusive of Real Estate),
such lien shall not be deemed to be a Permitted Encumbrance hereunder and the Companies shall
immediately pay such tax and remove the lien of record. If the Companies or any one of them
fail to do so promptly, then at the Agent’s election, the Agent may, upon the occurrence of a

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Default or Event of Default, imminent risk of seizure, filing of any priority lien, forfeiture, or
sale of the Collateral, pay Taxes on the Companies’ behalf and the amount thereof shall be an
Obligation secured hereby and due on demand.

        8.7    Each of the Companies: (a) agrees to comply with all acts, rules, regulations and
orders of any legislative, administrative or judicial body or official, which the failure to comply
with would have a material and adverse impact on the Collateral, or any material part thereof, or
on the business or operations of the Companies or any one of them, provided that the Companies
may contest any acts, rules, regulations, orders and directions of such bodies or officials in any
reasonable manner which will not, in the Agent’s reasonable opinion, materially and adversely
effect the Agent’s and/or the Lenders’ rights or priority in the Collateral; (b) agrees to comply
with all environmental statutes, acts, rules, regulations or orders as presently existing or as
adopted or amended in the future, applicable to the Collateral, the ownership and/or use of the
Real Estate and operation of their business, which the failure to comply with would have a
material and adverse impact on the Collateral, or any material part thereof, or on the operation of
the business of the Companies or any one of them; and (c) shall not be deemed to have breached
any provision of this Paragraph 8.7 if (i) the failure to comply with the requirements of this
Paragraph 8.7 resulted from good faith error or innocent omission, (ii) the Companies promptly
commence and diligently pursue a cure of such breach, and (iii) such failure is cured within (30)
days following the Companies’ receipt of notice of such failure, or if such cannot in good faith
be cured within thirty (30) days, then such breach is cured within a reasonable time frame based
upon the extent and nature of the breach and the necessary remediation, and in conformity with
any applicable consent order, consensual agreement and applicable law.

        8.8    Until termination of this Agreement and payment and satisfaction of all
Obligations due hereunder, the Companies agree that, unless the Agent shall have otherwise
consented in writing, the Companies will furnish to the Agent and each Lender: (a) within one
hundred twenty (120) days after the end of the Fiscal Year of the Companies ended December
31, 2007, an audited Consolidated Balance Sheet, with a Consolidating Balance Sheet attached
thereto, as at the close of such year, and statements of profit and loss, cash flow and
reconciliation of surplus of the Companies and all subsidiaries of each for such year, audited by
independent public accountants selected by the Companies and satisfactory to the Agent, and
within ninety (90) days after the end of each Fiscal Year of the Companies ending after
December 31, 2007, an audited Consolidated Balance Sheet, with a Consolidating Balance Sheet
attached thereto, as at the close of such year, and statements of profit and loss, cash flow and
reconciliation of surplus of the Companies and all subsidiaries of each for such year, audited by
independent public accountants selected by the Companies and satisfactory to the Agent; (b)
within thirty (30) days after the end of each month a Consolidated Balance Sheet with a
Consolidating Balance Sheet attached thereto as at the end of such period and statements of
profit and loss, cash flow and surplus of the Companies and all subsidiaries for such period,
certified on behalf of the Companies by an authorized financial or accounting officer of the
Companies; (c) monthly financial covenant compliance certificates certified as fairly and
accurately reflecting the statements contained therein on behalf of the Companies’ by the Chief
Financial Officer of Shapes; (d) contemporaneous with the filing thereof, copies of all pleadings,
motions, applications, financial information and other papers and documents filed by or on
behalf of Companies, or any of them, in the Case or otherwise provided by Companies to the
Bankruptcy Court, the United States Trustee, the Chapter 11 Trustee and any other statutorily

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appointed or ad hoc committee in the Case, with copies of all such papers and documents also
provided to or served on Agent’s counsel; (e) promptly after the sending thereof, copies of all
material written reports and all term sheets for a Reorganization Plan given by Companies to the
Creditors’ Committee or any other official or unofficial committee in the Case, with copies of
such reports and term sheets also provided to or served on Agent’s counsel; (f) not less than
five (5) Business Days prior to any Company assuming or rejecting any lease or contract or
making any motion to assume or reject any lease or contract, Companies shall notify Agent in
writing setting forth in detail such Company’s reason why such assumption or rejection (A) will
be in the best interest of such Company and (B) could not reasonably be expected to have a
material adverse effect; (g) on or before 6:00 p.m. on Tuesday of each week, an updated Budget
in form and substance satisfactory to Agent, including a comparison of actual cash funds and
revenues received by Companies and cash disbursements and expenses made by Companies for
the prior week and the Cumulative Period to the Budget previously delivered to Agent, and (h)
from time to time, such further information regarding the business affairs and financial condition
of the Companies and/or any subsidiaries thereof as the Agent or any Lender may reasonably
request, including, without limitation (i) the accountant’s management practice letter, if any, and
(ii) annual cash flow projections in form satisfactory to the Agent. Each financial statement
which the Companies are required to submit hereunder must be accompanied by a manager’s or
an officer’s certificate, signed by the Manager, Chairman, Chief Executive Officer, Chief
Financial Officer, President, Vice President, Controller, or Treasurer, pursuant to which any one
such manager or officer must certify on behalf of the Companies that: (x) the financial
statement(s) fairly and accurately represent(s) each of the Companies’ financial condition at the
end of the particular accounting period, as well as the Companies’ operating results during such
accounting period, subject to year-end audit adjustments; and (y) during the particular
accounting period: (A) there has been no Default or Event of Default under this Agreement,
provided, however, that if any such manager or officer has knowledge that any such Default or
Event of Default, has occurred during such period, the existence of and a detailed description of
same shall be set forth in such officer’s certificate; (B) the Companies have not received any
notice of cancellation with respect to property insurance policies which have not been replaced
by policies which comply with the requirements of this Agreement; (C) the Companies have not
received any notice that would reasonably be expected to result in a material adverse effect on
the value of the Collateral taken as a whole; and (D) the exhibits attached to such financial
statement(s) constitute detailed calculations showing compliance with all financial covenants
contained in this Agreement.

       8.9    Until termination of the Agreement and payment and satisfaction of all
Obligations hereunder, each of the Companies agrees that, without the prior written consent of
the Agent, except as otherwise herein provided, the Companies or any one of them will not:

        (a)     Mortgage, assign, pledge, or otherwise permit any lien, charge, security interest,
encumbrance or judgment (whether as a result of a purchase money or title retention transaction,
or other security interest, or otherwise), to exist on any of the Companies’ Collateral or any other
assets, whether now owned or hereafter acquired, except for the Permitted Encumbrances;

      (b)   Incur, create or suffer to exist any Indebtedness, off balance sheet liabilities, rate
management obligations, or sale leasebacks, other than the Permitted Indebtedness;


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         (c)    Sell, lease, assign, transfer or otherwise dispose of (i) Collateral, except Inventory
in the ordinary course of business and as otherwise specifically permitted by this Agreement, or
(ii) either all or substantially all of any of the Companies’ assets which do not constitute
Collateral; provided however, if the Companies desire to sell a business or line of business or
Shapes/Arch desires to sell all or a controlling portion of the membership interests in one or
more of the Companies, then such sale may be consummated only upon: (u) approval of the
Bankruptcy Court, (v) such sale’s being an arm’s length transaction for fair market value, (w) not
less than thirty (30) days’ prior written notice to Agent, which notice shall include copies of all
then current drafts of the relevant documents and instruments evidencing the terms of such
transaction, (x) Agent’s determination, in its sole discretion, that the terms and conditions of
such transaction and such documents and instruments are acceptable as to form and substance,
(y) Agent’s giving its prior written consent, and (z) subject to the Intercreditor Agreement,
Agent’s receipt of the proceeds of such sale for application to the Obligations in such order as
Agent shall elect.

        (d)     Merge, consolidate or otherwise alter or modify their respective registered names,
principal places of business, formation as limited liability companies, or existence, re-incorporate
or re-organize, or enter into or engage in any operation or activity materially different from that
presently being conducted by the Companies or any one of them, except that any of the
Companies may change its registered name or its address; provided that: (i) such Company shall
give the Agent thirty (30) days prior written notice thereof and (ii) such Company shall execute
and deliver, prior to or simultaneously with any such action, any and all documents and
agreements requested by the Agent to confirm the continuation and preservation of all security
interests and liens granted to the Agent hereunder;

       (e)      Assume, guarantee, endorse, or otherwise become liable upon the obligations of
any person, firm, entity or corporation, except by the endorsement of negotiable instruments for
deposit or collection or similar transactions in the ordinary course of business;

        (f)    Declare or pay any dividend or distributions of any kind on, or purchase, acquire,
redeem or retire, any of the capital stock or equity interest, of any class whatsoever, whether now
or hereafter outstanding; provided however, the Companies may make distributions to Versa or
Parent in an aggregate amount equal to the actual federal, state and local income tax liability of
Versa or Parent attributable to the Companies’ income resulting from operations for each taxable
year;

       (g)     Directly or indirectly, amend, modify, alter, increase or change any of the terms
or conditions of the Revolver Agreement or any of the “Loan Documents” (as defined therein),
except as permitted under the Intercreditor Agreement;

       (h)     Make any advance or loan to, or any investment in, any Person, or purchase or
acquire all or substantially all of the stock or assets of any Person, except that the Companies
may: (i) make Permitted Investments; (ii) incur Inter-Company Debt; and (iii) make advances to
employees in the ordinary course of business for travel and related expenses; or

       (i)    Pay any management, consulting or other similar fees to any Person, except
(i) payments among the Companies, (ii) payments to independent third parties retained in the

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ordinary course of business pursuant to approval of the Bankruptcy Court (subject to Agent’s
right to object thereto) and (iii) payments to Versa.

       8.10 Until termination of Agreement and payment and satisfaction in full of all
Obligations hereunder, the Companies shall:

       (a)   achieve EBITDA, measured on a monthly and period-to-date basis, of at least the
required amount set forth below for the applicable month or period-to-date set forth opposite
such amount:

                  Fiscal Period                               EBITDA
                  (i)    For the month ending                 $700,000
                  April 30, 2008

                  (ii)  For the month ending                  $1,500,000
                  May 31, 2008

                  (iii) For the two month period ending       $2,200,000
                  May 31, 2008

                  (iv)   For the month ending                 $1,200,000
                  June 30, 2008

                  (v)    For the three month period ending    $3,400,000
                  June 30, 2008

                  (vi)   For the month ending                 $1,200,000
                  July 31, 2008

                  (vii) For the four month period ending      $4,600,000
                  July 31, 2008



        (b)     Intentionally Omitted.

       (c)     without the prior written consent of the Agent, no Company will contract for,
purchase, make expenditures for, lease pursuant to a Capital Lease or otherwise incur obligations
with respect to Capital Expenditures (whether subject to a security interest or otherwise) which
would cause the aggregate amount expended by all Companies for Capital Expenditures to
exceed (i) $2,000,000 from the Closing date through June 15, 2008 and (ii) an amount (for the
applicable period of time satisfactory to Agent) to be mutually agreed upon between Companies
and Agent on or before June 1, 2008; provided, however, that the failure of the parties to reach
agreement on the foregoing by such date will be an Event of Default hereunder.

        8.11 The Companies agree to advise the Agent in writing of: (a) all expenditures
(actual or anticipated) in excess of One Hundred Fifty Thousand Dollars ($150,000.00) in the
aggregate from the budgeted amount therefor in any Fiscal Year for (i) environmental clean-up,

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(ii) environmental compliance or (iii) environmental testing and the impact of said expenses on
the Companies’ working capital; and (b) any notices the Companies receives from any local,
state or federal authority advising the Companies of any environmental liability (real or
potential) stemming from the Companies’ operations, their premises, their waste disposal.
practices, or waste disposal sites used by the Companies and to provide the Agent with copies of
all such notices if so required.

         8.12 Each of the Companies hereby agrees to indemnify and hold harmless the Agent
and Lenders and their respective officers, directors, employees, attorneys and agents (each an
“Indemnified Party”) from, and holds each of them harmless against, any and all losses,
liabilities, obligations, claims, actions, damages, costs and expenses (including attorney’s fees)
and any payments made by the Agent pursuant to any indemnity provided by the Agent with
respect to or to which any Indemnified Party could be subject insofar as such losses, liabilities,
obligations, claims, actions, damages, costs, fees or expenses with respect to the Loan
Documents, including without limitation those which may arise from or relate to: (a) the
Depository Account, the Blocked Accounts, the lockbox and/or any other depository account
and/or the agreements executed in connection therewith; and (b) any and all claims or expenses
asserted against the Agent as a result of any environmental pollution, hazardous material or
environmental clean-up relating to the Real Estate; or any asserted claim or expense which
results from the any of the Companies’ operations (including, but not limited to, any of the
Companies’ off-site disposal practices) and use of the Real Estate, which the Agent may sustain
or incur (other than solely as a result of the physical actions of the Agent on the Companies’
premises which are determined to constitute gross negligence or willful misconduct by a court of
competent jurisdiction), all whether through the alleged or actual negligence of such person or
otherwise, except and to the extent that the same results solely and directly from the gross
negligence or willful misconduct of such Indemnified Party as finally determined by a court of
competent jurisdiction. The Companies hereby agree that this indemnity shall survive
termination of this Agreement, as well as payments of Obligations which may be due hereunder.

         8.13 Without the prior written consent of the Agent, the Companies agree that they will
not enter into any transaction (except transactions among the Companies), including, without
limitation, any purchase, sale, lease, loan or exchange of property, with any subsidiary or
affiliate of any of the Companies, provided that, except as otherwise set forth in this Agreement,
the Companies, or any one of them, may enter into sale and service transactions among the
Companies or with any subsidiary or affiliate of any of the Companies in the ordinary course of
their business and pursuant to the reasonable requirements of the Companies, and upon standard
terms and conditions and fair and reasonable terms, no less favorable to the Companies than the
Companies could obtain in a comparable arms-length transaction with an unrelated third party,
provided further that no Default or Event of Default exists or will occur hereunder prior to and
after giving effect to any such transaction.

        8.14    Intentionally Omitted.

        8.15    Intentionally Omitted.




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       8.16 The Companies covenant and agree to provide the Agent, promptly upon Agent’s
demand, a statement, in writing, of the then current status of the Companies’ union negotiations
or union contracts in such form and in such detail as the Agent shall require.

        8.17    The Companies represent, warrant and covenant, that:

        (a)    Subject to the entry by the Bankruptcy Court of the Interim Financing Order or
Final Order, as applicable, and subject to the Intercreditor Agreement, (i) the Obligations will
constitute a Superpriority Claim, subject, as to priority, only to the Carve-Out, the claims of
Revolver Agent (which shall be parri passu) and Permitted Encumbrances securing Senior
Claims, and (ii) the liens of Agent, for the benefit of Agent and Lenders, securing the
Obligations are valid and perfected first priority liens subject, as to priority only, to the Carve-
Out and Permitted Encumbrances securing Senior Claims;

       (b)     The Companies are not transferring the Collateral nor incurring any obligation
with any intent to hinder, delay or defraud any of its respective present or future creditors;

       (c)    The Interim Financing Order (with respect to the period prior to entry of the Final
Order) or Final Order (with respect to the period on and after entry of the Final Order), as the
case may be, has been entered by the Bankruptcy Court and is in full force and effect, and has
not been amended, modified or stayed, or reversed; and

        (d)    Notwithstanding the provisions of Section 362 of the Bankruptcy Code, and
subject to the applicable provisions of the Order, upon the maturity (whether by acceleration or
otherwise) of any of the Obligations, the Agent and Lenders shall be entitled to immediate
payment of such Obligations and to enforce the remedies provided for hereunder or under
applicable law, without further application to or order by the Bankruptcy Court.

       8.18 (a) Companies will not, directly or indirectly, seek, consent to, suffer to exist or
permit (i) any modification, stay, vacation or amendment to either Order, unless the Agent has
consented to such modification, stay, vacation or amendment in writing, (ii) a priority claim for
any administrative expense or unsecured claim (now existing or hereafter arising of any kind or
nature whatsoever, including any administrative expenses of the kind specified in the Bankruptcy
Code, including Sections 105(a), 326, 328, 330, 331, 503(a), 503(b), 506(c), 507, 546(c), 546(d),
726, 1113 and 1114 of the Bankruptcy Code) equal or superior to the Superpriority Claim of the
Agent and the Lenders in respect to the Obligations, except for the Carve-Out and the claims of
Revolver Agent (which shall be parri passu); or (iii) any lien on any Collateral, having a priority
equal or superior to the lien in favor of the Agent in respect of the Obligations, except for the
Carve-Out and Permitted Encumbrances securing Senior Claims.

       (b)     Prior to the date on which the Obligations have been indefeasibly paid in full in
cash and this Agreement has been terminated, Companies shall not pay any administrative
expense claims except (i) the Carve-Out, (ii) any Obligations due and payable hereunder or
under the Revolver Agreement, and (iii) subject to compliance with the Budget, other
administrative expense claims incurred in the ordinary course of business of Companies and not
prohibited by the terms of this Agreement.



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       8.19 The Case was commenced on the Filing Date in accordance with applicable law
and proper notice thereof and the proper notice under the Bankruptcy Code for each of (a) the
motion seeking approval of the Loan Documents and the Interim Financing Order and the Final
Order, (b) the hearing for the approval of the Interim Financing Order and (c) the hearing for the
approval of the Final Order, has been or will be given. The Companies shall give, on a timely
basis as specified in the Order, all notices required to be given to all parties specified in such
Order.

        8.20 (a) As of each week, for such week and the Cumulative Period, the actual cash
receipts received by Companies shall not be less than 95% of the cash receipts for the
corresponding period in the Budget.

        (b)   As of each week, for such week and the Cumulative Period, the actual cash
disbursements of the Companies shall be no more than 5% more than the cash disbursements for
the corresponding period as set forth in the Budget.

        (c)    As of each week, for such week and the Cumulative Period, the actual Cumulative
Cash Change (as defined in the Budget) of the Companies, shall not represent a consumption of
cash greater than 105% of the Cumulative Cash Change for the corresponding period as set forth
in the Budget.

      (d)     As of each week, the actual Borrowing Base shall not be less than the Borrowing
Base set forth in the Budget for such week as indicated in the Budget line item marked
“Revolver DIP Borrowing Base Availability.”

     8.21 Companies shall not request any extension of the period of time within which the
Companies have exclusive rights to file a plan under Section 1121 of the Bankruptcy Code.

        8.22 Companies shall not assume or reject any lease or contract without the prior
written consent of Agent.

        8.23 Companies hereby agree that if at any time any Company receives from a third
party a bona fide offer, term sheet or commitment, or any Company makes a bona fide proposal
substantially acceptable to or accepted by any person or entity (all of the foregoing being
referred to as an “Offer”), which Offer is from a reputable financial institution or such other
lender with sufficient net worth to consummate a closing and provide the terms set forth therein
and provides for replacement debtor-in-possession financing or exit financing of any kind or
nature, the applicable Company shall first forward the Offer to the Agent which will have fifteen
(15) days after receipt thereof (the “Option Period”) to agree to provide similar financing in the
place of such person or entity upon the terms and conditions set forth in the Offer and to notify
the applicable Company in writing of the Agent’s, for and on behalf of the Lenders, acceptance
of the Offer (the “Acceptance Notice”). If the Company has not received an Acceptance Notice
within the Option Period, the Company shall be free to consummate the transaction described in
the Offer with the third party providing the Offer (the “Transaction”); provided, however, that
the foregoing, and Agent’s failure to respond to issue an Acceptance Notice, shall not be
construed as a waiver of any of the terms, covenants or conditions of the Loan Documents. In
the event that the Transaction is not consummated under similar terms with such person or entity


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during the ninety (90) day period following the expiration of the Option Period, or any material
term is changed, the applicable Company shall not be permitted to consummate the Transaction
without again complying this Section. The right of first refusal granted to the Agent, for itself on
behalf of the Lenders, hereunder shall survive payment in full of all of this Agreement and the
other Loan Documents for a period of six (6) months following such payment. For purposes of
this Section, “Lender” shall mean and include either of Lender or any other parent company,
subsidiary or affiliate of Lender. Nothing in this section is intended, or shall be construed, to
constitute the Agent’s or the Lenders’ consent to the consummation of any transaction described
in any Offer.

        8.24 The Companies covenant and agree, in each case, unless extended by Agent in
sole and absolute discretion, (a) the Interim Financing Order shall be entered no later than March
18, 2008; (b) the Final Order shall be entered no later than April 4, 2008; (c) schedules and
statements of financial affairs shall be filed in the case for all Companies no later than the
Closing Date; (d) a Reorganization Plan satisfactory in form and substance to Agent and a
disclosure statement satisfactory in form and substance to Agent shall be filed no later than
Filing Date; (e) a written disclosure statement satisfactory in form and substance to Agent shall
be approved, after notice and a hearing, by the Bankruptcy Court no later than April 17, 2008; (f)
solicitation of acceptance of a Reorganization Plan in form and substance satisfactory to Agent
shall have commenced no later than April 20, 2008; (g) solicitation of acceptance of a
Reorganization Plan satisfactory as to form and substance to Agent shall have concluded no later
than May 19, 2008; (h) a Reorganization Plan that satisfies the requirements set forth in
Paragraph 7.4 of the Section 7 hereof and in form and substance satisfactory to Agent shall be
confirmed no later than May 30, 2008; (i) the effective date of such Reorganization Plan set forth
in clause (h) above shall be no later than June 10, 2008; (j) all collective bargaining agreements
and other labor or union contracts shall be modified in form and substance acceptable to Agent
(including modifications which may give rise to withdrawal liability under Section 4202 of
ERISA or otherwise under MEPPA) or such agreements or contracts shall be rejected by
Companies in the Case no later than the day prior to any confirmation hearing related to a
Reorganization Plan; and (k) Companies shall remedy and take all other actions necessary
related to all environmental matters satisfactory to Agent no later than the day prior to any
confirmation hearing related to a Reorganization Plan.

       8.25 Companies shall make timely payment of all fees payable to the United States
Trustee, if any, in the Bankruptcy Case pursuant to 28 U.S.C. Sect 1930 (a)(6).

        8.26 Companies shall, in writing, promptly after becoming aware thereof, notify Agent
of any application or motion of any Person seeking relief from the automatic stay under Section
362 of the Bankruptcy Code or any other application motion or pleading filed in the Case that,
either immediately or with the passage of time, might result in an Event of Default hereunder

SECTION 9. Interest, Fees and Expenses

       9.1     (a) Interest on the Term Loan Advances shall be payable monthly in arrears as of
the end of each month. Term Loans shall accrue interest at a rate equal to the Base Rate plus the
Applicable Margin per annum on the aggregate net balances owing by the Companies to the
Agent in the Loan Account at the close of each day during such month. In the event of any

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change in said Base Rate, the rate hereunder for Term Loan Advances shall change, as of the
date of such change, so as to remain equal to the new Base Rate plus the Applicable Margin.
The rate hereunder for Term Loan Advances shall be calculated on the basis of a 360-day year
and based on the actual number of days elapsed.

        (b)     Upon and after the occurrence and during the continuance of an Event of Default
and in accordance with the provisions of Section 11, Paragraph 11.2 hereof, all Obligations shall
bear interest at the Default Rate of Interest.

        9.2     Intentionally Omitted.

        9.3     Intentionally Omitted.

       9.4    The Companies shall pay to Lead Arranger a nonrefundable arrangement fee
equal to 1.5% of the Commitment and Revolver Commitment, which fee shall be fully earned
and payable as of the date hereof.

         9.5    The Companies, jointly and severally, shall reimburse or pay (a) the Agent for:
(i) all Out-of-Pocket Expenses and (ii) any applicable Documentation Fee and (b) the Lenders for
all Out-of Pocket Expenses incurred after the occurrence of an Event of Default which is not
Waived In Writing By Agent.

       9.6    Upon the last Business Day of each month, commencing on March 31, 2008, the
Companies shall pay to the Agent for the benefit of the Agent and the other Lenders the
Commitment Fee; such Commitment Fee to be nonrefundable and payable in arrears on the basis
of a 360 day year and based on the actual number of days elapsed on the last Business Day of
each month and the Termination Date.

        9.7     Upon a Termination Event, the Companies shall pay to Agent the Termination
Fee.

        9.8     The Companies shall pay Agent (i) a nonrefundable agent/facility fee equal to
$40,000 per month on the Closing Date and on the first Business Day of each month thereafter
until indefeasible payment in full of all Obligations and termination of this Agreement and (ii) a
nonrefundable collateral monitoring and servicing fee equal to $40,000 per month on the Closing
Date and on the first Business Day of each month thereafter until indefeasible payment in full of
all Obligations and termination of this Agreement. Each such fee shall be deemed earned in full
on the date when such fee is due and payable hereunder and shall not be subject to rebate or
proration upon termination of this Agreement for any reason.

        9.9     The Companies shall pay the Agent’s standard charges and fees for the Agent’s
personnel used by the Agent for reviewing the books and records of the Companies and for
verifying, testing, protecting, safeguarding, preserving or disposing of all or any part of the
Collateral (which fees shall be in addition to any other fees described herein and any Out-of-
Pocket Expenses). As of the Closing Date, the standard rate charged for such personnel is One
Thousand Dollars ($1,000.00) per person per day; however Agent in its discretion may change
such standard rate periodically. During each 360-day period (with the initial 360-day period
beginning on January 1, 2008), the Companies shall pay for not more than one (1) field

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examination conducted at a time when no Event of Default exists, provided, however, the
Companies shall pay for each field examination performed when an Event of Default has
occurred which has not been waived in writing by Agent.

        9.10 Each of the Companies hereby authorizes Agent to charge their respective Loan
Account(s) with the amount of all their Obligations due hereunder as such payments become
due. The Companies hereby confirm and agree that they shall, jointly and severally, promptly
pay any Obligations, including, without limitation, all of the fee obligations (including without
limitation, those set forth in 9.5 through 9.9 above) and Out-of-Pocket Expenses) to Agent upon
its request therefor.

        9.11 In the event that the Agent or any Lender (or any financial institution which may
from time to time become a Lender hereunder) shall have determined in the exercise of its
reasonable business judgment that, subsequent to the Closing Date, any change in applicable law,
rule, regulation or guideline regarding capital adequacy, or any change in the interpretation or
administration thereof, or compliance by the Agent or Lender with any new request or directive
regarding capital adequacy (whether or not having the force of law) of any such authority, central
bank or comparable agency, has or would have the effect of reducing the rate of return on the
Agent’s or such Lender’s capital as a consequence of its obligations hereunder to a level below
that which the Agent or such Lender could have achieved but for such adoption, change or
compliance (taking into consideration the Agent or such Lender’s policies with respect to capital
adequacy) by an amount reasonably deemed by the Agent or such Lender to be material, then,
from time to time, the Companies shall pay no later than five (5) days following demand to the
Agent or such Lender such additional amount or amounts as will compensate the Agent’s or such
Lender’s for such reduction. In determining such amount or amounts, the Agent or such Lender
may use any reasonable averaging or attribution methods. The protection of this Paragraph 9.11
shall be available to the Agent or such Lender regardless of any possible contention of invalidity
or inapplicability with respect to the applicable law, regulation or condition. A certificate of the
Agent or such Lender setting forth such amount or amounts as shall be necessary to compensate
the Agent or such Lender with respect to this Section 9 and the calculation thereof when
delivered to the Companies shall be conclusive on the Companies absent manifest error.
Notwithstanding anything in this paragraph to the contrary, in the event the Agent or such
Lender has exercised its rights pursuant to this paragraph, and subsequent thereto determines that
the additional amounts paid by the Companies in whole or in part exceed the amount which the
Agent or such Lender actually required to be made whole, the excess, if any, shall be returned to
the Companies by the Agent or such Lender.

       9.12 In the event that any applicable law, treaty or governmental regulation, or any
change therein or in the interpretation or application thereof, or compliance by the Agent or such
Lender with any request or directive (whether or not having the force of law) from any central
bank or other financial, monetary or other authority, shall:

        (a)     subject the Agent or such Lender to any tax of any kind whatsoever with respect
to this Agreement or change the basis of taxation of payments to the Agent or such Lender of
principal, fees, interest or any other amount payable hereunder or under any other documents
(except for changes in the rate of tax on the overall net income of the Agent or such Lender by
the federal government or the jurisdiction in which it maintains its principal office);

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        (b)    impose, modify or hold applicable any reserve, special deposit, assessment or
similar requirement against assets held by, or deposits in or for the account of, advances or loans
by, or other credit extended by the Agent or such Lender by reason of or in respect to this
Agreement and the Loan Documents, including (without limitation) pursuant to Regulation D of
the Board of Governors of the Federal Reserve System; or

        (c)     impose on the Agent or such Lender any other condition with respect to this
Agreement or any other document, and the result of any of the foregoing is to increase the cost to
the Agent or such Lender of making, renewing or maintaining its loans hereunder by an amount
that the Agent or such Lender deems to be material in the exercise of its reasonable business
judgment or to reduce the amount of any payment (whether of principal, interest or otherwise) in
respect of any of the loans by an amount that the Agent or such Lender deems to be material in
the exercise of its reasonable business judgment, then, in any case the Companies shall pay the
Agent or such Lender, within five (5) days following its demand, such additional cost or such
reduction, as the case may be. The Agent or such Lender shall certify the amount of such
additional cost or reduced amount to the Companies and the calculation thereof and such
certification shall be conclusive upon the Companies absent manifest error. Notwithstanding
anything in this paragraph to the contrary, in the event the Agent or such Lender has exercised its
rights pursuant to this paragraph, and subsequent thereto determine that the additional amounts
paid by the Companies in whole or in part exceed the amount which the Agent or such Lender
actually required pursuant hereto, the excess, if any, shall be returned to the Companies by the
Agent or such Lender.

        9.13    Intentionally Omitted.

        9.14    Intentionally Omitted.

        9.15    Intentionally Omitted.

        9.16    Intentionally Omitted.

        9.17    Intentionally Omitted.

        9.18    Intentionally Omitted.

        9.19 Notwithstanding anything to the contrary contained herein, the Agent shall apply
all proceeds of Collateral and all other amounts received by it from or on behalf of the
Companies to the Obligations in such order as the Required Lenders shall reasonably elect;
provided, however, upon the occurrence of an Event of Default which is not Waived in Writing
By Agent, the Agent may apply all proceeds of Collateral first to the fees and expenses due to
Agent, second to accrued interest with respect to the Obligations, third to the outstanding
principal balance of the Obligations, in such order as the Required Lenders may elect, and fourth
to any other Obligations in such order as the Required Lenders may elect.

        9.20    Intentionally Omitted.




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       9.21 For purposes of each of the indemnity provisions contained in this Agreement,
any reference to the Agent shall include all Lenders and any financial institution which may
become a Lender subsequent to the Closing Date.

SECTION 10. Powers

        Each of the Companies hereby constitutes the Agent, or any person or agent the Agent
may designate, as its attorney-in-fact, at such Company’s cost and expense, to exercise all of the
following powers, which being coupled with an interest, shall be irrevocable until all Obligations
to the Agent have been paid in full in cash:

       (a)     To receive, take, endorse, sign, assign and deliver, all in the name of the Agent or
the Companies or any one of them, any and all checks, notes, drafts, and other documents or
instruments relating to the Collateral;

       (b)    To receive, open and dispose of all mail addressed to the Companies or any one of
them and to notify postal authorities to change the address for delivery thereof to such address as
the Agent may designate;

       (c)    To request from customers indebted on Accounts at any time, in the name of the
Agent information concerning the amounts owing on the Accounts;

       (d)     To request from customers indebted on Accounts at any time, in the name of the
Companies or any one of them, in the name of certified public accountant designated by the
Agent or in the name of the Agent’s designee, information concerning the amounts owing on the
Accounts;

        (e)    To transmit to customers indebted on Accounts notice of the Agent’s interest
therein and to notify customers indebted on Accounts to make payment directly to the Agent for
the Companies’ account; and

        (f)     To take or bring, in the name of the Agent or the Companies or any one of them,
all steps, actions, suits or proceedings deemed by the Agent necessary or desirable to enforce or
effect collection of the Accounts.

         Notwithstanding anything hereinabove contained to the contrary, the powers set forth in
(b), (c), (e) and (f) above may only be exercised subject to the Intercreditor Agreement and after
the occurrence of an Event of Default and until such time as such Event of Default is Waived In
Writing By Agent.

SECTION 11. Events of Default and Remedies

        11.1 Notwithstanding anything hereinabove to the contrary, the Agent may, and at the
direction of the Required Lenders shall terminate, this Agreement immediately upon the
occurrence of any of the following Events of Default:

       (a)      cessation of the business of any Company (except as the result of (i) the sale of
substantially all of the assets of such Company and the application of the proceeds of such sale to

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the Obligations, all in accordance with the terms and conditions of this Agreement and the
Intercreditor Agreement or (ii) the contribution of substantially all of the assets of such Company
to another Company);

        (b)     Intentionally Omitted;

        (c)     Intentionally Omitted;

        (d)     breach by any Company of any warranty, representation or covenant contained
herein (other than those referred to in sub-paragraph (e) below) or in any other written agreement
between any Company or the Agent, provided that such Default of any of the warranties,
representations or covenants referred in this clause (d) shall not be deemed to be an Event of
Default unless and until such Default shall remain unremedied to the Agent’s satisfaction for a
period of ten (10) days from the date of such breach;

       (e)     breach by any Company of any warranty, representation or covenant of;
Paragraphs 6.3, 6.4 (other than the first sentence of Paragraph 6.4) and 6.14 of Section 6 hereof;
Section 7 hereof; or Paragraphs 8.1, 8.5, 8.6, and 8.8 through 8.26 hereof;

        (f)    failure of the Companies or any one of them to pay any of the Obligations within
five (5) Business Days of the due date thereof provided that nothing contained herein shall
prohibit the Agent from charging such amounts to the Loan Accounts on the due date thereof;

          (g)      with respect to any Plan other than a “multiemployer plan,” as defined in Section
3(37) of ERISA, and other than a defined contribution plan (solely for the purposes of clauses
(ii), (iii), (iv) and (v)), any Company shall (i) engage in any “prohibited transaction” as defined
in ERISA, (ii) have any “accumulated funding deficiency” as defined in ERISA, (iii) have any
“reportable event” as defined in ERISA, for which the requirement to provide notice has not,
within the regulations issued under ERISA, been waived, (iv) terminate any Plan, or (v) be
engaged in any proceeding in which the Pension Benefit Guaranty Corporation shall seek
appointment, or is appointed, as trustee or administrator of such Plan, and with respect to this
sub-paragraph (g) such event or condition (x) remains uncured for a period of thirty (30) days
from date of occurrence and (y) could, in the reasonable opinion of the Agent, subject such
Company to any tax, penalty or other liability material to the business, operations or financial
condition of such Company;

        (h)     Intentionally Omitted;

        (i)     Intentionally Omitted;

        (j)    the occurrence of any default or event of default (after giving effect to any
applicable grace or cure periods) under any instrument or agreement evidencing any pre-petition
Indebtedness (which is affirmed after the Filing Date) (except for defaults occasioned by the
filing of the Case and defaults resulting from obligations with respect to which the Bankruptcy
Code prohibits Companies from complying or permits Companies not to comply) and any post-
petition Indebtedness of the Companies or any one of them;



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       (k)     Steven S. Grabell, as Chief Executive Officer, ceases for any reason whatsoever
to be Chief Executive Officer and actively engaged in the management of the Companies unless
a successor acceptable to Agent is appointed within ten (10) days;

         (l)     if any of the Loan Documents shall be cancelled, terminated, revoked or
rescinded; or any action at law, suit or in equity or other legal proceeding to cancel, revoke,
rescind or otherwise challenge any of the Loan Documents or the liens securing the Obligations
shall be commenced by any Person; or any court or any other governmental or regulatory
authority or agency of competent jurisdiction shall make a determination that, or issue a
judgment, order, decree or ruling to the effect that, any one or more of the Loan Documents is
illegal, invalid or unenforceable in accordance with the terms thereof;

        (m)     the Bankruptcy Court shall enter any order (i) revoking, reversing, staying,
vacating, rescinding, modifying, superseding, supplementing or amending either Order, this
Agreement or any other Loan Document (except as otherwise approved by Agent in writing) or
the Revolver Agreement or (ii) permitting any administrative expense or any claim (now existing
or hereafter arising, of any kind or nature whatsoever) to have administrative priority as to any
Company equal or superior to the priority of Agent or the Lenders in respect of the Obligations,
or there shall arise any such Superpriority Claim, except for the Carve-Out or the Obligations (as
defined in the Revolver Agreement) or (iii) to grant or permit the grant of a lien on the Collateral
other than Permitted Encumbrances;

        (n)    the Bankruptcy Court shall enter any order (i) appointing an interim or permanent
Chapter 11 trustee under Section 1104 of the Bankruptcy Code in the Case, (ii) appointing an
examiner with enlarged powers relating to the operation of the business (powers beyond those set
forth in Section 1106(a)(3) and (4) of the Bankruptcy Code) under Section 1106(b) of the
Bankruptcy Code in the Case, (iii) appointing a fiduciary or representative of the estate with
decision making or other management authority over some or all of any Companies senior
management, (iv) substantively consolidating the estate of Companies with the estate of any
other Person, (v) dismissing the Case or (vi) converting the Case to a Chapter 7 case;

        (o)     the Bankruptcy Court shall enter any order granting relief for the automatic stay
to any creditor holding or asserting a lien or reclamation claim;

        (p)    any application for any of the orders described in clauses (m), (n) or (o) above
shall be made and, if made by a Person other than a Company, such application is not being
diligently contested by Companies in good faith;

       (q)     except as permitted by the Orders or the “first day orders” or as otherwise agreed
to by Agent, Companies shall make any Pre-Petition Payment following the Closing Date other
than Pre-Petition Payments authorized by the Bankruptcy Court in connection with the
assumption of executory contracts and unexpired leases;

       (r)    Companies shall be unable to pay their postpetition debts as they mature, shall fail
to comply with any order of the Bankruptcy Court in any material respect, or shall fail to make
such payments, as and when such payments become due;



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        (s)     Companies or any other Person shall file a motion in the Case, execute a written
agreement or file any plan of reorganization or disclosure statement attendant thereto (i) to use
cash collateral under Section 363(c) of the Bankruptcy Code without Agent’s prior written
consent, (ii) to obtain additional financing under Sections 364(c) or (d) of the Bankruptcy Code
not otherwise permitted pursuant to this Agreement, (iii) to grant any lien other than Permitted
Encumbrances upon or affecting the Collateral, (iv) to sell all or substantially all of the assets of
Company, or the sale of any business unit of a Company without Agent’s prior written consent,
(v) to recover from any portions of the Collateral any cost or expenses of preserving or disposing
of such Collateral under Section 506(c) of the Bankruptcy Code, or to cut off rights in the
Collateral under Section 552(b) of the Bankruptcy Code, or (vi) to take any other action or
actions adverse to Agent or Lenders or their rights and remedies hereunder or under any of the
other Loan Documents or Agent’s or Lenders’ interest in any of the Collateral;

        (t)      (i) Companies shall file a Reorganization Plan in the Case which does not contain
provisions for the termination of this Agreement and indefeasible payment in full of cash of all
Obligations and the release of Agent and Lenders in full from all claims of the Companies and
their estates, in each case, on or before, and the continuation of the liens and security interests
granted to Agent until, the effective date of such Reorganization Plan, or (ii) an order shall be
entered by the Bankruptcy Court confirming a Reorganization Plan in the Case which does not
contain provisions for the termination of this Agreement and indefeasible payment in full in cash
of all Obligations and the release of Agent and Lenders in full from all claims of the Companies
and their estates on or before, and the continuation of the liens and security interests granted to
Agent until, the effective date of such Reorganization Plan upon entry thereof;

        (u)    the commencement of a suit or action against the Agent or any Lender and, as to
any suit or action brought by any Person other than a Company or a subsidiary, officer or
employee of a Company, the continuation thereof without dismissal for thirty (30) days after
service thereof on Agent or such Lender, that asserts or seeks by or on behalf of any Company,
the Environmental Protection Agency, any state environmental protection or health and safety
agency, and official committee in the Case or any other party in interest in the Case, a claim or
any legal or equitable remedy that would (i) have the effect of subordinating any or all of the
Obligations or liens of Agent or any Lender under the Loan Documents to any other claim, or (ii)
have a material adverse effect on the rights and remedies of Agent or any Lender under any Loan
Document or the collectability or all or any portion of the Obligations;

        (v)   the entry of an order in the Case avoiding or requiring repayment of any portion
of the payments made on account of the Obligations owning under this Agreement or the other
Loan Documents;

        (w)    (i) the failure of a Reorganization Plan that satisfied the requirements set forth in
clause (t) above to be confirmed by May 30, 2008 or (ii) the failure to substantially consummate
such Reorganization Plan by June 10, 2008;

        (x)     the appointment of more than one official unsecured creditors’ committee in the
Case;




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         (y)    the existing or former shareholders or members of any Company or of Parent
shall initiate or threaten against the Companies or any of them or any of their assets any
litigation, investigation or proceeding (judicial or administrative) or take any other action which,
in the opinion of Agent, if adversely determined, could reasonably be expected to have a material
adverse effect on the business, operation, assets, financial condition or Collateral of the
Companies or any of them or otherwise be materially adverse to Agent or Lenders;

       (z)    the failure of any Revolver Lender to fund a Revolving Loan under the terms of
the Revolver Agreement;

        (aa) any lien or security interest created by this Agreement or the Order shall, for any
reason, cease to be valid;

        (bb) any action is commenced which contests any provision of any Order or the
validity, perfection, priority or enforceability of any of the liens and security interest of Agent;

       (cc) the Final Order is not entered immediately following the expiration of the Interim
Financing Order and, in any case, not later than April 4, 2008; or

      (dd)      a default or event of default occurs under either Order or under the Revolver
Agreement.

        11.2 Upon the occurrence of an Event of Default, unless such Event of Default has
been Waived In Writing By Agent, notwithstanding the provisions of Section 362 of the
Bankruptcy Code, without any application, motion or notice to, or order from, the Bankruptcy
Court, the Agent in its sole discretion may, or upon the written direction of the Required Lenders
the Agent shall, declare that, all loans, advances and extensions of credit provided for in Section
4 of this Agreement shall be thereafter in the Agent’s or the Required Lenders’ sole discretion,
and the obligation of the Agent and/or the Lenders to make Term Loans, shall cease unless such
Event of Default is Waived In Writing By Agent. Upon the occurrence of any Event of Default
not Waived In Writing By Agent, the rate of interest applicable to the Term Loans and the other
Obligations may, in Agent’s discretion, notwithstanding the provisions of Section 362 of the
Bankruptcy Code, without any application, motion or notice to, or order from, the Bankruptcy
Court, be increased as of the date of such Event of Default or notice, as applicable, as provided
in Paragraph 9.1(b) of Section 9 hereof. Upon the occurrence of any Event of Default not
Waived In Writing By Agent, the Agent in its sole and absolute discretion may, or upon the
written direction of the Required Lenders the Agent shall, notwithstanding the provisions of
Section 362 of the Bankruptcy Code, without any application, motion or notice to, or order from,
the Bankruptcy Court, without prior notice, take any one or more of the following actions: (a)
terminate the Commitment whereupon Agent’s and Lenders’ obligation to make further Term
Loans shall terminate; (b) declare that all Obligations shall become immediately due and
payable; (c) Agent may immediately terminate this Agreement upon notice to the Companies;
and/or (d) Agent may exercise any rights and remedies provided to Agent or Lenders under the
Loan Documents or at law or equity, including all remedies provided under the UCC; and,
pursuant to the Order, the automatic stay of Section 362 of the Bankruptcy Code shall be
modified and vacated (at Agent’s election) to permit Agent to exercise its remedies under this
Agreement and the Loan Documents, without further application or motion to, or order from, the

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Bankruptcy Court; provided, however, notwithstanding anything to the contrary contained
herein, Agent shall be permitted to exercise any remedy in a nature of a liquidation of, or
foreclosure on, any interest of Companies in the Collateral only upon three (3) Business Days
prior written notice to Borrowers, the United States Trustee for the District of New Jersey, and
any counsel approved by the Bankruptcy Court for the Creditors’ Committee (the “Remedies
Notice Period”); provided, however, that during such Remedies Notice Period, (i) the Borrowers
may not challenge or object to or file any motions attempting to limit the remedies of Agent and
Lenders hereunder, and (ii) Borrowers shall have no right to use or seek to use the Collateral;
provided further if the Bankruptcy Court does not determine that an Event of Default has not
occurred, and the Event of Default has not been Waived In Writing By Agent, upon the
expiration of such Remedies Notice Period, Agent shall have relief from the automatic stay
without further notice or order as set forth herein. Upon the occurrence of an Event of Default
and the exercise by Agent of its rights and remedies under this Agreement and the other Loan
Documents, Borrowers shall assist Agent and Lenders in effecting a sale or other disposition of
the Collateral upon such terms as are designed to maximize the proceeds obtainable from such
sale or other disposition; such assistance shall include, without limitation (if so requested),
notwithstanding any relief from the automatic stay under Section 362 of the Bankruptcy Code,
filing any motions under Sections 363 or 365 or any other applicable provisions of the
Bankruptcy Code to authorize the transfer of all or any portion of the Collateral or otherwise
assume and assign any lease or executory contract included therein. The exercise of any option
is not exclusive of any other option, which may be exercised at any time by the Agent.

        11.3 Immediately upon the occurrence of any Event of Default, unless such Event of
Default has been Waived In Writing By Agent, Agent may, to the extent permitted by law and
subject to the Intercreditor Agreement: (a) remove from any premises where same may be
located any and all books and records, computers, electronic media and software programs
associated with any Collateral (including any electronic records, contracts and signatures
pertaining thereto), documents, instruments, files and records, and any receptacles or cabinets
containing same, relating to the Accounts, or the Agent may use, at the Companies’ expense,
such of the Companies’ personnel, supplies or space at the Companies’ places of business or
otherwise, as may be necessary to properly administer and control the Accounts or the handling
of collections and realizations thereon; (b) bring suit, in the name of the Companies or the Agent,
and generally shall have all other rights respecting said Accounts, including without limitation
the right to: accelerate or extend the time of payment, settle, compromise, release in whole or in
part any amounts owing on any Accounts and issue credits in the name of the Companies or the
Agent; (c) sell, assign and deliver the Collateral and any returned, reclaimed or repossessed
Inventory, with or without advertisement, at public or private sale, for cash, on credit or
otherwise, at Agent’s sole option and discretion, and Agent may bid or become a purchaser at
any such sale, free from any right of redemption, which right is hereby expressly waived by the
Companies and, in furtherance of the foregoing, the Companies shall seek authorization from the
Bankruptcy Court to conduct, on any of the Companies’ owned or leased premises, one or more
sales of all or any portion of the Collateral pursuant to Section 363 of the Bankruptcy Code; (d)
foreclose the security interests in the Collateral created herein or by the Loan Documents by any
available judicial procedure, or to take possession of any or all of the Collateral, including any
Inventory, Equipment and/or Other Collateral without judicial process, and to enter any premises
where any Inventory and Equipment and/or Other Collateral may be located for the purpose of
taking possession of or removing the same; and (e) exercise any other rights and remedies

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provided in law, in equity, by contract or otherwise. Agent shall have the right, without notice or
advertisement, to sell, lease, or otherwise dispose of all or any part of the Collateral, whether in
its then condition or after further preparation or processing, in the name of Companies or Agent,
or in the name of such other party as Agent may designate, either at public or private sale or at
any broker’s board, in lots or in bulk, for cash or for credit, with or without warranties or
representations (including but not limited to warranties of title, possession, quiet enjoyment and
the like), and upon such other terms and conditions as Agent in its sole discretion may deem
advisable, and Agent shall have the right to purchase at any such sale. Subject to the
Intercreditor Agreement, if any Inventory and Equipment shall require rebuilding, repairing,
maintenance or preparation, Agent shall have the right, at its option, to do such of the aforesaid
as is necessary, for the purpose of putting the Inventory and Equipment in such saleable form as
Agent shall deem appropriate and any such costs shall be deemed an Obligation hereunder. Any
action taken by Agent pursuant to this paragraph shall not affect commercial reasonableness of
the sale. Companies agree, at the request of Agent, to assemble the Inventory and Equipment
and, subject to the Intercreditor Agreement, to make it available to Agent at premises of
Companies or elsewhere and to make available to Agent the premises and facilities of
Companies for the purpose of Agent’s taking possession of removing or putting the Inventory
and Equipment in saleable form. If notice of intended disposition of any Collateral is required
by law, it is agreed that ten (10) days notice shall constitute reasonable notification and full
compliance with the law. The net cash proceeds resulting from Agent’s exercise of any of the
foregoing rights, (after deducting all charges, costs and expenses, including reasonable attorneys’
fees) shall be applied by Agent to the payment of the Obligations, whether due or to become due,
in such order as Agent may elect, and Companies shall remain liable to Agent for any
deficiencies, and Agent in turn agrees to remit to Companies or its successors or assigns, any
surplus resulting therefrom. The enumeration of the rights set forth in Paragraph 11.2 above or
in this Paragraph 11.3 is not intended to be exhaustive and the exercise of any right shall not
preclude the exercise of any other rights, all of which shall be cumulative. Companies hereby
indemnify Agent and hold Agent harmless from any and all costs, expenses, claims, liabilities,
Out-of-Pocket Expenses or otherwise, incurred or imposed on Agent by reason of the exercise of
any of its rights, remedies and interests hereunder, including, without limitation, from any sale or
transfer of Collateral, preserving, maintaining or securing the Collateral, defending its interests
in Collateral (including pursuant to any claims brought by Companies, Companies as debtors-in-
possession, any secured or unsecured creditors of Companies, any trustee or receiver in
bankruptcy, or otherwise), and Companies hereby agree to so indemnify and hold Agent
harmless, absent Agent’s gross negligence or willful misconduct as finally determined by a court
of competent jurisdiction. The foregoing indemnification shall survive termination of this
Agreement until such time as all Obligations (including the foregoing) have been finally and
indefeasibly paid in full in cash. In furtherance thereof Agent, may establish such reserves for
Obligations hereunder (including any contingent Obligations) as it may deem advisable in its
reasonable business judgment. Any applicable mortgage(s), deed(s) of trust or assignment(s)
issued to Agent on the Real Estate shall govern the rights and remedies of Agent thereto.

       11.4 Companies hereby acknowledge and agree that Agent shall have no duty to
marshal the Collateral and that Agent make take and dispose of any or all of the Collateral in
such order and at such time or times as Agent, acting in its discretion, may elect.



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SECTION 12. Termination

         This Agreement shall terminate on the Termination Date. The Companies may terminate
this Agreement at any time upon not less than twenty (20) days’ prior written notice of the date
of termination (the “Noticed Termination Date”) given to the Agent by a Manager or an officer
of Shapes/Arch, provided that the Companies shall have up to ten (10) additional days after the
Noticed Termination Date in which to repay the Obligations in full in cash together with the
Termination Fee. Notice of termination as aforesaid by any one Company shall be deemed to be
a notice by all of the Companies for purposes hereof. All Obligations shall become due and
payable as of any termination hereunder or under Section 11 hereof and, pending a final
accounting, the Agent may withhold any balances in the Companies’ accounts (unless supplied
with an indemnity satisfactory to the Agent) to cover all of the Obligations, whether absolute or
contingent, including, but not limited to, cash reserves for any contingent Obligations, provided
however, as to reserves for environmental claims, the amount to be held shall be limited to an
amount for which a claim has been asserted against Agent or any Lender. All of the Agent’s
rights, liens and security interests shall continue after any termination until all Obligations have
been paid and satisfied in full.

SECTION 13. Miscellaneous

        13.1 Each of the Companies hereby waives diligence, notice of intent to accelerate,
notice of acceleration, demand, presentment and protest and any notices (other than those
specifically provided for herein) hereof as well as notice of nonpayment. No delay or omission of
the Agent, the Lenders or the Companies to exercise any right or remedy hereunder, whether
before or after the happening of any Event of Default, shall impair any such right or shall operate
as a waiver thereof or as a waiver of any such Event of Default. No single or partial exercise by
the Agent of any right or remedy precludes any other or further exercise thereof or precludes any
other right or remedy.

        13.2 This Agreement and the other Loan Documents executed and delivered in
connection therewith constitute the entire agreement among the Companies and the Agent and
Lender; supersede any prior agreements; can be changed only by a writing signed by the
Companies, the Agent and the Required Lenders (or by the Agent at the written request of the
Required Lenders), unless the consent of all Lenders is required pursuant to Paragraph 15.10
herein below, and shall bind and benefit the Companies, the Lenders and the Agent and their
respective successors and assigns, and any such waiver or consent shall be effective only in the
specific instance and for the specific purpose for which given. This Agreement shall be binding
upon and inure to the benefit of Companies and Agent and each Lender and their respective
successors and permitted assigns (including, in the case of Companies, except for the right to
request Term Loan Advances, any trustee or similar responsible Person succeeding to the rights
of the Companies pursuant to Chapter 11 of the Bankruptcy Code or pursuant to any conversion
to a case under Chapter 7 of the Bankruptcy Code).

       13.3 In no event shall the Companies, upon demand by the Agent for payment of any
Indebtedness relating hereto, by acceleration of the maturity thereof, or otherwise, be obligated
to pay interest and fees in excess of the amount permitted by law. Regardless of any provision
herein or in any agreement made in connection herewith, the Agent and Lenders shall never be

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entitled to receive, charge or apply, as interest on any indebtedness relating hereto, any amount
in excess of the maximum amount of interest permissible under applicable law. If the Agent ever
receives, collects or applies any such excess, it shall be deemed a partial repayment of principal
and treated as such; and if principal is paid in full in cash, any remaining excess shall be
refunded to the Companies. This paragraph shall control every other provision hereof, the Loan
Documents and of any other agreement made in connection herewith.

        13.4 If any provision hereof or of any other agreement made in connection herewith is
held to be illegal or unenforceable, such provision shall be fully severable, and the remaining
provisions of the applicable agreement shall remain in full force and effect and shall not be
affected by such provision’s severance. Furthermore, in lieu of any such provision, there shall be
added automatically as a part of the applicable agreement a legal and enforceable provision as
similar in terms to the severed provision as may be possible.

     13.5 EACH OF THE COMPANIES, THE LENDERS AND THE AGENT
HEREBY WAIVE ANY RIGHT TO A TRIAL BY JURY IN ANY ACTION OR
PROCEEDING ARISING OUT OF THIS AGREEMENT, THE OTHER LOAN
DOCUMENTS OR THE TRANSACTIONS CONTEMPLATED HEREUNDER OR
THEREUNDER. EACH OF THE COMPANIES HEREBY IRREVOCABLY WAIVES
PERSONAL SERVICE OF PROCESS AND CONSENTS TO SERVICE OF PROCESS
BY CERTIFIED OR REGISTERED MAIL, RETURN RECEIPT REQUESTED. IN NO
EVENT WILL THE AGENT BE LIABLE FOR LOST PROFITS OR OTHER SPECIAL
OR CONSEQUENTIAL DAMAGES.

          IF (I) THE CASE IS DISMISSED, (II) THE BANKRUPTCY COURT
ABSTAINS FROM HEARING ANY ACTIONS OR PROCEEDINGS ARISING IN
CONNECTION WITH THIS AGREEMENT OR ANY OF THE OTHER LOAN
DOCUMENTS (OR IN ANY WAY CONNECTED WITH OR RELATED OR
INCIDENTAL TO THE DEALINGS OF THE PARTIES HERETO IN RESPECT OF
THIS AGREEMENT OR ANY OF THE OTHER LOAN DOCUMENTS OR THE
TRANSACTIONS RELATED HERETO OR THERETO) OR (III) THE BANKRUPTCY
COURT REFUSES TO EXERCISE JURISDICTION OVER ANY ACTIONS OR
PROCEEDINGS ARISING IN CONNECTION WITH THIS AGREEMENT OR ANY OF
THE OTHER LOAN DOCUMENTS (OR IN ANY WAY CONNECTED WITH OR
RELATED OR INCIDENTAL TO THE DEALINGS OF THE PARTIES HERETO IN
RESPECT OF THIS AGREEMENT OR ANY OF THE OTHER LOAN DOCUMENTS
OR THE TRANSACTIONS RELATED HERETO OR THERETO), THEN ALL
ACTIONS OR PROCEEDINGS IN ANY WAY, MANNER OR RESPECT, ARISING
OUT OF OR FROM OR RELATED TO THIS AGREEMENT, THE OTHER LOAN
DOCUMENTS OR THE COLLATERAL SHALL BE LITIGATED IN COURTS
HAVING SITUS WITHIN THE CITY OF NEW YORK, STATE OF NEW YORK.
EACH OF THE COMPANIES HEREBY CONSENTS AND SUBMITS TO THE
JURISDICTION OF ANY LOCAL, STATE OR FEDERAL COURTS LOCATED
WITHIN SAID CITY AND STATE. EACH OF THE COMPANIES HEREBY WAIVES
ANY RIGHT IT MAY HAVE TO TRANSFER OR CHANGE THE VENUE OF ANY
LITIGATION BROUGHT AGAINST ANY COMPANY BY THE LENDERS IN
ACCORDANCE WITH THIS SECTION.

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        13.6 Except as otherwise herein provided, any notice or other communication required
hereunder shall be in writing (provided that, any electronic communications from the Companies
with respect to any request, transmission, document, electronic signature, electronic mail or
facsimile transmission shall be deemed binding on the Companies for purposes of this
Agreement, provided further that any such transmission shall not relieve the Companies from
any other obligation hereunder to communicate further in writing), and shall be deemed to have
been validly served, given or delivered when hand delivered or sent by facsimile, or three (3)
days after deposit in the United States mail, with proper first class postage prepaid and addressed
to the party to be notified or to such other address as any party hereto may designate for itself by
like notice, as follows:

(A)     if to Arcus, at:
                Arcus ASI Funding, LLC
                2929 Arch Street
                Philadelphia, PA 19104
                Attn: Paul Halpern, General Counsel
                Fax No.: (215) 609-3433

                With a courtesy copy of any material (by way of example, relating to the
                occurrence of an Event of Default) notice to Agent’s counsel at:

                Blank Rome LLP
                One Logan Square
                Philadelphia, PA 19103
                Attn: Lawrence F. Flick, II
                Fax No.: (215) 832-5556

(B)     if to the Companies at:
                c/o Shapes L.L.C.
                9000 River Road
                Delair, New Jersey 08110
                Attn: Chief Executive Officer
                Fax No.: (856) 662-6069

With a courtesy copy of any material (by way of example, relating to the occurrence of an Event
of Default) notice to the Companies’ counsel at:
                Cozen O’Connor
                1900 Market Street
                Philadelphia, Pennsylvania 19103-3508
                Attn: Sandra A. Bloch, Esq.
                Fax No.: (215) 665-2013

provided, however, that the failure of any Person to provide another Person’s counsel with a
copy of such notice shall not invalidate such notice and shall not give such Person any rights,
claims or defenses due to the failure to provide such additional notice.


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     13.7 THE VALIDITY, INTERPRETATION AND ENFORCEMENT OF THIS
AGREEMENT AND THE OTHER LOAN DOCUMENTS SHALL BE GOVERNED BY THE
LAWS OF THE STATE OF NEW YORK, EXCEPT TO THE EXTENT THAT ANY OTHER
LOAN DOCUMENT INCLUDES AN EXPRESS ELECTION TO BE GOVERNED BY THE
LAWS OF ANOTHER JURISDICTION AND EXCEPT TO THE EXTENT THAT THE
APPLICATION OF THE BANKRUPTCY CODE IS MANDATORY.

        13.8 Unless the Order specifically provides otherwise, in the event of a conflict
between the terms and provisions of this Agreement or any of the Loan Documents and the
Order, the terms and provisions of the Order shall govern and control, interpreted as most
consistent with the terms and provisions of this Agreement and the other Loan Documents.
Nothing set forth in this Agreement shall require the Companies to act or fail to act in a manner
that would violate the Bankruptcy Code or any order of the Bankruptcy Court, without prejudice
to the Agent’s ability to declare the occurrence of an Event of Default based upon such action or
failure to act. In the event of any inconsistency between this Agreement and any of the Loan
Documents, this Agreement shall control.

SECTION 14. Agreement between the Lenders

        14.1 (a) The Agent, for the account of the Lenders, shall disburse all loans and
advances to the Companies and shall handle all collections of Collateral and repayment of
Obligations. It is understood that for purposes of advances to the Companies and for purposes of
this Section 14 the Agent is using the funds of the Agent.

        (b)     Unless the Agent shall have been notified in writing by any Lender prior to any
advance to the Companies that such Lender will not make the amount which would constitute its
share of the borrowing on such date available to the Agent, the Agent may assume that such
Lender shall make such amount available to the Agent on a Settlement Date, and the Agent may,
in reliance upon such assumption, make available to the Companies a corresponding amount. A
certificate of the Agent submitted to any Lender with respect to any amount owing under this
Paragraph shall be conclusive, absent manifest error if no objection, in writing, is delivered to the
Agent within ten (10) Business Days of receipt of such certificate. If such Lender’s share of such
borrowing is not in fact made available to the Agent by such Lender on the Settlement Date, the
Agent shall be entitled to recover such amount with interest thereon at the rate per annum
applicable to Term Loans hereunder, on demand, from the Companies without prejudice to any
rights which the Agent may have against such Lender hereunder. Nothing contained in this
Paragraph 14.1(b) shall relieve any Lender which has failed to make available its ratable portion
of any borrowing hereunder from its obligation to do so in accordance with the terms hereof.
Nothing contained herein shall be deemed to obligate the Agent to make available to the
Companies the full amount of a requested advance when the Agent has any notice (written or
otherwise) that any of the Lenders will not advance its ratable portion thereof.

        14.2 On the Settlement Date, the Agent and the Lenders shall each remit to the other,
in immediately available funds, all amounts necessary so as to ensure that, as of the Settlement
Date, the Lenders shall have their proportionate share of all outstanding Obligations.




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       14.3 The Agent shall forward to each Lender, at the end of each month, a copy of the
account statement rendered by the Agent to the Companies.

        14.4 The Agent shall, after receipt of any interest and fees earned under this
Agreement, promptly remit to the Lenders: (a) their pro rata portion of all fees, provided,
however, that the Lenders (other than Arcus in its role as the Agent) shall (i) not share in the fees
set forth in Paragraphs 9.4, 9.5, 9.7 and 9.8 in Section 9 or the Documentation Fees; and (ii)
receive their pro rata portion of the Commitment Fee; (b) interest computed at the rate and as
provided for in Section 9 of this Agreement on all outstanding amounts advanced by the Lenders
on each Settlement Date, prior to adjustment, that are subsequent to the last remittance by the
Agent to the Lenders of the Companies’ interest; and (c) its pro rata portion of all principal
repaid on the Term Loans.

       14.5 (a) The Companies acknowledge that the Lenders, with the prior written consent
of the Agent, which consent shall not be unreasonably withheld, may sell, only to an affiliate of
such Lender, participation interests in the loans and extensions of credit made and to be made to
the Companies hereunder.

        (b)     The Companies authorize each Lender to disclose to any participant or purchasing
lender (each, a “Transferee”) and any prospective Transferee any and all financial information in
such Lender’s possession concerning the Companies and their affiliates which has been delivered
to such Lender by or on behalf of the Companies pursuant to this Agreement or which has been
delivered to such Lender by or on behalf of the Companies in connection with such Lender’s
credit evaluation of the Companies and their affiliates prior to entering into this Agreement,
provided that such Transferee agrees to hold such information in confidence in the ordinary
course of its business.

        14.6 The Companies hereby agree that each Lender is solely responsible for its portion
of the Term Loan Facility and that neither the Agent nor any Lender shall be responsible for, nor
assume any obligations for the failure of any Lender to make available its portion of the Term
Loan Facility. Further, should any Lender refuse to make available its portion of the Term Loan
Facility, then the other Lenders may, but without obligation to do so, increase, unilaterally, its
portion of the Term Loan Facility in which event the Companies are so obligated to that other
Lender.

        14.7 In the event that the Agent, the Lenders or any one of them is sued or threatened
with suit by the Companies or any one of them, or by any receiver, trustee, creditor or any
committee of creditors on account of any preference, voidable transfer or lender liability issue,
alleged to have occurred or been received as a result of or during the transactions contemplated
under this Agreement, then in such event any money paid in satisfaction or compromise of such
suit, action, claim or demand and any expenses, costs and attorneys’ fees paid or incurred in
connection therewith, whether by the Agent, the Lenders or any one of them, shall be shared
proportionately by the Lenders. In addition, any costs, expenses, fees or disbursements incurred
by outside agencies or attorneys retained by the Agent to effect collection or enforcement of any
rights in the Collateral, including enforcing, preserving or maintaining rights under this
Agreement shall be shared proportionately between and among the Lenders to the extent not
reimbursed by the Companies or from the proceeds of Collateral. The provisions of this

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paragraph shall not apply to any suits, actions, proceedings or claims that (x) predate the date of
this Agreement or (y) are based on transactions, actions or omissions that predate the date of this
Agreement.

       14.8 Each of the Lenders agrees with each other Lender that any money or assets of the
Companies held or received by such Lender, no matter how or when received, shall be applied to
the reduction of the Obligations (to the extent permitted hereunder) after (x) the occurrence of an
Event of Default and (y) the election by the Required Lenders to accelerate the Obligations. In
addition, the Companies authorize, and the Lenders shall have the right, without notice, upon any
amount becoming due and payable hereunder, to set-off and apply against any and all property
held by, or in the possession of such Lender the Obligations due such Lenders.

         14.9 The Agent shall, subject to, prior to the occurrence of an Event of Default, the
prior written consent of Companies, which consent shall not be unreasonably withheld, have the
right at any time to assign to one or more commercial banks, commercial finance lenders or other
financial institutions all or a portion of its rights and obligations under this Agreement
(including, without limitation, its obligations under the Term Loan Facility), provided the
amount assigned to any one institution shall not be less than Two Million Dollars
($2,000,000.00); provided however, Companies’ consent shall not be required if the proposed
assignee or transferee is a Lender or an affiliate of Lender. Upon execution of an Assignment
and Transfer Agreement, (a) the assignee thereunder shall be a party hereto and, to the extent that
rights and obligations hereunder have been assigned to it pursuant to such assignment, have the
rights and obligations of the Agent as the case may be hereunder and (b) the Agent shall, to the
extent that rights and obligations hereunder have been assigned by it pursuant to such
assignment, relinquish its rights and be released from its obligations under this Agreement. The
Companies shall, if necessary, execute any documents reasonably required to effectuate the
assignments. No other Lender may assign its interest in the loans and advances and extensions of
credit hereunder without the prior written consent of the Agent, and, prior to the occurrence of an
Event of Default, the prior written consent of Companies, which consent shall not be
unreasonably withheld. In the event that the Agent consents to any such assignment by any other
Lender (i) the amount being assigned shall in no event be less than the lesser of (x) Two Million
Dollars ($2,000,000.00) or (y) the entire interest of such Lender hereunder, and (ii) the parties to
such assignment shall execute and deliver to the Agent an Assignment and Transfer Agreement,
and at Agent’s election, a processing fee of Three Thousand Five Hundred Dollars ($3,500)
payable by the assigning Lender for its own account.

SECTION 15. Agency

        15.1 Each Lender hereby irrevocably designates and appoints Arcus as the Agent for
the Lenders under this Agreement and any ancillary loan documents and irrevocably authorizes
Arcus as the Agent for such Lender, to take such action on its behalf under the provisions of this
Agreement and all ancillary documents and to exercise such powers and perform such duties as
are expressly delegated to the Agent by the terms of this Agreement and all ancillary documents
together with such other powers as are reasonably incidental thereto. Notwithstanding any
provision to the contrary elsewhere in this Agreement or any other Loan Documents, the Agent
shall not have any duties or responsibilities, except those expressly set forth herein, or any
fiduciary relationship with any Lender and no implied covenants, functions, responsibilities,

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duties, obligations or liabilities shall be read into this Agreement and the ancillary documents or
otherwise exist against the Agent.

       15.2 The Agent may execute any of its duties under this Agreement and all ancillary
documents by or through agents or attorneys-in-fact and shall be entitled to the advice of counsel
concerning all, matters pertaining to such duties.

        15.3 Neither the Agent nor any of its officers, directors, employees, agents, or
attorneys-in-fact shall be (i) liable to any Lender for any action lawfully taken or omitted to be
taken by it or such person under or in connection with this Agreement and all ancillary
documents (except for its or such person’s own gross negligence or willful misconduct), or (ii)
responsible in any manner to any of the Lenders for any recitals, statements, representations or
warranties made by the Companies or any officer thereof contained in this Agreement and all
ancillary documents or in any certificate, report, statement or other document referred to or
provided for in, or received by the Agent under or in connection with, this Agreement and all
ancillary documents or for the value, validity, effectiveness, genuineness, enforceability or
sufficiency of this Agreement and all ancillary documents or for any failure of the Companies to
perform their obligations thereunder. The Agent shall not be under any obligation to any Lender
to ascertain or to inquire as to the observance or performance of any of the agreements contained
in, or conditions of this Agreement and all ancillary documents or to inspect the properties,
books or records of the Companies.

         15.4 The Agent shall be entitled to rely, and shall be fully protected in relying, upon
any note, writing, resolution, notice, consent, certificate, affidavit, letter, cablegram, telegram,
telecopy, telex or teletype message, statement, order or other document or conversation believed
by it to be genuine and correct and to have been signed, sent or made by the proper person or
persons and upon advice and statements of legal counsel (including, without limitation, counsel
to the Companies), independent accountants and other experts selected by the Agent. The Agent
shall be fully justified in failing or refusing to take any action under this Agreement and all
ancillary documents unless it shall first receive such advice or concurrence of the Lenders, or the
Required Lenders, as the case may be, as it deems appropriate or it shall first be indemnified to
its satisfaction by the Lenders against any and all liability and expense which may be incurred by
it by reason of taking or continuing to take any such action. The Agent shall in all cases be fully
protected in acting, or in refraining from acting, under this Agreement and all ancillary
documents in accordance with a request of the Lenders, or the Required Lenders, as the case may
be, and such request and any action taken or failure to act pursuant thereto shall be binding upon
all the Lenders.

        15.5 The Agent shall not be deemed to have knowledge or notice of the occurrence of
any Default or Event of Default hereunder unless the Agent has received written notice from a
Lender or the Companies describing such Default or Event of Default. In the event that the
Agent receives such a notice, the Agent shall promptly give notice thereof to the Lenders. The
Agent shall take such action with respect to such Default or Event of Default as shall be
reasonably directed by Required Lenders; provided that unless and until the Agent shall have
received such direction, the Agent may in the interim (but shall not be obligated to) take such
action, or refrain from taking such action, with respect to such Default or Event of Default as it
shall deem advisable and in the best interests of the Lenders. In the event the Agent in its sole

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discretion, or at the request of the Required Lenders, continues to make Term Loans and
advances under this Agreement upon the occurrence of a Default or Event of Default, any such
Term Loans and advances may be in such amounts (subject to Paragraph 15.10 hereof) and on
such additional terms and conditions as the Agent or the Required Lenders may deem
appropriate.

        15.6 Each Lender expressly acknowledges that neither the Agent nor any of its
officers, directors, employees, agents or attorneys-in-fact has made any representations or
warranties to it and that no act by the Agent hereinafter taken, including any review of the affairs
of the Companies shall be deemed to constitute any representation or warranty by the Agent to
any Lender. Each Lender represents to the Agent that it has, independently and without reliance
upon the Agent or any other Lender and based on such documents and information as it has
deemed appropriate, made its own appraisal of and investigation into the business, operations,
property, financial and other condition and creditworthiness of the Companies and made its own
decision to enter into this Agreement. Each Lender also represents that it will, independently and
without reliance upon the Agent or any other Lender and based on such documents and
information as it shall deem appropriate at the time, continue to make its own credit analysis,
appraisals and decisions in taking or not taking action under this Agreement and to make such
investigation as it deems necessary to inform itself as to the business, operations, property,
financial and other condition or creditworthiness of the Companies. The Agent, however, shall
provide the Lenders with copies of all financial statements, projections and business plans which
come into the possession of the Agent or any of its officers, employees, agents or attorneys-in-
fact.

        15.7 (a)       The Lenders agree to indemnify the Agent in its capacity as such (to the
extent not reimbursed by the Companies and without limiting the obligation of the Companies to
do so), from and against any and all liabilities, obligations, losses, damages, penalties, actions,
judgments, suits, costs, expenses or disbursements (including, without limitation, all Out-of-
Pocket Expenses) of any kind whatsoever (including negligence on the part of the Agent) which
may at any time be imposed on, incurred by or asserted against the Agent in any way relating to
or arising out of this Agreement or any ancillary documents or any documents contemplated by
or referred to herein or the transactions contemplated hereby or any action taken or omitted by
the Agent under or in connection with any of the foregoing; provided that no Lender shall be
liable for the payment of any portion of such liabilities, obligations, losses, damages, penalties,
actions, judgments, suits, costs, expenses or disbursements resulting solely from the Agent’s
gross negligence or willful misconduct. The agreements in this paragraph shall survive the
payment of the Obligations.

        (b)    The Agent will use, subject to the terms of the Intercreditor Agreement, its
reasonable business judgment in handling the collection of the Accounts, enforcement of its
rights hereunder and realization upon the Collateral but shall not be liable to the Lenders for any
action taken or omitted to be taken in good faith or on the written advice of counsel. The Lenders
expressly release the Agent from any and all liability and responsibility (express or implied), for
any loss, depreciation of or delay in collecting or falling to realize on any Collateral, the
Obligations or any guaranties therefor and for any mistake, omission or error in judgment in
passing upon or accepting any Collateral or in making (or in failing to make) examinations or


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audits or for granting indulgences or extensions to the Companies, any account debtor or any
guarantor, other than resulting from the Agent’s gross negligence or willful misconduct.

        15.8 The Agent may make loans to, and generally engage in any kind of business with
the Companies as though the Agent were not the Agent hereunder. With respect to its loans made
or renewed by it or loan obligations hereunder as Lender, the Agent shall have the same rights
and powers, duties and liabilities under this Agreement as any Lender and may exercise the same
as though it was not the Agent and the terms “Lender” and “Lenders” shall include the Agent in
its individual capacity.

        15.9 The Agent may resign as the Agent upon 30 days’ notice to the Lenders and such
resignation shall be effective upon the appointment of a successor Agent. If the Agent shall
resign as Agent, then the Lenders shall appoint a successor Agent for the Lenders whereupon
such successor Agent shall succeed to the rights, powers and duties of the Agent and the term
“Agent” shall mean such successor agent effective upon its appointment, and the former Agent’s
rights, powers and duties as Agent shall be terminated, without any other or further act or deed
on the part of such former Agent or any of the parties to this Agreement. After any retiring
Agent’s resignation hereunder as the Agent the provisions of this Section 15 shall inure to its
benefit as to any actions taken or omitted to be taken by it while it was the Agent.

         15.10 Notwithstanding anything contained in this Agreement to the contrary, the Agent
will not, without the prior written consent of all Lenders affected thereby: (a) amend this
Agreement to (i) increase the Commitment of any Lender; (ii) reduce the interest rates;
(iii) reduce or waive (x) any fees in which the Lender(s) are entitled to share hereunder, or (y)
the repayment of any Obligations due the Lender(s); (iv) extend the maturity of the Obligations;
or (v) alter or amend (x) this Paragraph 15.10 or (y) the definitions of Collateral or Required
Lenders; or (b) knowingly make any Term Loans if after giving effect thereto the total of Term
Loans Advances would exceed the applicable Term Loan Facility Amount or, if less, authorized
under the Order. Subject to the provisions of Section 11, Paragraph 11.2 and the provisions of
this Paragraph 15.10 of Section 15 of this Agreement, in all other respects the Agent is
authorized by each of the Lenders to take such actions or fail to take such actions under this
Agreement if the Agent, in its reasonable discretion, deems such to be advisable and in the best
interest of the Lenders. Notwithstanding any provision to the contrary contained in this
Agreement (including the provisions of Section 11, Paragraph 11.2 and Section 15, Paragraph
15.10 hereof) the Agent is authorized to take such actions or fail to take such actions in
connection with (a) the exercise of any and all rights and remedies under this Agreement
(including but not limited to the exercise of rights and remedies under Section 11, Paragraph
11.2 of this Agreement) and/or (b) curing any ambiguity, defect or inconsistency in the terms of
this Agreement and/or (c) releasing its lien and security interest in any Collateral; provided that
the Agent, in its reasonable discretion, deems such to be advisable and in the best interests of the
Lenders. In the event the Agent terminates this Agreement pursuant to the terms hereof, the
Agent will cease making any loans or advances upon the effective date of termination except for
any loans or advances (which will be treated as Term Loan Advances) which the Agent may
deem, in its sole discretion, are reasonably required to maintain, protect or realize upon the
Collateral.



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        15.11 In the event any Lender’s consent is required pursuant to the provisions of this
Agreement and such Lender does not respond to any request by the Agent for such consent
within ten (10) Business Days after such request is made to the contact Person (whose name and
contact information shall have been provided to Agent in writing by such Lender) at such
Lender, such failure to respond shall be deemed a consent. In addition, in the event that any
Lender declines to give its consent to any such request, it is hereby mutually agreed that the
Agent and/or any other Lender shall have the right (but not the obligation) to purchase such
Lender’s share of the Loans for the full amount thereof together with accrued interest thereon to
the date of such purchase.

        15.12 Each Lender agrees that notwithstanding the provisions of Section 12 of this
Agreement any Lender may terminate this Agreement and the Term Loan Facility only on the
Termination Date. Termination of this Agreement by any of the Lenders as herein provided shall
not affect the Lenders’ respective rights and obligations under this Agreement incurred prior to
the effective date of termination as set forth in the preceding sentence.

       15.13 If the Agent is required at any time to return to the Companies or to a trustee,
receiver, liquidator, custodian or other similar official any portion of the payments made by the
Companies to the Agent as result of a bankruptcy or similar proceeding with respect to the,
Companies, any guarantor or any other person or entity or otherwise, then each Lender shall, on
demand of the Agent, forthwith return to the Agent its ratable share of any such payments made
to such Lender by the Agent, together with its ratable share of interest and/or penalties, if any,
payable by the Lenders; this provision shall survive the termination of this Agreement.

       15.14 The Lenders agree to maintain the confidentiality of any non-public information
provided by the Companies to them, in the ordinary course of their business, provided that the
foregoing confidentiality provision shall terminate one (1) year after the termination date of this
Agreement, and provided further that any such Lenders may disclose such information (i) to any
applicable bank regulatory and auditor personnel and (ii) upon the advice of their counsel.




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        IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be
effective, executed, accepted and delivered, by their proper and duly authorized officers as of the
date set forth above.

                                             COMPANIES:

                                             SHAPES/ARCH HOLDINGS L.L.C.
                                             a New Jersey limited liability company


                                             By:
                                             Name: Steven S. Grabell
                                             Title: Chief Executive Officer

                                             SHAPES L.L.C.
                                             a New Jersey limited liability company


                                             By:
                                             Name: Steven S. Grabell
                                             Title: Chief Executive Officer

                                             DELAIR L.L.C.,
                                             a New Jersey limited liability company


                                             By:
                                             Name: Steven S. Grabell
                                             Title: Vice President

                                             ACCU-WELD L.L.C.,
                                             a Pennsylvania limited liability company


                                             By:
                                             Name: Steven S. Grabell
                                             Title: Vice President

                                             ULTRA L.L.C.
                                             a New Jersey limited liability company


                                             By:
                                             Name: Steven S. Grabell
                                             Title: Vice President

                   [SIGNATURES CONTINUE ON FOLLOWING PAGE(S)]


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                                          AGENT:

                                          ARCUS ASI FUNDING, LLC



                                          By:
                                          Name: Gregory L. Segall
                                          Title: Authorized Signer


                                          LENDER:

                                          ARCUS ASI FUNDING, LLC


                                          By:
                                          Name: Gregory L. Segall
                                          Title: Authorized Signer




    [SIGNATURE PAGE TO DEBTOR-IN-POSSESSION TERM LOAN FINANCING
                            AGREEMENT]


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                                            EXHIBIT A

                              TERM LOAN PROMISSORY NOTE

$25,000,000                                                                          March ___, 2008

        FOR VALUE RECEIVED, each of the undersigned (collectively, “Borrowers”), intending
to be legally bound hereby, unconditionally and jointly and severally, promises to pay to the order of
ARCUS ASI FUNDING, LLC, a Delaware limited liability company (“Agent”), for the benefit of
Arcus ASI Funding, LLC (“Lender”), at its principal office located at 2929 Arch Street,
Phaildelphia, PA 19104, or at such other place as Agent may from time to time designate in
writing, in lawful money of the United States of America and in immediately available funds, the
principal amount of Twenty-Five Million Dollars ($25,000,000.00) or such lesser sum which
represents the Lender’s pro-rata share of the principal balance outstanding from time to time
under the terms of the Financing Agreement (as defined below), together with interest thereon at
the rate or rates hereafter specified until paid in full and any and all other sums which may be
owing to the holder of this Note by Borrowers, or any of them, pursuant to this Note or the
Financing Agreement. The actual amount due and owing from time to time hereunder shall be
evidenced by the Lender’s records of disbursements and receipts with respect to the Term Loan
Facility which shall be conclusive evidence of such amount, absent manifest error. Capitalized
terms used herein but not defined herein shall have the respective meanings assigned to such terms
in the Financing Agreement.

        This Term Loan Promissory Note (“Note”) is issued under, and secured in accordance with
the terms of, the Debtor-in-Possession Term Loan Financing Agreement dated as of even date
herewith among Borrowers, Agent and Lender and the other lenders from time to time a party
thereto (as from time to time amended, restated, supplemented or otherwise modified, the
“Financing Agreement”).

       Interest on the outstanding principal amount of each Term Loan Advance evidenced by this
Note shall accrue at the rate or rates specified in, and be payable in accordance with the terms of, the
Financing Agreement.

        The Financing Agreement provides for the acceleration of the payment of principal of and
interest on the Term Loans upon the happening of certain Events of Default as defined in the
Financing Agreement.

        Borrowers waive presentment, demand for payment, notice of dishonor or acceleration,
protest and notice of protest, and any and all other notices or demands in connection with this Note,
except any notice expressly required by the Financing Agreement.

     This Note shall be governed by and construed in accordance with the laws of the State of
New York.

                           [SIGNATURES ON FOLLOWING PAGE]

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                                         SHAPES/ARCH HOLDINGS L.L.C.,
                                         a New Jersey limited liability company


                                         By:
                                         Name:
                                         Title:

                                         SHAPES L.L.C.
                                         a New Jersey limited liability company


                                         By:
                                         Name:
                                         Title:

                                         DELAIR L.L.C.,
                                         a New Jersey limited liability company


                                         By:
                                         Name:
                                         Title:

                                         ULTRA L.L.C.,
                                         a New Jersey limited liability company


                                         By:
                                         Name:
                                         Title:

                                         ACCU-WELD L.L.C.,
                                         a Pennsylvania limited liability company


                                         By:
                                         Name:
                                         Title:




                [SIGNATURE PAGE TO TERM LOAN PROMISSORY NOTE]
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